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                EXHIBIT 109
                     -
           REDACTED VERSION OF
               ECF NO. 575-29
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              EXHIBIT 80
   Expert Report of Roger D.
            Blair
             (Filed Under Seal)
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                          Highly Confidential Under Protective Order


        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA




    Cung Le, et al.,
            Plaintiffs,

            v.                                       Case No. 2:15-cv-01045-RFB-PAL
    Zuffa, LLC D/B/A Ultimate Fighting
    Championship And UFC,
            Defendant.




                              Expert Report of Roger D. Blair

                                     November 15, 2017
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QUALIFICATIONS
       1.     I am a Professor of Economics at the University of Florida, in Gainesville,

Florida. In addition to my faculty position, I am currently serving as Chair of the Department of

Economics at the University of Florida. My major fields of academic concentration are antitrust

economics, industrial organization, sports economics, and applied microeconomics.

       2.     I received my Ph.D. in Economics from Michigan State University in 1968.

Following military service, I began teaching economics at the University of Florida in 1970 and,

with the exception of visiting positions at Washington University (St. Louis), the University of

Hawaii, and the University of California-Berkeley, I have continued to teach at the University of

Florida since that time. A detailed resume of my educational and occupational background is

appended as Appendix A.

       3.     I have authored, coauthored, and edited over 200 books, chapters in books, and

articles in professional economics journals and law reviews. Most of these publications

specifically address issues of antitrust economics and industrial organization. Of particular

interest, several publications address issues of antitrust standing and damages. A comprehensive

list of my publications is contained in Appendix A.

       4.     I have coauthored (with David Kaserman) a textbook entitled Antitrust Economics

and have taught that material for many years at the University of Florida. I also have coauthored

Law and Economics of Vertical Integration and Control (with David Kaserman) and

Monopsony: Antitrust Law and Economics (with Jeffrey Harrison). In Volume IIA of Antitrust

Law (with Herbert Hovenkamp, Christine Durrance, and the late Phillip Areeda), Christine

Durrance and I were the primary authors on “The Economics of Impact, Antitrust Injury, and

Antitrust Damages,” §§ 390-399. I also contributed to and served as Economics Editor for

Proving Antitrust Damages, which was published by the American Bar Association.

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       5.      For some time, I have been interested in the economics of sports. I developed an

undergraduate elective entitled “The Economics of Sports” and taught that course on several

occasions. I am the author of Sports Economics, which is a textbook published by Cambridge

University Press. Currently, I am writing a book entitled The NCAA Cartel: Uses and Abuses of

Monopsony Power, which is under contract with Oxford University Press.

       6.      In addition to my faculty position at the University of Florida, I have engaged in

extensive independent economic consulting activities. I have served as a consultant on antitrust

matters for the Federal Trade Commission, the Antitrust Division of the United States

Department of Justice, the Attorneys General of Arizona, California, Connecticut, Florida,

Missouri, Oregon, and Washington, and for private law firms. I have served as an economic

expert on issues of liability and damages in over 50 cases. I have been qualified to testify as an

expert in antitrust economics and damages on numerous occasions. The sworn testimony that I

have given during the last four years is summarized in Appendix B.

       7.      In the field of antitrust economics, economists must understand and interpret

decisions of the courts on antitrust issues and the ways in which courts use, or fail to use,

relevant economic principles in rendering their decisions. I am not a lawyer, and would not

presume to instruct the Court on the law; therefore, nothing that follows should be construed as

an effort by me to offer a legal opinion.

ASSIGNMENT
       8.      The attorneys for Defendant Zuffa, LLC (“Zuffa” or “UFC”) have asked me to

review the Expert Report of Andrew Zimbalist, submitted on August 31, 2017, in Cung Le, et al.

v. Zuffa, LLC (hereafter, “Zimbalist Report”) and to provide my economic evaluation of his

analyses and form expert opinions of his analyses and set them forth in this Report. I was also



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asked to analyze UFC athlete compensation, taking into account the athlete’s experience as a

UFC athlete.

       9.      For my services, I am charging my usual hourly rate of $700. No part of my

compensation is dependent upon the opinions that I have reached. My compensation does not

depend on the outcome of this litigation. In preparing my report, I have been assisted by my

colleague, Dr. Christine Durrance, and OSKR staff, working under my supervision and control.

MATERIALS CONSIDERED
       10.     I have relied upon my education and experience as an economist in carrying out

my assignment in this matter. In addition, I have considered the Consolidated Amended

Complaint (“CAC”) submitted on December 18, 2015, the Zimbalist Report, the Zimbalist

Report Errata submitted on September 19, 2017, and a variety of other documents and data

sources, which are listed in Appendix C.

SUMMARY OF EXPERT OPINIONS
       11.     I have formed several expert opinions regarding the analysis and contentions

contained in the Zimbalist Report. I have also formed an opinion on the variability of UFC

athlete compensation. I summarize these opinions here and discuss them more fully below. I

reserve the right to change one or more of my opinions if new information is presented through

either discovery or elsewhere.

       12.     Measure of Damages. Dr. Zimbalist’s measure of damages is the (average)

difference between the labor share of total revenue going to athletes in his proposed yardstick

and the labor share going to the athletes in UFC multiplied by Zuffa’s revenues. The premise

underlying this measure is inconsistent with standard principles of economics. Dr. Zimbalist has

no economic foundation for his damage calculations. Accordingly, his damage calculations are

fundamentally flawed and unreliable.

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       13.     Yardstick Identification. In his damage calculations, Dr. Zimbalist purports to use

the so-called yardstick method. He does not undertake any of the analyses necessary to use the

yardstick method and his selection of the yardstick is severely flawed and, therefore, his damage

calculations are speculative and unreliable.

       14.     Disaggregation of Damages. Dr. Zimbalist attributes the alleged damages to

anticompetitive or monopsonistic abuses by Zuffa. In his damage calculations, Dr. Zimbalist has

failed to disaggregate these damages. Put differently, he failed to separate the impact of lawful

conduct from the impact of allegedly unlawful conduct. If any alleged action taken by Zuffa is

not unlawful, the jury will have no way to isolate the portion of his damage total that must be

deducted because it would not flow from an antitrust violation. Consequently, the jury would

have to speculate. Thus, Dr. Zimbalist’s damage estimates are fatally flawed and unreliable.

       15.     Contract Extensions as Exclusionary Practices. Dr. Zimbalist alleges that Zuffa

has engaged in exclusionary practices through contract extensions with UFC athletes. This

conduct is procompetitive rather than anticompetitive.

       16.     Other Exclusionary Conduct. The conduct Dr. Zimbalist describes, such as

contract extensions and exclusive contracts, is often seen in other professional sports.

       17.     UFC Athlete Bout Compensation. UFC athletes received a wide range of

compensation at each stage of an athlete’s career for the entirety of the class period. There is no

predominant pay level for an athlete in their first bout or any other bout.

NATURE OF THE COMPLAINT
       18.     The CAC includes the following general description of the allegations of

anticompetitive conduct or challenged conduct in this case:

       “This is a civil antitrust action under Section 2 of the Sherman Act, 15 U.S.C. §2, for
       treble damages and other relief arising out of the Defendant’s overarching scheme to
       maintain and enhance its (a) monopoly power in the market for promotion of live Elite

                                                  6
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           Professional mixed martial arts (“MMA”) bouts, and (b) monopsony power in the market
           for live Elite Professional MMA Fighter services . . . the UFC has monopoly and
           monopsony power, which it gained, enhanced, and maintained through its
           anticompetitive scheme alleged herein. As alleged below, the UFC has engaged in an
           illegal scheme to eliminate competition from would-be rival MMA promoters by
           systematically preventing them from gaining access to resources critical to successful
           MMA Promotions, including by imposing extreme restrictions on UFC Fighters’ ability
           to fight for would-be rivals during and after their tenure with the UFC. As part of the
           scheme, the UFC not only controls Fighters’ careers, but also takes and expropriates the
           rights to their names and likenesses in perpetuity. As a result of this scheme, UFC
                                                                                               1
           Fighters are paid a fraction of what they would earn in a competitive marketplace.”

           19.      In Dr. Zimbalist’s report, he states that the challenged conduct “includes, among

other things: (a) entering multi-fight exclusive contracts with a large share of the top Professional

MMA fighters, thereby keeping this allegedly necessary input from other MMA promotions; (b)

acquiring multiple actual or potential rival MMA promotion companies; and (c) impairing other

MMA promoters by using its alleged dominance to threaten sponsors, promoters, and fighters
                                                                                              2
who worked with or considered working with the UFC’s potential rivals.”                           It is my

understanding that Dr. Zimbalist assumed that the challenged conduct as a whole was a violation
                            3                                      4
of the antitrust laws and that Zuffa had market power.

           20.      Dr. Zimbalist specifically references the following paragraphs in the CAC as his
                                                                                         5
basis for the challenged conduct: 109-113, 116-118, 125-126, 128-134. In his deposition, Dr.

Zimbalist explained that most (but not all) of the paragraphs he cites in his report were intended

to identify the elements of Zuffa’s conduct he assumed would be found to constitute



1
    CAC ¶ 1.
2
    Zimbalist Report ¶ 1.
3
    Deposition of Andrew Zimbalist, September 25, 2017, (hereafter, “Zimbalist Tr.”) at 43.
4
    Zimbalist Tr. at 43-45.
5
    Zimbalist Report ¶ 1FN 2.



                                                           7
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                                                                  6
anticompetitive conduct that gave rise to damages. The general thrust of Dr. Zimbalist’s

testimony was that the allegedly exclusionary contracts with UFC athletes and certain conduct

related to those contracts constituted the alleged bad acts, but it is ultimately unclear exactly
                                                                                                                 7
which set of acts Dr. Zimbalist assumed were anticompetitive and allegedly caused damages.

ZUFFA’S ALLEGEDLY EXCLUSIONARY CONDUCT
           21.      The Plaintiffs allege that Zuffa is a monopsony and exercises monopsony power
                              8
in a relevant market. In fact, there are many MMA promoters that compete against Zuffa. In

Appendices D and E, I provide a summary of the competing promoters who have featured at

least one former UFC athlete by year between 2011 and 2016. In those appendices, I present the

name of the MMA promoter, the number of events promoted, and the number of bouts ranked by

event (Appendix D) and by bout (Appendix E) for the years 2011 through 2016. In 2016, there

were 166 promoters that featured a former UFC athlete. Those promoters promoted a total of 845

events, which included a total of 8,019 bouts.

           22.      To understand market concentration, I use the approach set forth in the

Department of Justice (DOJ) and Federal Trade Commission (FTC) Horizontal Merger
                                           9
Guidelines (“Merger Guidelines”). The Merger Guidelines use a measure of concentration

referred to as the Herfindahl-Hirschman Index (HHI). The HHI is calculated as the sum of the

squared market shares of each firm (i) out of N firms:


6
    Zimbalist Tr. at 14-15.
7
 Zimbalist Tr. at 21-24, 29-30; see also id. at 95 (offering athletes additional money for the final fight of a contract assumed
as part of the challenged conduct); 111 (failure to co-promote with other organizations “probably” part of the challenged
conduct); 128-129 (counter-programming).
8
    CAC ¶ 1.
9
 U.S. Department of Justice and Federal Trade Commission, Horizontal Merger Guidelines (August 19, 2010),
https://www.ftc.gov/sites/default/files/attachments/merger-review/100819hmg.pdf.



                                                          8
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                                              HHI=

where si is the market share of firm i expressed as a whole number rather than a decimal. Higher

values of HHI signal greater market concentration.

           23.      Ordinarily, in order to calculate an HHI, one must first define the relevant market.

At this point, I will not attempt to define the relevant market in this case. Dr. Zimbalist never

identified a relevant market, nor assessed concentration in any market. He did, however, suggest

what he might have considered as a relevant market: “the pool of professional MMA fighters that

another live professional MMA promoter could use to compete effectively with Zuffa [including]
                                       10
at a minimum, all Zuffa fighters.” If one were to define the relevant market as consisting of all

promoters that promoted an MMA athlete who previously competed for the UFC, then the shares

of the qualifying promoters within that market and HHI could be calculated.

           24.      To calculate HHIs, I used shares based on events and bouts for the promoters I

have identified for the years 2011 to 2016. The results of this exercise are presented in Table 1.

As one can see, the HHI in 2016 using events is 155, while the HHI using bouts is 191. These

HHI calculations are similar in other years (2011 through 2015) using bouts or events. In all

cases, the HHI calculations show that Zuffa is operating in an unconcentrated industry. In the
                                                                                                    11
Merger Guidelines, the threshold for a highly concentrated industry is an HHI of 2,500. When




10
     Zimbalist Report ¶ 8.
11
  U.S. Department of Justice and Federal Trade Commission, Horizontal Merger Guidelines (August 19, 2010),
https://www.ftc.gov/sites/default/files/attachments/merger-review/100819hmg.pdf, at 19.



                                                      9
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                                                                                   12
the HHI is below 1,500, the industry is deemed to be unconcentrated. The values of the HHI in
                                                                                           13
MMA are substantially below this threshold for all years from 2011 to 2016.

                   Table 1: MMA Herfindahl Index by Bouts and Events, 2011-2016


              UFC and Promoters that Promoted Former UFC Athletes
                                  2011     2012     2013    2014                    2015        2016
              Number of Promoters 175       161      170     141                     166         166
              Event HHI            143      150      192     169                     139         155
              Bout HHI             168      175      206     201                     160         191
              Source: Sherdog.



           25.      Dr. Zimbalist alleges that Zuffa has engaged in exclusionary practices through
                                                     14
contract extensions with UFC athletes.                    This practice is procompetitive rather than

anticompetitive. Suppose an athlete has a four-bout contract with Zuffa. After three bouts, Zuffa

is pleased with the athlete’s performance and fan appeal. Accordingly, Zuffa wants to retain that

athlete’s services. Before completing his or her contract, Zuffa may negotiate an extension so the

athlete has a new four-bout contract. The effect of this extension is to maintain and improve the

quality of Zuffa’s events. Improving quality is procompetitive; it is not anticompetitive.

Moreover, the contract extensions ordinarily involve increased payments to athletes.




12
  U.S. Department of Justice and Federal Trade Commission, Horizontal Merger Guidelines (August 19, 2010),
https://www.ftc.gov/sites/default/files/attachments/merger-review/100819hmg.pdf, at 19.
13
  I also reviewed an even narrower definition of the market, consisting of promoters that had promoted a former
UFC athlete within a year of that athlete having competed for UFC. Even with these additional restrictions, during
the class period the HHI never rises above 700, well below the 1,500 threshold. See Backup to Table 1.
14
     Zimbalist Report ¶¶ 16, 22, 78.



                                                          10
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                                                                      15
           26.      In his consideration of contract extensions,           Dr. Zimbalist fails to observe that

this practice is not uncommon in professional sports. I have provided several prominent

examples below.

           27.      Andrew Luck. In the NFL, a first-round draft choice receives a rookie contract

that provides team control for four years plus a team option for a fifth year before a player can
                            16
become a free agent.             Andrew Luck was a first-round draft pick in 2012. After his first four

seasons, the Indianapolis Colts prevented Luck from reaching free agency and exercised their
                                                  17
exclusive option for Luck’s 2016 season, after which Luck could have become a free agent. In

an effort to retain Luck’s services beyond the 2016 season, the Colts began working on a

contract extension. Before the 2016 season began, Indianapolis and Luck agreed to a five-year
                                                                                             18
contract extension that postponed Luck’s free agency from 2017 to 2022.                           The total value of
                                                                                                           19
Luck’s contract extension is $122.97 million. Of this amount, $87 million is guaranteed.

           28.      Von Miller. As a first-round 2011 draft pick, Von Miller was also subject to four
                                                                                    20
years of team control followed by an exclusive fifth year team option. Miller was arguably the

best defensive player in the NFL; he made the Pro Bowl in 2011, 2012, and 2014, was a first-

team All-Pro in 2012, a second-team All-Pro in 2011 and 2014, the NFL Defensive Rookie of



15
     Zimbalist Report ¶¶ 14, 16, 22, 78.
16
  NFL Collective Bargaining Agreement (August 4, 2011), https://nfllabor.files.wordpress.com/2010/01/collective-
bargaining-agreement-2011-2020.pdf, at Article 7, Section 3 “Rookie Contracts,” at 24.
17
     Spotrac, Andrew Luck, http://www.spotrac.com/nfl/indianapolis-colts/andrew-luck-9811.
18
     Spotrac, Andrew Luck, http://www.spotrac.com/nfl/indianapolis-colts/andrew-luck-9811.
19
     Spotrac, Andrew Luck, http://www.spotrac.com/nfl/indianapolis-colts/andrew-luck-9811.
20
  NFL Collective Bargaining Agreement (August 4, 2011), https://nfllabor.files.wordpress.com/2010/01/collective-
bargaining-agreement-2011-2020.pdf, at Article 7, Section 3 “Rookie Contracts,” at 24.



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                       21                                                                                            22
the Year in 2011,           and won the NFL Butkus Award for being the best linebacker in 2012.

After his first four seasons, the Denver Broncos delayed Miller’s free agency and exercised their
                                                     23
exclusive option for Miller’s 2015 season.                Thus, the Broncos delayed his free agency until
         24
2016.         Then, in 2016, Denver again delayed Miller’s free agency and applied their Franchise
                                      25
Player Designation to Miller.              Before the 2016 season began, however, Denver and Miller

agreed to a five-year contract extension that postponed Miller’s free agency even further, from
                                                                   26
2017 to 2022, eleven years after he entered the league.                 Miller’s extension included a signing
                            27                                                                                  28
bonus of $17 million. Of Miller’s total $114.1 million extension, $70 million is guaranteed.

              29.   Mike Trout. In MLB, rookies are subject to total team control for six years before
                                 29
they become free agents. For the first three years, the player’s compensation cannot fall below
                                                                                       30
the league minimum, but is otherwise determined solely by the team.                         After three full years of

21
  DenverBroncos.com, Von Miller, http://www.denverbroncos.com/team/roster/Von-Miller/036470c3-df00-47e4-
a936-86200f2c88dc.
22
     The Butkus Award, Past Winners, http://www.thebutkusaward.com/thebutkusawards/watchlist/pastwinners.aspx.
23
     Spotrac, Von Miller, http://www.spotrac.com/nfl/denver-broncos/von-miller-7717.
24
     Spotrac, Von Miller, http://www.spotrac.com/nfl/denver-broncos/von-miller-7717.
25
     Spotrac, Von Miller, http://www.spotrac.com/nfl/denver-broncos/von-miller-7717.
26
     Spotrac, Von Miller, http://www.spotrac.com/nfl/denver-broncos/von-miller-7717.
27
     Spotrac, Von Miller, http://www.spotrac.com/nfl/denver-broncos/von-miller-7717.
28
     Spotrac, Von Miller, http://www.spotrac.com/nfl/denver-broncos/von-miller-7717.
29
  PennState Law, Online Documentary Supplement, Major League Baseball, 2012-2016 Basic Agreement,
https://pennstatelaw.psu.edu/sites/default/files/MLB%20CBA%2012%2016.pdf, at Article XX, Section B “Free
Agency,” Subsection 1, “Free Agency - Eligibility,” at 86; Major League Baseball Players, Collective Bargaining
Agreement, 2017-2021 Basic Agreement, http://www mlbplayers.com/pdf9/5450407.pdf, at Article XX, “Reserve
System,” Subsection B “Free Agency,” at 92.
30
  PennState Law, Online Documentary Supplement, Major League Baseball, 2012-2016 Basic Agreement,
http://www.mlbplayers.com/pdf9/5450407.pdf, at Article VI, Section E “Salary Arbitration,” Subsection 1
“Eligibility,” at 17-18; Major League Baseball Players, Collective Bargaining Agreement, 2017-2021 Basic
Agreement, http://www mlbplayers.com/pdf9/5450407.pdf , at Article VI, Section E “Salary Arbitration,”
Subsection 1 “Eligibility,” at 18-19.


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service, the player is eligible for final-offer arbitration. Trout did not complete three years of

service until the middle of his fourth season, and was not eligible for final-offer arbitration until
                                 31
his fifth and sixth season. Following his sixth season, Trout would become a free agent. Mike
                                                              32
Trout signed his first major league contract in 2011. Trout quickly established himself as one of

the very best players in all of MLB. He was a perennial contender for the Most Valuable Player

award and Defensive Player of the Year. Trout was a star player and a fan favorite. By 2015,

Trout was eligible for final-offer arbitration and free agency was within sight. Wanting to keep

Trout out of the free agent market, the Angels signed Trout to a six-year contract, which would
                                                                                                   33
delay free agency until 2021. The value of Trout’s contract was $144.5 million.                         In MLB, all
                                      34
contracts are fully guaranteed.
                                                                                    35
           30.      In his consideration of Zuffa’s “champion’s clause”,                 which he alleges adds a
                                                                    36
year to the contracts of Zuffa’s most important athletes, Dr. Zimbalist fails to observe that this

practice is not uncommon in the NFL, which is one of the components of his yardstick. The NFL

allows for “Franchise Player Designations” in which “. . . each Club shall be permitted to

designate one of its players who would otherwise be an Unrestricted Free Agent as a Franchise


31
  PennState Law, Online Documentary Supplement, Major League Baseball, 2012-2016 Basic Agreement,
http://www.mlbplayers.com/pdf9/5450407.pdf, at Article VI, Section E “Salary Arbitration,” Subsection 1
“Eligibility,” at 17-18; Major League Baseball Players, Collective Bargaining Agreement, 2017-2021 Basic
Agreement, http://www mlbplayers.com/pdf9/5450407.pdf , at Article VI, Section E “Salary Arbitration,”
Subsection 1 “Eligibility,” at 18-19.
32
     Spotrac, Mike Trout, http://www.spotrac.com/mlb/los-angeles-angels-of-anaheim/mike-trout-8553.
33
     Spotrac, Mike Trout, http://www.spotrac.com/mlb/los-angeles-angels-of-anaheim/mike-trout-8553.
34
  Major League Baseball, Guaranteed Contract, http://m mlb.com/glossary/transactions/guaranteed-contract
(“Players who obtain Major League contracts -- either via free agency or extensions -- are guaranteed the full
amount of money promised by those contracts.”).
35
     Zimbalist Report ¶¶ 10, 19-20, 78, 98.
36
     Zimbalist Report ¶¶ 10, 19-20, 78, 98.



                                                         13
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Player each season . . . . [A]ny Club that designates a Franchise Player shall be the only Club

with which such Franchise Player may negotiate or sign a Player Contract during the period the
                                     37
player is so designated . . . .” Designating an important player as a franchise player, and thereby

retaining his services for another season, helps to maintain quality and is therefore

procompetitive.

           31.      As an example, consider the case of Le’Veon Bell. Bell completed his NFL
                                38                                                                  39
rookie contract in 2016              and could have become a free agent at that time.                    Instead, the

Pittsburgh Steelers offered Bell a non-negotiable one-year, $12 million contract through the
                                      40
Franchise Player Designation. Just before the season began in September 2017, Bell signed the
             41
contract.
                                                                                                                    42
           32.      Likewise, Dr. Zimbalist characterizes the Right-of-First-Refusal (ROFR) clause
                                                                43
in Zuffa’s athlete contracts as being exclusionary.                  Although the details are somewhat more

complicated, he fails to recognize that a ROFR is common in NBA contracts. When a player

becomes a restricted free agent in the NBA, other NBA teams can bid on restricted free agents,


37
  NFL Collective Bargaining Agreement (August 4, 2011), https://nfllabor.files.wordpress.com/2010/01/collective-
bargaining-agreement-2011-2020.pdf, at Article 10, Section 1, at 44.
38
     Spotrac, Le’Veon Bell, http://www.spotrac.com/nfl/pittsburgh-steelers/leveon-bell-12329/.
39
   In the case of Kirk Cousins, he was designated a Franchise Player two years in a row, which further delayed his
free agency. JP Finlay, Don’t count out a third straight franchise tag for Kirk Cousins, and here’s why,
NBCSports.com (May 23, 2017), http://www.nbcsports.com/washington/washington-redskins/dont-count-out-third-
straight-franchise-tag-kirk-cousins-and-heres-why.
40
     Spotrac, Le’Veon Bell, http://www.spotrac.com/nfl/pittsburgh-steelers/leveon-bell-12329/.
41
  Jared Dubin, Le’Veon Bell officially signs $12.1M franchise tender, returns to Steelers, CBS Sports (Sept. 4,
2017), https://www.cbssports.com/nfl/news/leveon-bell-officially-signs-12-1m-franchise-tender-returns-to-steelers/.
42
  This is also called “right to match.” The clause grants Zuffa the right to match an offer from another promoter for
a period of time after the expiration of an athlete’s contract.
43
     Zimbalist Report ¶¶ 10, 12, 77-78.



                                                           14
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                                                                                       44
just as other MMA promoters can bid on UFC athletes who are free agents. If the original NBA

team matches a player’s offer, the team retains the player, but the player’s compensation

increases. If Zuffa matches an athlete’s offer for more money from another promoter, Zuffa

retains the athlete, but the athlete’s compensation increases. Seen as a way of gathering market

intelligence, the ROFR is procompetitive as it resolves uncertainty.

           33.      Dr. Zimbalist also alleges that Zuffa’s contracts are exclusionary because they

impose exclusivity on athletes and thereby prevent athletes from competing for other promoters
                                                    45
during the term of their contract with Zuffa.            Exclusivity provisions of this type, however, are

commonplace in the four comparison sports leagues that Dr. Zimbalist identifies as components

of his yardstick. Below, I provide examples of contract language from MLB, NBA, NFL, and

NHL contracts.

          Major League Baseball: “The Player agrees that, in addition to other remedies, the Club
           shall be entitled to injunctive and other equitable relief to prevent a breach of this
           contract by the Player, including, among others, the right to enjoin the Player from
                                                                                                   46
           playing baseball for any other person or organization during the term of his contract.”

          National Basketball Association: “Therefore, it is agreed that in the event it is alleged by
           the Team that the Player is playing, attempting or threatening to play, or negotiating for
           the purpose of playing, during the term of this Contract, for any other person, firm, entity,

44
  National Basketball Players Association, NBA Collective Bargaining Agreement (Dec. 8, 2011),
http://3c90sm37lsaecdwtr32v9qof-wpengine netdna-ssl.com/wp-content/uploads/2016/02/2011-NBA-NBPA-
Collective-Bargaining-Agreement.pdf, at Article XI, Section 4 “Qualifying Offers to Make Certain Players
Restricted Free Agents” and Section 5 “Restricted Free Agency,” at 230-241; National Basketball Players
Association, Collective Bargaining Agreement (Jan. 19, 2017), http://3c90sm37lsaecdwtr32v9qof-wpengine.netdna-
ssl.com/wp-content/uploads/2016/02/2017-NBA-NBPA-Collective-Bargaining-Agreement.pdf, at Article XI,
Section 4 “Qualifying Offers to Make Certain Players Restricted Free Agents” and Section 5 “Restricted Free
Agency,” at 288-303.
45
     Zimbalist Report ¶¶ 1, 10, 11, 13.
46
  PennState Law, Online Documentary Supplement, Major League Baseball, 2012-2016 Basic Agreement,
https://pennstatelaw.psu.edu/sites/default/files/MLB%20CBA%2012%2016.pdf, Schedule A, Section “Player
Representations,” Subsection “Ability,” at 280; Major League Baseball Players, Collective Bargaining Agreement,
2017-2021 Basic Agreement, http://www.mlbplayers.com/pdf9/5450407.pdf, Appendix A, Section “Player
Representations,” Subsection “Ability,” at 339-340.



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           or organization, the Team and its assignees (in addition to any other remedies that may be
           available to them judicially or by way of arbitration) shall have the right to obtain from
           any court or arbitrator having jurisdiction such equitable relief as may be appropriate,
           including a decree enjoining the Player from any further such breach of this Contract, and
           enjoining the Player from playing basketball for any other person, firm, entity, or
           organization during the term of this Contract. The Player agrees that this right may be
                                                47
           enforced by the Team or the NBA.”

          National Football League: “Player will not participate in any football game not sponsored
           by the League unless the game is first approved by the League . . .[w]ithout prior written
           consent of the Club, Player will not play football or engage in activities related to football
           otherwise than for Club or engage in any activity other than football which may involve a
           significant risk of personal injury . . . . Player therefore agrees that Club will have the
           right, in addition to any other right which Club may possess, to enjoin Player by
           appropriate proceedings from playing football or engaging in football-related activities
           other than for Club or from engaging in any activity other than football which may
                                                             48
           involve a significant risk of personal injury.”

          National Hockey League: “The Player further agrees . . . to give his best services to the
           Club and to play hockey only for the Club unless his SPC is Assigned, Loaned or
           terminated by the Club. . . . The Player therefore agrees that the Club shall have the right,
           in addition to any other rights which the Club may possess, to enjoin him by appropriate
           injunctive proceedings without first exhausting any other remedy which may be available
           to the Club, from playing hockey for any other team and/or for any breach of any of the
                                           49
           other provisions of this SPC.”
           34.      Dr. Zimbalist objects to Zuffa’s exclusive use of video clips of bouts promoted by
                                            50
Zuffa in advertising subsequent bouts. This is also not uncommon in professional sports. Once

again, Dr. Zimbalist’s comparator sports’ contracts illustrate this practice. Despite Dr.


47
  National Basketball Players Association, NBA Collective Bargaining Agreement (Dec. 8, 2011),
http://3c90sm37lsaecdwtr32v9qof-wpengine netdna-ssl.com/wp-content/uploads/2016/02/2011-NBA-NBPA-
Collective-Bargaining-Agreement.pdf, Exhibit A, Section 9, at A7-A8; National Basketball Players Association,
Collective Bargaining Agreement (Jan. 19, 2017), http://3c90sm37lsaecdwtr32v9qof-wpengine netdna-ssl.com/wp-
content/uploads/2016/02/2017-NBA-NBPA-Collective-Bargaining-Agreement.pdf, at Exhibit A, Section 9, at A-9.
48
  NFL Collective Bargaining Agreement (August 4, 2011), https://nfllabor.files.wordpress.com/2010/01/collective-
bargaining-agreement-2011-2020.pdf, at Appendix A, “NFL Player Contract,” at Sections 2 and 3.
49
  National Hockey League Players’ Association, Collective Bargaining Agreement between National Hockey
League and National Hockey League Players’ Association, September 16, 2012 – September 15, 2022 (Feb. 15,
2013), http://cdn.agilitycms.com/nhlpacom/PDF/NHL_NHLPA_2013_CBA.pdf, at Exhibit 1, at 311, 315.
50
     Zimbalist Report ¶ 18.



                                                       16
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Zimbalist’s accusation that exclusive ancillary rights are anticompetitive, it is not uncommon for

player contracts to include exclusive rights terms. In fact, such terms are typically found in the

player contracts in the four major leagues. In the NBA, for example, all player contracts include

the following clause, which grants the NBA, not the player, such rights:

        The Player does not and will not contest during or after the term of this Contract, and the
        Player hereby acknowledges, the exclusive rights of the NBA, all League-related entities
        that generate BRI and the Teams (i) to telecast, or otherwise distribute, transmit, exhibit
        or perform, on a live, delayed, or archived basis, in any and all Media, any performance
        by the Player under this Contract or the CBA (including in NBA games or any excerpts
        thereof) and (ii) to produce, license, offer for sale, sell, market, or otherwise, exhibit,
        distribute, transmit or perform (or authorize a third party to do any of the foregoing), on a
        live, delayed, or archived basis, any such performance in any and all Media, including,
        but not limited to, as part of programming or a content offering or in packaged or other
                                     51
        electronic or digital media.
        35.     Similarly, in the NHL, player contracts require the player to grant the league the

rights to all content of the player participating in NHL games and select events:

        The Player hereby irrevocably grants to the Club during the period of this SPC and
        during any period when he is obligated under this SPC to enter into a further SPC with
        the Club the right to permit or authorize any firm, person or corporation to take and make
        use of any still photographs, motion pictures or electronic (including television) images
        of himself in uniform and agrees that thereafter all rights in such photographs, pictures
        and images (including the right to identify him by name) shall belong to the Club
        exclusively for the purposes of telecasts, film or video documentaries or features,
        advertisements and promotions of the Club’s games, use by the media for reportorial
        purposes, game programs, yearbooks, magazines and the like, and purposes in which the
                                                                    52
        focus is on the Club or game and not the individual Player.




51
  National Basketball Players Association, Collective Bargaining Agreement (Jan. 19, 2017),
http://3c90sm37lsaecdwtr32v9qof-wpengine netdna-ssl.com/wp-content/uploads/2016/02/2017-NBA-NBPA-
Collective-Bargaining-Agreement.pdf, at Exhibit A, at A-15 to A-16.
52
  National Hockey League Players’ Association, Collective Bargaining Agreement between National Hockey
League and National Hockey League Players’ Association, September 16, 2012 – September 15, 2022 (Feb. 15,
2013), http://cdn.agilitycms.com/nhlpacom/PDF/NHL_NHLPA_2013_CBA.pdf, Exhibit 1, pp. 315-316.



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           36.      While Dr. Zimbalist opines that the fact that some of Zuffa’s contracts’ durations
                                                                                                            53
exceed the average UFC athlete’s career duration is evidence of anticompetitive conduct,                          he

fails to observe that (assuming the foregoing is true) this is also common in professional sports.
                                                                        54
MLB players undergo six years before reaching free agency,                   but the average MLB career lasts
                     55
only 5.6 years.           NBA first round draft picks typically undergo eight years before reaching
                                56                                                             57
unrestricted free agency,             but the average NBA career lasts only 4.8 years.              Drafted NFL

players undergo four years before reaching free agency, and first round draft picks typically
                          58                                                      59
undergo five years, but the average NFL career lasts only 3.5 years.




53
     Zimbalist Report ¶¶ 15, 21-23.
54
   PennState Law, Online Documentary Supplement, Major League Baseball, 2012-2016 Basic Agreement,
http://www.mlbplayers.com/pdf9/5450407.pdf, at Article XX, Section B “Free Agency,” Subsection 1 “Eligibility,”
at 86; Major League Baseball Players, Collective Bargaining Agreement, 2017-2021 Basic Agreement,
http://www.mlbplayers.com/pdf9/5450407.pdf, at Article XX, Section B “Free Agency,” Subsection 1 “Eligibility,”
p. 92.
55
  RAM Financial Group, Athlete Services, http://www.ramfg.com/RAM-Financial-Group-Solutions-Professional-
Athletes-Athletes-Services.
56
  National Basketball Players Association, NBA Collective Bargaining Agreement (Dec. 8, 2011),
http://3c90sm37lsaecdwtr32v9qof-wpengine netdna-ssl.com/wp-content/uploads/2016/02/2011-NBA-NBPA-
Collective-Bargaining-Agreement.pdf, at Article VIII, Section 1 “Rookie Scale Contracts for First Round Picks,”
and Article XI, Section 4 “Qualifying Offers to Make Certain Players Restricted Free Agents” and Section 5
“Restricted Free Agency,” at 211-214, 230-241; National Basketball Players Association, Collective Bargaining
Agreement (Jan. 19, 2017), http://3c90sm37lsaecdwtr32v9qof-wpengine netdna-ssl.com/wp-
content/uploads/2016/02/2017-NBA-NBPA-Collective-Bargaining-Agreement.pdf, at Article VIII, Section 1
“Rookie Scale Contracts for First Round Picks,” and Article XI, Section 4 “Qualifying Offers to Make Certain
Players Restricted Free Agents” and Section 5 “Restricted Free Agency,” at 265-268, 288-303.
57
  RAM Financial Group, Athlete Services, http://www.ramfg.com/RAM-Financial-Group-Solutions-Professional-
Athletes-Athletes-Services.
58
  NFL Collective Bargaining Agreement (August 4, 2011), https://nfllabor.files.wordpress.com/2010/01/collective-
bargaining-agreement-2011-2020.pdf, at Article 7, Section 3 “Rookie Contracts,” at 24.
59
  RAM Financial Group, Athlete Services, http://www.ramfg.com/RAM-Financial-Group-Solutions-Professional-
Athletes-Athletes-Services.



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           37.      In his report, Dr. Zimbalist states that Zuffa requires athletes “to sign contracts
                                                       60
locking them up for longer periods of time.”                But this does not mean that UFC athletes are

unavailable to other promoters. Figure 1 shows the number of former UFC athletes who fought

for another promoter by year from 2011 to 2016. In every year, 230 or more former UFC athletes

fought for other promoters. In 2016, 309 former UFC athletes fought for other promoters. This
                                                                                                           61
demonstrates that athletes do leave the UFC and continue to be active with other promoters.




60
     Zimbalist Report ¶ 19.
61
  In fact, 182 former UFC athletes who left the UFC and fought for another promotion returned to and fought for
the UFC. See Backup to Figure 1.



                                                       19
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                                                               Figure 1: Former UFC Athletes Who Fought for Another Promoter, 2011-2016



                                                         350


                                                                                                                                           309
                                                         300
 Former Zuffa Athletes Who Fought for Another Promoter




                                                                                                 259
                                                         250                       242                                       240
                                                                     236                                       237



                                                         200




                                                         150




                                                         100




                                                         50




                                                          0
                                                                     2011         2012          2013           2014          2015          2016
Source: Sherdog.
                                                                                                       Year



DR. ZIMBALIST’S FLAWED MEASURE OF DAMAGES
                                                               38.     It is my understanding that a lawful monopsonist is free to adjust its purchasing

decisions and thereby reduce the price that it pays in order to maximize its profits. Although the

lawful monopsonist’s purchase and price decisions will differ from those in a competitive

market, those decisions would not be deemed unreasonable in an antitrust sense. This is

analogous to a lawful monopolist’s right to charge monopoly prices and thereby earn monopoly

profits.




                                                                                                       20
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         39.      If a firm enjoys monopsony power in a relevant antitrust market and the power

has been deemed to be unlawful, then the unlawful monopsonist’s purchase and price decisions
                                                                                                62
may impose antitrust injury on suppliers of the monopsonized good or service.

         40.      A monopsonist maximizes its profits by restricting its purchases to the point

where the marginal expenditure (ME) is equal to the marginal revenue product (MRP) of the
                                      63
monopsonized good or service. The marginal expenditure on an input is equal to the change in

total expenditure on that input necessary to increase or decrease purchases by one unit. The

marginal revenue product is equal to the change in total revenue on sales in the output market

resulting from an increase or decrease in the purchase of the input by one unit. This result is

depicted in Figure 2. If the market was competitive, the price would be P1 and the quantity

would be Q1. In contrast, the monopsonist would purchase only Q2 where ME equals MRP. By

depressing its purchase, the monopsonist moves along the supply curve to the lower price of P2.

In essence, there is an underpayment of P1-P2 per unit purchased.

         41.      If the monopsonist is unlawful, i.e., the monopsonist has attained or maintained its

monopsony power through anticompetitive actions, then the underpayment would be a measure

of antitrust injury and the suppliers of this good or service would appear to have standing to

recover antitrust damages. The proper measure of antitrust damages (Δ) is the total

underpayment, i.e., the difference between the but-for price (Pbf) and the actual price (Pa) paid

times the quantity actually purchased: Δ = (Pbf – Pa) Qa.


62
  I understand that “antitrust injury” is the type of injury that flows from the anticompetitive consequences of an
antitrust violation (see Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477 (1977), and Roger D. Blair &
Jeffery L Harrison, Rethinking Antitrust Injury, 42 Vanderbilt Law Review 1539 (1989)).
63
  See Robert S. Pindyck & Daniel L. Rubinfeld, Microeconomics 373-381 (7th ed. 2009); Alan Manning,
Monopsony in Motion 29-52 (2003); Jeffrey M. Perloff, Microeconomics: Theory and Application with Calculus
396-399 (2014).



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        43.       Dr. Zimbalist calculates Zuffa’s pay-to-revenue ratio (PTRR) as the ratio of UFC

athletes’ compensation to Zuffa’s total revenue. Similarly, he calculates PTRR for each of the

sports in his yardstick. Dr. Zimbalist’s measure of damages is the difference between the UFC

athletes’ compensation as a fraction of Zuffa’s total revenue (Zuffa PTRR) and the average of

the fraction of total revenue going to athletes in boxing and the four major league sports in North

America (proposed yardstick PTRR) multiplied by Zuffa’s revenues. This measure of damages is

fatally flawed.

        44.       First, PTRR has no foundation in economic theory. Labor economists do not
                                                                                                    64
employ such a measure for estimating the effect of monopsony in the labor force.                         Second, a

simple example reveals that wide disparities in PTRR may exist in competitive markets. In

Figure 3, the horizontal line at w1 is the competitive supply of labor. The competitive wage rate

is w1. The demand for labor by a firm in market 1 is depicted as MRP1. The demand for labor by

a firm in market 2 is depicted as MRP2. Both demands intersect the competitive supply (SL) at a

quantity of L1. In both cases, the total expenditure on labor is given by w1L1.




64
  Ronald G. Ehrenberg and Robert S. Smith, Modern Labor Economics: Theory and Public Policy 65 (12th ed.
2015). The authors explain how a firm in a perfectly competitive market will pay their workers the MRP of labor,
defined in absolute terms, not a fixed percentage of revenue.



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           46.     A numerical example may be useful in illustrating this point. Suppose that the

competitive wage is $25. Suppose further that MRP1 = 100 - 0.075L and MRP2 = 50 - 0.025L. By

setting MRP1 equal to MRP2, we find that they intersect at L= 1,000. Substituting L= 1,000 into

either MRP confirms that the wage corresponding to L= 1,000 is $25, which is the assumed

competitive wage. In either case, the expenditure on labor will be wL= (25)(1,000) = $25,000.

For the firm in market 1, total revenue is equal to $67,500 while the total revenue for the firm in

market 2 is $37,500.

           47.     The share of total revenue going to labor for the firm in market 1 (PTRR1) is

                                                         25,000
                                                                = 0.37
                                                         67,500

while the fraction of total revenue going to labor for the firm in market 2 (PTRR2) is

                                                         25,000
                                                                = 0.67
                                                         37,500

           Thus, even in competitive circumstances, labor shares of total revenue can vary widely.

This comes as no surprise since the fraction of total revenue going to labor is not a relevant

indicator of competitiveness.

           48.     As an empirical example of the potential variation across different demands,

consider the New York Giants and the Jacksonville Jaguars. In 2016, the New York Giants’ total
                                                                                                       66
revenue was estimated to be $477 million,65 and the team spent $140 million on players.                     For

the Jacksonville Jaguars, 2016 revenue was estimated to be $377 million,67 and the team spent


65
  The Statistics Portal, New York Giants revenue from 2001 to 2016,
https://www.statista.com/statistics/195282/revenue-of-the-new-york-giants/.
66
     Spotrac, New York Giants 2016 Salary Cap, http://www.spotrac.com/nfl/new-york-giants/cap/2016/.
67
  The Statistics Portal, Jacksonville Jaguars revenue from 2001 to 2016,
https://www.statista.com/statistics/195269/revenue-of-the-jacksonville-jaguars-since-2006/.



                                                        25
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                                68
$145 million on players.             The percent of revenue going to players of the New York Giants is

$140 / $477 or 29 percent and the percent of revenue going to players of the Jacksonville Jaguars

is $145 / $377 or 38 percent. In other words, the percent of revenue going to the players is nine

percentage points higher for the Jacksonville Jaguars than for the New York Giants, even though

they spent roughly the same amount of actual dollars on players. This example demonstrates that

the percent of revenue going to players can be different across teams within the same sports

league.

DR. ZIMBALIST’S INAPPROPRIATE YARDSTICK METHOD
           49.      Based on my analysis above, I have concluded that Dr. Zimbalist’s measure of

antitrust harm is incorrect. Put differently, Dr. Zimbalist attempts to measure the wrong thing.

For this reason alone, Dr. Zimbalist’s damage estimates should be rejected as being unreliable.

Even if the Court found the measure to be a valid metric, Dr. Zimbalist’s yardstick method is

inherently flawed.

           50.      In Federal Antitrust Policy, Professor Herbert Hovenkamp describes the yardstick

method:

           “The ‘yardstick’ method of estimating lost profit can sometimes simplify the court’s
           calculations, although it can be used in limited situations. Under the yardstick approach
           the plaintiff attempts to identify a market or firm similar to the plaintiff in all respects but
           for the impact of the antitrust violation. For example, in Bigelow, the plaintiff compared
           its own revenue during the injury period with that earned by a comparable theater
           operated by one of the defendants. In such circumstances, if the markets of the two firms
           are identical, and if the plaintiff’s firm and the firm used for comparison stand in the
           same relative position in those markets, offer the same product mix, have comparable
           managements and are comparable in all other respects, then the fact finder may infer that
           the two would have had comparable revenues or profits but for the violation.

           The above statement of the ‘yardstick’ methodology gives some indication of its inherent
           weaknesses. To the extent that either the markets or the firms being compared are

68
     Spotrac, Jacksonville Jaguars 2016 Salary Cap, http://www.spotrac.com/nfl/jacksonville-jaguars/cap/2016/.



                                                          26
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           dissimilar, the yardstick theory will not produce a trustworthy estimate of what the
           plaintiff would have earned but for the defendant’s conduct. The method therefore works
                                                                            69
           best in markets that are both local and relatively homogeneous.”

           51.      Similarly, former Department of Justice chief economist Dr. Daniel Rubinfeld

explains how a yardstick analysis works:

           “Under the yardstick approach, damages are measured by obtaining a ‘but-for price’ from
           a market (the ‘comparable market’) that closely approximates the market in which the
           violation occurred. The ‘but-for price’ is a measure of what the price of the product
           would be if the wrongful behavior had not occurred. A yardstick can come from a
           different but related product market in the same or similar geographic market, or from a
           different but related geographic market in which the same product or products are sold.

           Ideally, the comparable market product should reflect the same degree of competition, the
           same costs, and the same demand conditions that would have prevailed in the market at
           issue had there been no wrongful behavior. Of course, it is quite possible for there to be
           no suitable yardstick in some cases. If an appropriate yardstick is available, it is important
           to take into account any differences in costs and the extent of competition between the
                                                                           70
           yardstick market and the market at issue in the but-for world.”

           52.      In the Areeda-Hovenkamp treatise (the preeminent antitrust treatise in the field),

the challenges associated with identifying an appropriate yardstick are described as follows:

           “The major difficulty encountered in the use of a yardstick is finding one. The central
           idea behind the yardstick approach is to find a firm that is comparable in all important
           respects to the plaintiff. The economic performance of the yardstick firm is then used as
           an estimate of the performance that the plaintiff would have experienced ‘but for’ the
           antitrust violation. The ideal yardstick is a clone or an identical twin of the plaintiff. Short
           of this, one must identify a firm that is truly comparable in order for the inferences drawn
           to be reliable rather than speculative. One may describe the yardstick method as follows:
           ‘Under the yardstick approach the plaintiff attempts to identify a firm similar to the
           plaintiff in all respects ‘but for’ the impact of the antitrust violation.’ But the yardstick
                                         71
           approach is demanding . . .”

69
     Herbert Hovenkamp, Federal Antitrust Policy 670 (2nd ed. 1999) (hereafter, “Federal Antitrust Policy”).
70
  Professor Rubinfeld adds in a footnote that “A similar approach could be used if one were analyzing profit
margins or rates of return. However, an appropriate margin analysis must account not only for pricing differences,
but also for differences in costs between the two markets.” Daniel Rubinfeld, Research Handbook on the Economics
of Antitrust Law 5 (November 21, 2009) (hereafter, “Rubinfeld”).
71
 Phillip Areeda, Herbert Hovenkamp, Roger D. Blair, & Christine Piette Durrance, Antitrust Law (4th ed. 2014),
Volume IIA, § 392f, pp. 383-84 (hereafter, “Antitrust Law”).


                                                           27
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           53.      Dr. Zimbalist does not conduct a yardstick analysis. He does not search for a

business that is comparable to Zuffa in all important respects. Instead, he uses the sports leagues

that he has available to him (NFL, MLB, NBA, and NHL) and some limited data from boxing.

He then calculates an average PTRR across these five sports. Even if the PTRR were relevant,

which it is not, this average across five different sports cannot serve as a yardstick for Zuffa’s

but-for PTRR.

           54.      Dr. Zimbalist testified that he uses the yardstick approach to estimate antitrust

damages that he incorrectly identified as the difference between Zuffa’s actual PTRR and

Zuffa’s PTRR in the purported but-for world, but what he has created is not a true yardstick. If

one is going to use the yardstick approach in this way, the yardstick must be sufficiently similar

to the Defendant or Plaintiff, as the case may be, so that the actual performance of the yardstick

is a reasonable estimate of the but-for performance of the Plaintiff or Defendant. The reason for

this is that the yardstick’s actual performance is going to be used as an estimate of the but-for

performance of the target firm. Dr. Zimbalist does not appear to have conducted any analyses

that would inform him of the similarities and dissimilarities between Zuffa and the sports he used

as components in constructing his yardstick.

           55.      In his report, Dr. Zimbalist does not analyze any aspect of the sports used in

constructing his yardstick, which is an average across five sports. Consequently, he cannot know

whether this average is a reliable estimate of Zuffa’s performance in his purported but-for world.

It is unclear why Dr. Zimbalist selected boxing and the four major league sports as components
                      72
of his yardstick. Moreover, in his yardstick analysis, he does not include Major League Soccer

(MLS), tennis, or any other sports. It is noteworthy that the PTRRs for MLS and tennis are below

72
     Zimbalist Tr. at 237-240.



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Dr. Zimbalist’s average PTRR. For example, the PTRRs for MLS range between 21 and 28

percent, while the PTRRs for tennis range from 11 to 17 percent, based on available data (see

Table 2).

                                Table 2: Comparison of Sport Entity PTRRs

                        Entity                    Sport            Years            PTRR          Source
              Dr. Zimbalist's Yardsticks
                     Golden Boy                 Boxing           2014-2016        56% - 64%         [1]
                         MLB                   Baseball          2010-2016        50% - 55%         [1]
                         NBA                   Basketball        2010-2016        47% - 54%         [1]
                         NFL                    Football         2010-2016        48% - 49%         [1]
                         NHL                    Hockey           2010-2016        51% - 56%         [1]
                        Other
                     Golden Boy                  Boxing        2015-2016     14% - 29%              [2]
                         MLS                     Soccer      2012, 2014-2016 21% - 28%              [3]
                         ATP                     Tennis            2012        13%                  [4]
                    Australian Open              Tennis            2012        17%                  [4]
                       US Open                   Tennis            2012        11%                  [4]
              Sources:
              [1] Zimbalist Report, p. 71 Table 2, p. 81 Table 4. Zimbalist Report Errata, Tables 2-E, 4-E.
              [2] GBP000001-002. [3] MLS Player Union Salary Reports; Craig Kerr MLS Database;
              Forbes. [4] New York Times.


           56.      In his deposition, Dr. Zimbalist conceded that “certain standards” for performing

a yardstick analysis exist though he testified that he could not name any specific “article or
                                                      73
articles or a book” or “any journal article.” Instead of referencing the extant literature (such as

the work of Professor Hovenkamp or Dr. Rubinfeld), Dr. Zimbalist stated that it would be

“desirable” for the yardstick “to have everything exactly the same except the level of

competition,” but that he did not have that, and so instead he fell back on a lesser standard,

namely to “try to find as much as possible in common except for the variable that you’re trying



73
     Zimbalist Tr. at 148-150, 165-66.



                                                            29
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                                   74
to identify the impact of.”             The standard “as much as possible in common” is not a standard

recognized in the field. The recognized standard is that described by Professor Hovenkamp as

“similar to the plaintiff in all respects but for the impact of the antitrust violation” and similarly

by Dr. Rubinfeld as “closely approximating the market in which the violation occurred” and

likewise by Areeda and Hovenkamp as “comparable in all important respects.”

           57.       Dr. Zimbalist appears to have assumed that his proposed yardstick was suitable

without “tak[ing] into account any differences in costs,” “the extent of competition between the
                                                                                                                  75
yardstick market and the market at issue,” whether “the markets of the two firms are identical,”

whether Zuffa and the yardstick “stand in the same relative position in those markets,” whether

Zuffa and the yardstick “offer the same product mix,” whether Zuffa and the yardstick “have

comparable managements,” whether Zuffa and the yardstick “are comparable in all other

respects,” whether the markets “reflect the same amount of competition,” or whether Zuffa and
                                                               76
the yardstick have the “same demand conditions.”

           58.       Dr. Zimbalist’s testimony is revealing. First, Dr. Zimbalist essentially explains

how he has not used the appropriate economic standard for using a yardstick. He assumed that

the same sports identified by Plaintiffs in their Complaint were appropriate components of the

yardstick for his analysis, without considering whether there were any differences that could

invalidate some of the comparator sports as adequate components of the yardstick. This approach

is economically unsound—one first must analyze whether a yardstick is valid before comparing

the yardstick with the target firm. Otherwise it is a fruitless exercise, because the expectations for

74
     Zimbalist Tr. at 151.
75
  My understanding is that Plaintiffs in this case have argued that UFC is in a dissimilar market vis-à-vis Dr.
Zimbalist’s comparators. CAC ¶¶ 60, 62, 79-80, 82, 84.
76
     Federal Antitrust Policy at 670; Rubinfeld at 4.



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the yardstick will necessarily differ from the expectations for the target firm if they are not

reasonably comparable, and any resulting analysis will be inherently speculative.

           59.      Second, by rejecting the use of a single sport as a yardstick, Dr. Zimbalist

revealed that he does not know what a yardstick is supposed to be. The yardstick methodology

contemplates using the actual performance of a firm or market, not an average, as an estimate of

the but-for performance of the Defendant or Plaintiff, as the case may be. But he does not use

any of the comparator sports as a yardstick. Instead, he averaged the PTRRs of the five different

sports and compared that average to Zuffa’s actual PTRR.

           60.      Dr. Zimbalist’s use of an average PTRR across four major league sports and

boxing is a fundamental flaw in his yardstick methodology. The use of an average inherently

masks variability. In volume IIA of the Areeda-Hovenkamp treatise, the limitations of averaging

are explained:

           “The putative yardstick must be comparable to the plaintiff in all important respects:
           product(s) offered, structure of the firm, management, geographic market, and so on.
           Some courts have specifically rejected the use of industry averages. The rejection of
           industry averages is understandable because an industry average necessarily involves a
           potentially wide range of firm characteristics regarding location, product quality (both
           level and consistency), managerial acumen, service, marketing and promotion, financial
           stability, and the like. There is no way to determine how closely the plaintiff matches the
           average profile, and therefore one cannot be confident that the plaintiff would have
                                                        77
           performed as did the industry on average.”

           61.      Dr. Zimbalist calculates an average PTRR across the five sports that he included.

He characterizes the difference between that average PTRR and Zuffa’s actual PTRR as a

measure of antitrust damages. But he does not explain why an average is relevant or appropriate.

The average PTRR does not reflect the actual performance of any of the comparator sports. For

example, the NFL and NBA annual PTRRs are below Dr. Zimbalist’s annual yardstick PTRR in

77
     Antitrust Law, Volume IIA, § 392f, pp. 385-386.



                                                       31
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                 78
every year.           It is not clear why that difference is not an unlawful underpayment. It is also not

clear why the but-for PTRR to UFC athletes should be above the NFL but below boxing. There

is simply no explanation why UFC athletes should receive a greater share of revenue than some

comparator athletes but less than others.

           62.         In adopting the average PTRR across MLB, NBA, NFL, NHL, and boxing as the

components of his yardstick, Dr. Zimbalist does not appear to have considered fully the

differences between his proposed yardstick and Zuffa. These differences may significantly affect

the PTRR of UFC athletes and athletes in the comparator sports.

           63.         First, the sports entertainment provided by Zuffa is different from that provided

by MLB, NBA, NFL, and NHL. Thus, the products offered are decidedly different.

Consequently, the sports entertainment provided may appeal to different audiences. This, in turn,

may significantly influence demand.

           64.         Second, league revenues in the four major leagues are many times the revenues

generated by Zuffa. Table 3 displays the total revenues for Zuffa and the four major sports

leagues by year from 2006 to 2015. In 2015, total revenue for Zuffa was $556 million, while

total revenue was $8.4 billion for MLB (over 15 times as large as Zuffa) and total revenue for the

NFL was $12.2 billion (over 20 times as large as Zuffa). In fact, Zuffa’s annual revenue was

more comparable to a single NFL team (e.g., the New York Giants) than the entire NFL.

Assuming arguendo Zuffa and the four major sports are in the same or similar markets (which

Dr. Zimbalist does not address), the vast gap in revenue shows they do not have the same amount

of demand or stand in the same relative position in those markets.



78
     Zimbalist Report Table 4; Zimbalist Report Errata Table 4-E.



                                                          32
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                  Table 3: Annual Total Revenues of Zuffa and Big Four, 2006-2015

                 Millions, USD
                    Year       Zuffa         MLB           NBA            NFL         NHL
                    2006       $182          $5,110        $3,370        $6,540       $2,270
                    2007       $226          $5,480        $3,570        $7,090       $2,440
                    2008       $275          $5,820        $3,770        $7,570       $2,750
                    2009       $336          $5,900        $3,790        $8,020       $2,820
                    2010       $446          $6,140        $3,810        $8,350       $2,930
                    2011       $440          $6,360        $3,960        $8,820       $3,090
                    2012       $450          $6,810          ---         $9,170       $3,370
                    2013       $548          $7,100        $4,560        $9,580         ---
                    2014       $486          $7,860        $4,790       $11,090       $3,700
                    2015       $556          $8,390        $5,180       $12,160       $3,980
                 Note: Excluding 2012 NBA and 2013 NHL revenues due to the 2011-12 NBA
                 and 2012-13 NHL lockouts.
                 Sources: [1] ZFL-1381761; [2] ZFL-1514712; [3] ZFL-1514769; [4] ZFL-
                 1514804; [5] ZFL-1514836; [6] ZFL-1514870; [7] ZFL-1514900; [8] ZFL-
                 1514933; [9] ZFL-1514944; [10] ZFL-2764799; [11] Statista.

        65.        Third, the athletes in the four major leagues are unionized and bargain

collectively with management, while MMA athletes are independent contractors and are not

unionized. Collective bargaining likely impacts compensation in the four comparator sports

leagues in myriad ways, but at minimum, one would expect that unionized athletes would have

increased leverage to demand higher pay, which would impact the percentage of revenue they
           79
receive.        As a result, one likely cannot compare compensation between unionized and non-

unionized athletes in a yardstick analysis because the compensation outcomes would differ

regardless of the differences in competition between the yardstick and target firm.




79
   For example, David Berri, Michael Leeds, & Peter von Allmen analyzed the NBA and showed that collective
bargaining accounts for a significant percentage of NBA player compensation. Their research also showed that NBA
players generated about 26% of the revenues based on their marginal productivity, but were paid closer to 50%.
They conclude that the leverage of having a players’ union resulted in bargaining that doubled the players’ pay as a
fraction of total revenue. David Berri, Michael Leeds, & Peter von Allmen (2015). “Salary Determination in the
Presence of Fixed Revenues, International Journal of Sport Finance (10)1, pp. 5-25.



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           66.      Fourth, while MMA is a relatively young sport, with the UFC beginning in 1993,
                                                                                                              80
the four major leagues are considerably older and well established. MLB formed in 1903,                             the
                   81                   82                            83
NHL in 1917, the NFL in 1920, and the NBA in 1949. This suggests Zuffa is in a different

relative position in the market than the comparator sports, and likely explains some of the

difference in demand between Zuffa and the comparator sports.

           67.      Fifth, the four major leagues have different business models than Zuffa. The four
                                                                                                                     84
leagues have large television contracts that generate enormous guaranteed fixed revenues.

Zuffa, on the other hand, generates a significant amount of its revenue from pay-per-view, a
                                                                           85
variable revenue stream that can vary from event to event.                      As Dr. Zimbalist testified, a firm
                                                                                       86
with more variable revenue would expect a higher rate of return.                            If firms have different

expected rates of return, it would not make sense to compare them in a yardstick analysis or

make a comparison without controlling for that difference.
80
  Adam Augustyn, Major League Baseball (MLB), Encyclopedia Britannica (November 7, 2017),
https://www.britannica.com/topic/Major-League-Baseball.
81
  National Hockey League (NHL), Encyclopedia Britannica (October 6, 2017),
https://www.britannica.com/topic/National-Hockey-League.
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https://www.britannica.com/topic/National-Football-League.
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https://www.britannica.com/topic/National-Basketball-Association.
84
  Christina Settimi, Baseball scores $12 billion in television deals, Forbes (October 2, 2012, 8:42 PM),
https://www.forbes.com/sites/christinasettimi/2012/10/02/baseball-scores-12-billion-in-television-
deals/#35abfacb71d3; NBA extends television deals, ESPN (February 14, 2016),
http://www.espn.com/nba/story/_/id/11652297/nba-extends-television-deals-espn-tnt; Kurt Badenhausen, The NFL
signs TV deals worth $27 billion, Forbes (December 14, 2011, 6:13 PM),
https://www.forbes.com/sites/kurtbadenhausen/2011/12/14/the-nfl-signs-tv-deals-worth-26-billion/#5c2ee9aa22b4;
Bob Condor, NHL, NBC sign record-setting 10-year TV deal, NHL.com (April 19, 2011),
https://www.nhl.com/news/nhl-nbc-sign-record-setting-10-year-tv-deal/c-560238.
85
  In deposition, Zuffa Senior Vice President of Strategy, Denitza Batchvarova stated, “for every single [pay-per-
view] event we are starting from buy zero. You have to convince customers to buy it.” Deposition of Denitza
Batchvarova, January 25, 2017, at 202.
86
     Zimbalist Tr. at 207-208.



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           68.      Dr. Zimbalist also does not appear to have considered the possible influence of

player drafts, salary minimums, salary caps, luxury taxes, and restricted free agency in the four

major league sports. In some cases, these differences show that Zuffa has a more open labor

market than the comparator sports (e.g., an up-and-coming MMA athlete can choose which

promoter to sign with, and is not forced to participate in a draft). In other cases, certain UFC

practices alleged to be anticompetitive are nearly identical in the comparator sports (e.g.,

exclusivity, ancillary rights). Dr. Zimbalist fails to account for these differences or similarities in

his analysis, and therefore fails to consider whether some of the difference between Zuffa and the

comparator sports may be caused by these factors—not Zuffa’s allegedly anticompetitive

conduct.

           69.      Dr. Zimbalist also identified boxing as one of the five sports that he included in

his yardstick calculation of an average PTRR. Like MMA, boxing is an individual rather than

team sport, it involves combat, and events involve multiple bouts. But boxing turns out to bring

serious problems to the analysis. First, Dr. Zimbalist used a two-and-a-half year average from a
                                                                                                    87
single promoter for each of the six years in the Plaintiffs’ alleged damage period.                      As a result,

the boxing data fail to exhibit variability over the six years that the four major leagues display.

           70.      Second, Dr. Zimbalist relies on data from only one promoter, Golden Boy, that
                                                                    88
were drawn from an expert report in another litigation.                  The data Dr. Zimbalist relied upon are

quite different from those produced by Golden Boy in this litigation. Dr. Zimbalist claims that

the PTRR for boxing is twice as high as the PTRR found in Golden Boy’s actual financial


87
     Zimbalist Report ¶¶ 111-112, Table 2, Table 4; Zimbalist Report Errata Table 2-E, Table 4-E.
88
  Dr. Zimbalist relies on Exhibit 3, a detail of Golden Boy “Income from Boxing Operations,” from Expert Report
of Gene Deetz, September 6, 2016 in Golden Boy v. Hayman. Zimbalist Report ¶ 111; Zimbalist Work Papers.



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                                                                                                         89
records. Dr. Zimbalist assigns boxing (through his Golden Boy proxy) a PTRR of 62.2%.

Golden Boy’s financials do not show nearly that high a PTRR—rather, they show a 29% PTRR
                                             90
for 2015 and 14% PTRR for 2016.                   This, of course, biases Dr. Zimbalist’s average yardstick

PTRR – and renders it unreliable.

           71.      Third, by using data for only one promoter to represent the entire boxing industry,

Dr. Zimbalist loses the variability that might accompany other promoters and thereby influence

the PTRR. Boxing firms also appear to systematically overstate the percentage of revenue going
                                                                                                         91
to athletes because they book money paid to another boxer’s promoter as athlete compensation.

This artificially inflates athlete compensation and, by definition, compensation as a percentage of

revenue. For all these reasons, Dr. Zimbalist’s boxing comparison is highly unreliable on its

own, and also significantly biases his average yardstick PTRR.

           72.      While Dr. Zimbalist does not use Bellator or Strikeforce (pre-acquisition) as one

of the components of his yardstick, he does use their PTRR as a robustness check on his

yardstick estimate. In his report, he states:

            “… the appropriate and conservative nature of my yardsticks is corroborated by the
           fighter share of revenue paid out by other MMA promotions who have attempted to
           compete with Zuffa. During 2010 and 2011, the two years before it was acquired by
           Zuffa, Strikeforce paid approximately 63% of its revenues to its fighters. Similarly,
           during the period from 2010 through 2015, Bellator paid approximately 48.5% of its
           revenue to Fighters. These MMA promoters are Zuffa’s closest competitors and their
           business models are similar to Zuffa’s. The fact that their fighter pay ratio, which has an
           unweighted mean of 55.75% during the Class Period (through the end of 2016), is in the



89
     Zimbalist Report Errata Table 2-E, Table 4-E.
90
 GBP000001 (“Golden Boy Promotions Profit & Loss – 2015”). 29% = $11,613,960.46 / $40,113,787.29.
GBP000002 (“Golden Boy Promotions Profit & Loss – 2016”). 14% = $7,800,365.90 / $55,195,256.93.
91
     Deposition of Robert Arum, October 17, 2017, at 50-53.



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           ballpark of my benchmark estimates further bolsters the reasonableness of my
                        92
           benchmarks.”
           73.      Dr. Zimbalist fails to discuss or account for a basic proposition in yardstick
                                                                                     93
analysis: the yardstick should not be in the same market as the defendant. In this case, Bellator

(and Strikeforce before it) competed against Zuffa in the market, and were thus subject to market

forces in part affected by Zuffa’s competition. The PTRRs of these firms could be higher

because they earned less revenue rather than because they paid more to the athletes. There is no

evidence that Dr. Zimbalist untangled Zuffa’s impact on Bellator’s or Strikeforce’s PTRRs.

Consequently, this renders their PTRRs unreliable as a yardstick comparator or robustness check.

           74.      Moreover, since Bellator was unprofitable, it is not sensible to use Bellator as a
                                                  94
yardstick comparator or robustness check.              To do so would mean that the UFC would be

unprofitable in the purported but-for world. From an economic perspective, this makes no sense.

DR. ZIMBALIST’S FAILURE TO DISAGGREGATE DAMAGES

           75.      The Plaintiffs allege that Zuffa has engaged in a variety of monopsonistic abuses

that resulted in antitrust damages. Dr. Zimbalist adopted these allegations and produced an

estimate of the damages. As I explained above, Dr. Zimbalist’s measure of damages has no

economic foundation. Consequently, his damage estimate is unreliable. Even if Dr. Zimbalist’s

measure of damages were reliable in the aggregate, his failure to disaggregate his damage

estimate may require the jury to speculate. In other words, he failed to attribute specific damage

amounts to the various practices that are alleged to be anticompetitive.


92
     Zimbalist Report ¶ 130 (footnote omitted).
93
  Niels, G., Jenkins, H. and Kavanagh, J.; Economics for Competition Lawyers 524-525 (Oxford University Press
2011).
94
     SBPCL00002101.



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           76.      Dr. Zimbalist attributes the Plaintiffs’ damages to an array of allegedly

anticompetitive conduct. One practice that was included in this array is Zuffa’s contract
                                                 95
extensions of high performing athletes.               Assuming this practice is either procompetitive or

competitively neutral, the damage estimate must be reduced by the amount that should have been

attributed to the impact of those contract extensions on Zuffa’s PTRR.

           77.      Dr. Zimbalist’s failure to disaggregate his damage estimate leaves the court or the

jury with no evidentiary foundation for making the appropriate adjustment. As a result, the jury

must speculate. Similarly, Dr. Zimbalist appears to assume all multi-year contracts will be found

to be anticompetitive, despite their presence across the comparator sports used in his proposed

yardstick. To the extent the court or jury does not find all multi-year contracts to be

anticompetitive, they will be left with no valid estimate of damages from Dr. Zimbalist. Dr.

Zimbalist also finds that the exclusivity provisions in Zuffa’s contracts are anticompetitive. As I

have shown above, similar provisions can be found in the player contracts in MLB, NBA, NFL,

and NHL. Thus, they are not uncommon in professional sports. If the court or jury finds that the

exclusivity provisions are not anticompetitive, any alleged damage would have to be adjusted for

the amount attributable to exclusivity. Dr. Zimbalist’s failure to disaggregate his calculation

would require the jury to speculate.

           78.      Dr. Zimbalist testified in his deposition that there is a core set of challenged
                                                                                                96
conduct that he considers necessary for his damage estimate to be accurate.                          If one of the

elements of the challenged conduct is found to not violate the antitrust laws (perhaps because it


95
     Zimbalist Report ¶ 14.
96
  “Again, my estimate of damages is based upon the overall impact of a panoply of restrictive clauses.” Zimbalist
Tr. at 34. See also id. at 21-24, 29-30, 95, 111, 128.



                                                         38
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is common in sports and procompetitive), then as I understand Dr. Zimbalist’s testimony, his

damages analysis would not be an accurate assessment of the damages for any remaining alleged

violations. Additionally, Dr. Zimbalist acknowledges in his deposition that if there is conduct

that the Court finds to be legal or procompetitive, his work cannot be used to estimate what
                                                                97
portion of damages should be removed from the total.

ZUFFA BOUT COMPENSATION VARIES TREMENDOUSLY BY ATHLETE

         79.      I also examined the total bout compensation of each athlete for each bout to assess

whether the UFC athletes receive common levels of payments at each stage of their tenure with

the UFC. I grouped UFC compensation data by year and bout number of the athlete. For

example, I analyzed all UFC athlete compensation in 2013 for all athletes in their first bout with

the UFC. While below I present this single example, I provide a full set of tables (for each year

and bout number) in Appendix F. Based on this analysis, one can see the heterogeneity in

compensation across athletes with the same amount of UFC experience (see Table 4). For

example, in 2013, 30 athletes on their first bout earned $11,000, while another 30 earned twice as

much, either $21,000 or $22,000, and another 30 earned at least twice that amount, from $45,000

to $574,720. While $11,000, $21,000, and $22,000 are most common in 2013 for first-bout UFC

athletes, more than half of all first-time UFC athletes received some other amount, ranging from

under $10,000 to over $500,000. Diversity in compensation is common; in 2014, one athlete on

his or her eighth bout earned $11,000, while another earned $793,688. These tables demonstrate

the range of UFC athlete compensation at the individual level, even when accounting for the

97
  “Q. Now, you’re referring to that package with a panoply of contract provisions and behavior that flows from it.
You have not broken down that package to estimated damages from any parts, individual parts, of the package,
correct?
A.       That’s correct.”
Zimbalist Tr. at 35-36.



                                                        39
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athletes’ UFC experience. There is no common pay scheme (or ladder) based solely on year and

amount of UFC experience. I have included full tables for all bout numbers and levels of

compensation for the years 2011-2016 as Appendix F to show that this variation is both

substantial and extremely common for all UFC athletes in all years.




                                               40
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        Table 4: Zuffa Athlete Pay by First Bout, Bout Compensation, 2013
                    Year      Bout Number       Bout Compensation     N
                    2013            1                 $8,000          4
                    2013            1                 $9,000          4
                    2013            1                 $10,000         2
                    2013            1                 $11,000        30
                    2013            1                 $12,000         5
                    2013            1                 $13,000         6
                    2013            1                 $14,000         1
                    2013            1                 $15,000         2
                    2013            1                 $15,500         1
                    2013            1                 $16,000         5
                    2013            1                 $17,000         3
                    2013            1                 $18,000         1
                    2013            1                 $19,000         3
                    2013            1                 $20,000         2
                    2013            1                 $21,000        15
                    2013            1                 $22,000        15
                    2013            1                 $23,000         2
                    2013            1                 $24,000         1
                    2013            1                 $25,000         2
                    2013            1                 $26,000         3
                    2013            1                 $27,000         1
                    2013            1                 $29,000         1
                    2013            1                 $31,000         1
                    2013            1                 $32,000         2
                    2013            1                 $34,000         1
                    2013            1                 $40,000         1
                    2013            1                 $45,000         1
                    2013            1                 $53,000         1
                    2013            1                 $58,000         3
                    2013            1                 $64,000         1
                    2013            1                 $65,000         1
                    2013            1                 $66,000         6
                    2013            1                 $70,000         3
                    2013            1                 $78,000         1
                    2013            1                 $80,000         1
                    2013            1                 $86,000         1
                    2013            1                 $95,000         1
                    2013            1                 $97,000         1
                    2013            1                $108,000         1
                    2013            1                $110,000         1
                    2013            1                $116,000         1
                    2013            1                $126,000         1
                    2013            1                $164,000         1
                    2013            1                $175,000         1
                    2013            1                $185,000         1
                    2013            1                $262,000         1
                    2013            1                $574,720         1
                  Note: Non Events and Cancelled Fights omitted.
                  Source: Internal Zuffa Bout Compensation (ZFL-2764800).



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Academic:          Assistant Professor, University of Florida, September 1970 to June
1974.

                Associate Professor, University of Florida, July 1974 to June 1978.

         Professor, University of Florida, July 1978 to present.

         Huber Hurst Professor of Business and Legal Studies, July 1990 to 2008.

         Walter J. Matherly Professor, 2008 to present.

                   Visiting Scholar in Residence, Center for the Study of American
                   Business, Washington University, September 1977 to June 1978.

                   Visiting Professor, University of Hawaii, Fall 1980, Summer 1991,
                   Summer 1992.

                   Visiting Professor, University of California-Berkeley, Winter and Spring
                   1981.


Administrative: Chairman, Department of Economics, University of Florida: September
                1976 to July 1977, July 1981 to January 1983, May 1984 to September
                1986, and August 1989 to June 1991.

                   Associate Director, Public Policy Research Center, University of Florida:
                   January 1978 to July 1992.


Other:             Member, Research Team, Academic Task Force for Review of the
                   Insurance and Tort Systems, 1987.

         Member, Antitrust Committee, Agency for Health Care Administration, 1993.

                   Member, Task Force on Legislation and Regulation, ABA Antitrust
                   Section Committee on Franchising, 1994.


Professional Memberships:

         American Bar Association
         American Economics Association
         American Law and Economics Association
         International Law and Economics Association
         Southern Economic Association
         Western Economic Association



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Participation in Professional Meetings:

1.     Allied Social Science Associations:     Econometric Society
                                 Health Economics Research Organization
                                 Industrial Organization Society

2.     American Agricultural Economics Association
3.     American Bar Association – Antitrust Section
4.     American Statistical Association
5.     Atlantic Economic Society
6.     Canadian Law & Economics Association
7.     European Law & Economics Association
8.     International Institute of Public Finance
9.     International Management Science Meetings
10.    Mergers In Health Care: The Performance of Multi-Institutional Organizations
11.    Society of Franchising
12.    Southern Economic Association
13.    Southern Regional Science Association
14.    Western Economic Association


Other Professional Activities:

1.     Reviewer - Manuscripts:
American Economic Review
Bulletin of Economics Research
Eastern Economic Journal
Economic Inquiry
Economic Journal
Growth and Change
Industrial Organization Review
International Economic Review
International Journal of Industrial Organization
Journal of Business Economics
Journal of Business Venturing
Journal of Consumer Marketing
Journal of Economic Behavior and Organization
Journal of Economic Theory
Journal of Economics and Business
Journal of Industrial Economics
Journal of Law & Economics
Journal of Law, Economics and Organization
Journal of Money, Credit and Banking
Journal of Political Economy
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Public Finance Quarterly
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Review of Economics and Statistics
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           Review of Industrial Organization
           Southern Economic Journal


2.   Reviewer – Grant Proposals

           U.S.D.H.E.W. – Social Security Administration
           National Science Foundation

3.   Consultant –

           U.S. Department of Justice – Antitrust Division
           U.S.D.H.E.W. – Social Security Administration
           Federal Trade Commission
           Attorneys General: Arizona, California, Connecticut,
                           Florida, Missouri, Oregon, and Washington
           Numerous private attorneys and Corporations including:
                  Acushnet Company
                  Anheuser-Busch
                  Appleton Papers, Inc.
                  Armstrong World Industries
                  Citgo Petroleum
                  Eckerd Drugs
                  Florida Power Corporation
                  Ford Motor Company
                  General Portland Cement Company
                  Greater Orlando Aviation Authority
                  Holmes Regional Medical Center
                  Intel Corporation
                  Jim Walter Corporation
                  Meinecke Discount Mufflers
                  Tenet Health (Hilton Head Regional Medical Center)
                  Time Warner
                  United States Automobile Association
                  United States Equestrian Federation
                  Wuesthoff Hospital
                  Zeneca Agricultural Chemicals




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                                        Appendix B
  Roger Blair Sworn Testimony

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        Nexgen Mediatech USA, Inc.; Epson Imaging Devices Corporation; Chunghwa
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        Corporation; LG Display Co. Ltd.; LG Display America Inc.; Sharp Corporation;
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        Components, Inc.; Toshiba Mobile Display Co., Ltd.; Toshiba America
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        Corporation; LG Display Co. Ltd.; LG Display America Inc.; Sharp Corporation;
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Deposition of Robert Arum, October 17, 2017.

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Filings in This Matter
Consolidated Amended Antitrust Class Action Complaint, Le et al. v. Zuffa, LLC (Case No. 2:15-cv-
  01045-RFB-(PAL))




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                                   Appendix D

  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                   Events
       1        2011                      King of the Cage                 39
       2        2011                             Deep                      29
       3        2011             Ultimate Fighting Championship            27
       4        2011                       Bellator MMA                    25
       5        2011                            Shooto                     22
       6        2011                         M-1 Global                    21
       6        2011            North American Allied Fight Series         21
       8        2011                         Strikeforce                   16
       9        2011                     Extreme Challenge                 15
       9        2011                           Pancrase                    15
      11        2011                    Gladiator Challenge                12
      12        2011               Alaska Fighting Championship            11
      12        2011                        Jungle Fight                   11
      14        2011             National Fighting Championship            10
      14        2011                 Ultimate Challenge MMA                10
      14        2011            Xtreme Fighting League (Oklahoma)          10
      17        2011                      Rage in the Cage                  9
      18        2011                   Cage Fighting Xtreme                 8
      18        2011                        MAXFIGHT                       8
      18        2011                Modern Fighting Pankration             8
      18        2011                        Shark Fights                   8
      22        2011                         100% Fight                    7
      22        2011                  Battlefield Fight League             7
      22        2011            Cage Fury Fighting Championships           7
      22        2011           Cage Warriors Fighting Championship         7
      22        2011                        Combat USA                     7
      22        2011                         Fight King                    7
      22        2011                  Freestyle Cage Fighting              7
      22        2011            Legends of Fighting Championship           7
      22        2011               Midwest Cage Championship               7
      22        2011                      Shooto Americas                  7
      22        2011                 Watch Out Combat Show                 7
      22        2011                X-1 World Events (Hawaii)              7
      34        2011                 Fight Night Entertainment             6
      34        2011                      Ring of Combat                   6
      34        2011                       Ringside MMA                    6
      34        2011                    Rumble on the Ridge                6
      34        2011                 Seconds Out/Vivid MMA                 6
      34        2011               Ultimate Cage Championships             6
      40        2011                   Back Alley Promotions               5
      40        2011                          C3 Fights                    5
      40        2011                         CageSport                     5
      40        2011             Classic Entertainment and Sports          5


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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      40        2011                  Fight Time Promotions                5
      40        2011          Legacy Fighting Championship (Texas)         5
      40        2011               Titan Fighting Championship             5
      40        2011               Xtreme Fighting Organization            5
      48        2011                          BAMMA                        4
      48        2011                      Cage Contender                   4
      48        2011          Cage Fighting Championship (Australia)       4
      48        2011             Championship Fighting Alliance            4
      48        2011                           Dream                       4
      48        2011                 Elite 1 MMA Productions               4
      48        2011                        Fight to Win                   4
      48        2011                    Global Fight League                4
      48        2011                             Heat                      4
      48        2011                 Konfrontacja Sztuk Walki              4
      48        2011             Maximum Fighting Championship             4
      48        2011             Olympian MMA Championships                4
      48        2011                       PA Cage Fight                   4
      48        2011                  Raxx Ultimate Fighting               4
      48        2011               Road Fighting Championship              4
      48        2011                    Rumble in the Cage                 4
      48        2011                      Shamrock Events                  4
      48        2011                      Sprawl N Brawl                   4
      48        2011                Supremacy Fight Challenge              4
      48        2011                    Tachi Palace Fights                4
      48        2011                        Wreck MMA                      4
      69        2011            10th Legion Championship Fighting          3
      69        2011                     Aggression MMA                    3
      69        2011           Armageddon Fighting Championships           3
      69        2011              Bobish's Ultimate Cage Battles           3
      69        2011                  Cage Fighting Manitoba               3
      69        2011                  Capital City Cage Wars               3
      69        2011             Caribbean Ultimate Fist Fighting          3
      69        2011                    Colosseum Combat                   3
      69        2011                        Fight Festival                 3
      69        2011                Fighting Marcou Challenge              3
      69        2011                      Gruesome MMA                     3
      69        2011                     Hoosier Fight Club                3
      69        2011                        League S-70                    3
      69        2011                         Nitro MMA                     3
      69        2011             Pancrase Fighting Championship            3
      69        2011              Premier Fighting Championship            3
      69        2011                       Psychout MMA                    3
      69        2011               Real Fighting Championships             3
      69        2011                   Score Fighting Series               3
      69        2011                     Showdown Fights                   3
      69        2011                         SportFight                    3

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
       69       2011                   Superior Cage Combat                3
       69       2011                       The Cage Inc.                   3
       69       2011                    The Warriors Cage                  3
       69       2011              Trilogy Championship Fighting            3
       69       2011                Win Fight & Entertainment              3
       69       2011            World Championship Full Contact            3
       96       2011            Australian Fighting Championship           2
       96       2011                      Bitetti Combat                   2
       96       2011             Brazilian Fighting Championship           2
       96       2011               Centurion Mixed Martial Arts            2
       96       2011           Chicago Cagefighting Championship           2
       96       2011                      Crowbar MMA                      2
       96       2011                        Desert Force                   2
       96       2011            Desert Rage Full Contact Fighting          2
       96       2011                    Extreme Beatdown                   2
       96       2011                        Face to Face                   2
       96       2011                    Fight for Wrestling                2
       96       2011                   Fresquez Productions                2
       96       2011              Gladiator Productions (Illinois)         2
       96       2011                            Glory                      2
       96       2011                    Harrah Fight Night                 2
       96       2011                       Instinct MMA                    2
       96       2011                      Island Rumble                    2
       96       2011               Martinez Brothers Production            2
       96       2011                        MEZ Sports                     2
       96       2011                  Mr. Cage Championship                2
       96       2011                      Noc Gladijatora                  2
       96       2011          North American Fighting Championship         2
       96       2011                   Panama Fight League                 2
       96       2011             Prestige Fighting Championship            2
       96       2011                          ProElite                     2
       96       2011               Pure Fighting Championships             2
       96       2011                        Raging Wolf                    2
       96       2011              Recife Fighting Championship             2
       96       2011                        Ring of Fire                   2
       96       2011                     Showtime Fights                   2
       96       2011                        SportFight X                   2
       96       2011                  World Extreme Fighting               2
       96       2011                    Xplode Fight Series                2
       96       2011             Xtreme Fighting Championships             2
      130       2011                  Amazon Forest Combat                 1
      130       2011           Apocalypse Fighting Championship            1
      130       2011                    Bilic-Eric Security                1
      130       2011                    Bully's Fight Night                1
      130       2011                    CA Fight Syndicate                 1
      130       2011                       Cage Fighters                   1

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      130       2011           Caged Steel Fighting Championships           1
      130       2011                       Carelia Fight                    1
      130       2011               Chekhov MMA Tournament                   1
      130       2011              Clube da Luta (Rio de Janeiro)            1
      130       2011                   Coliseu Extreme Fight                1
      130       2011                      Cowboy MMA                        1
      130       2011                         Fight Tour                     1
      130       2011                      Fighters Arena                   1
      130       2011                 Full Contact Promotions                1
      130       2011           Full Force Fighting Championships            1
      130       2011                      G-Force Fights                    1
      130       2011                      Golden Combat                     1
      130       2011                          Grabaka                       1
      130       2011                   Griggs Entertainment                 1
      130       2011                     Hero's the Jungle                  1
      130       2011                   Hess Extreme Fighting                1
      130       2011           International Fighter Championship           1
      130       2011                Jones Entertainment Group               1
      130       2011                     Minotauro Fights                   1
      130       2011                   MMA Against Dengue                  1
      130       2011                       MMA Attack                      1
      130       2011                      MMA Fight Pit                    1
      130       2011                  North Idaho Fight Night               1
      130       2011                    One Championship                    1
      130       2011                  Premier Combat League                 1
      130       2011              Resurrection Fighting Alliance            1
      130       2011                    Samurai Pro Sports                 1
      130       2011                         Scrap Live                    1
      130       2011                  Slammer in the Hammer                 1
      130       2011            Strength and Honor Championship            1
      130       2011                     Subzero Fighting                  1
      130       2011                    Superior Challenge                 1
      130       2011                    Texas Cage Fighting                1
      130       2011                      The Best MMA                     1
      130       2011                 Ultimate Warrior Fighting              1
      130       2011              Urban Conflict Championships              1
      130       2011                    Victory Promotions                  1
      130       2011              Vision Fighting Championship              1
      130       2011                     Warrior-1 MMA                      1
      130       2011              World Championship Fighting               1
       1        2012                     King of the Cage                  43
       2        2012             Ultimate Fighting Championship            31
       3        2012                      Bellator MMA                     25
       4        2012                           Shooto                      23
       5        2012                            Deep                       22
       5        2012                        M-1 Global                     22

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
       7        2012           North American Allied Fight Series          14
       7        2012                          Pancrase                     14
       9        2012                    Brutaal Fight Night                13
       9        2012                    Driller Promotions                 13
       9        2012                   Gladiator Challenge                 13
       9        2012                       Jungle Fight                    13
       9        2012                    Super Fight League                 13
      14        2012                  Cage Fighting Xtreme                 12
      14        2012          Cage Warriors Fighting Championship          12
      14        2012                    Extreme Challenge                  12
      17        2012                        100% Fight                     10
      17        2012              Alaska Fighting Championship             10
      17        2012                    Disorderly Conduct                 10
      17        2012                   Xplode Fight Series                 10
      21        2012                      Fight Club OC                    9
      21        2012                     Shooto Americas                   9
      23        2012            Aggression Fighting Championship           8
      23        2012                      Hardrock MMA                     8
      23        2012             National Fighting Championship            8
      23        2012                     Rage in the Cage                  8
      23        2012                Ultimate Challenge MMA                 8
      23        2012           Xtreme Fighting League (Oklahoma)            8
      29        2012                           Draka                       7
      29        2012                    Fight Nights Global                7
      29        2012          Legacy Fighting Championship (Texas)         7
      29        2012              Midwest Cage Championship                7
      29        2012               Modern Fighting Pankration              7
      29        2012                      Ring of Combat                   7
      35        2012            Cage Fury Fighting Championships           6
      35        2012             Classic Entertainment and Sports          6
      35        2012                       Fight to Win                    6
      35        2012                   MMA Total Combat                    6
      35        2012                 Pacific Xtreme Combat                 6
      35        2012                           Rings                       6
      35        2012                Watch Out Combat Show                  6
      35        2012             Xtreme Fighting Championships             6
      43        2012                      Cage Contender                   5
      43        2012                   Coalition of Combat                 5
      43        2012               Complete Devastation MMA                5
      43        2012                  Fight Time Promotions                5
      43        2012              Native Fighting Championship             5
      43        2012                   New England Fights                  5
      43        2012                    One Championship                   5
      43        2012              Road Fighting Championship               5
      43        2012                     Shamrock Events                   5
      43        2012                        Strikeforce                    5

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                   Events
      43        2012                       Total Mayhem                    5
      54        2012                        Arena Fight                    4
      54        2012                       BAMMA USA                       4
      54        2012                          C3 Fights                    4
      54        2012                    Cage Championships                 4
      54        2012              Championship Fighting Alliance           4
      54        2012                     Colosseum Combat                  4
      54        2012                    Dragon House MMA                   4
      54        2012               Fusion Fighting Championship            4
      54        2012                            Glory                      4
      54        2012                     Hoosier Fight Club                4
      54        2012                 King of the Cage Canada               4
      54        2012                 Konfrontacja Sztuk Walki              4
      54        2012                    K-Oz Entertainment                 4
      54        2012              Legend Fighting Championship             4
      54        2012                        MAXFIGHT                       4
      54        2012             Maximum Fighting Championship             4
      54        2012               Resurrection Fighting Alliance          4
      54        2012                    Score Fighting Series              4
      54        2012                      Showdown Fights                  4
      54        2012                     Tachi Palace Fights               4
      54        2012               Ultimate Cage Championships             4
      54        2012            World War Fighting Championship            4
      54        2012               Xtreme Fighting Organization            4
      77        2012            10th Legion Championship Fighting          3
      77        2012                    3 River Throwdown                  3
      77        2012                   Back Alley Promotions               3
      77        2012                          BAMMA                        3
      77        2012                   Coliseu Extreme Fight               3
      77        2012               Dubai Fighting Championship             3
      77        2012                         Indy MMA                      3
      77        2012            Legends of Fighting Championship           3
      77        2012                  Pinnacle Combat MMA                  3
      77        2012               Rumble World Entertainment              3
      77        2012                     Samurai Pro Sports                3
      77        2012                          ShoFight                     3
      77        2012                 Ultimate Warrior Fighting             3
      77        2012              Victory Fighting Championship            3
      77        2012             Warfare Fighting Championships            3
      92        2012             Australian Fighting Championship          2
      92        2012                  Best of the Best (Brazil)            2
      92        2012                   Brazilian King Fighter              2
      92        2012           Cage Combat Fighting Championships          2
      92        2012          Cage Fighting Championship (Australia)       2
      92        2012                       Cage Gladiator                  2
      92        2012                 Colosseum Sports MMA                  2

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
       92       2012                 Combat Sports Challenge               2
       92       2012                     Conviction MMA                    2
       92       2012             Flawless Fighting Championship            2
       92       2012                       Instinct MMA                    2
       92       2012                     Iron Fight Combat                 2
       92       2012            Lights Out Promotions (California)         2
       92       2012                  No Love Entertainment                2
       92       2012                Proud Warrior Productions              2
       92       2012                      Pure MMA LLC                     2
       92       2012               Real Fighting Championships             2
       92       2012              Rogue Warrior Championships              2
       92       2012                       Shogun Fights                   2
       92       2012            Strength and Honor Championship            2
       92       2012                  Too Much Talent MMA                  2
       92       2012              Worldwide Mixed Martial Arts             2
       92       2012                        Wreck MMA                      2
      115       2012        Abu Dhabi Warriors Fighting Championship       1
      115       2012                     Aggression MMA                    1
      115       2012                  Amazon Forest Combat                 1
      115       2012                        Baltic Fights                  1
      115       2012                     Boa Vista Combat                  1
      115       2012                         Brasil Fight                  1
      115       2012             Brazilian Fighting Championship           1
      115       2012              Cage Warrior Combat (Texas)              1
      115       2012                        Carelia Fight                  1
      115       2012                Champion Pro MMA Fights                1
      115       2012                            Dream                      1
      115       2012                  Evolution Fight League               1
      115       2012         Extreme Fighters World Championships          1
      115       2012                        Fight Festival                 1
      115       2012                       Freedom Fight                   1
      115       2012                         Fury Fights                   1
      115       2012                   Gladiator Promotions                1
      115       2012                          Grabaka                      1
      115       2012                   Griggs Entertainment                1
      115       2012         Hard Fight Championship (Mato Grosso)         1
      115       2012                 Inoki Genome Federation               1
      115       2012           International Fighting Championship         1
      115       2012                       Made For War                    1
      115       2012                  MMA Against Dengue                   1
      115       2012                        MMA Attack                     1
      115       2012                       MMA Nemesis                     1
      115       2012                        MMA Rocks                      1
      115       2012                       Noc Gladiatora                  1
      115       2012             Prestige Fighting Championship            1
      115       2012                           ProElite                    1

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      115       2012                   Reality Cage Combat                  1
      115       2012                 Renaissance Fight Night                1
      115       2012                       Ring of Fire                     1
      115       2012                   Rumble in the Cage                   1
      115       2012              Serbian Battle Championship               1
      115       2012                        SportFight                      1
      115       2012                  Superior Cage Combat                  1
      115       2012                    Superior Challenge                  1
      115       2012                 Tommy Tran Promotions                  1
      115       2012                  Triple X Cagefighting                 1
      115       2012               Ultimate Warrior Challenge               1
      115       2012              Undisputed Combat Challenge               1
      115       2012                  United Combat Sports                  1
      115       2012                     Vale Tudo Japan                    1
      115       2012               Vologda Martial Arts Union               1
      115       2012                       Warrior Fight                    1
      115       2012                 World Series of Fighting               1
       1        2013                     Oplot Challenge                   74
       2        2013                     King of the Cage                  41
       3        2013             Ultimate Fighting Championship            33
       4        2013                    Super Fight League                 32
       5        2013                           Shooto                      27
       6        2013                      Bellator MMA                     25
       7        2013                            Deep                       23
       8        2013                       Jungle Fight                    16
       8        2013                        M-1 Global                     16
       8        2013                          Pancrase                     16
      11        2013          Cage Warriors Fighting Championship          14
      12        2013                   Gladiator Challenge                 13
      13        2013                     Gladiator (Japan)                 12
      13        2013                  Sparta Combat League                 12
      15        2013           Xtreme Fighting League (Oklahoma)           11
      16        2013          Legacy Fighting Championship (Texas)         10
      16        2013                 Strike Hard Productions               10
      18        2013                        100% Fight                      9
      18        2013                   Fight Nights Global                 9
      18        2013             Gladiator Championship Fighting           9
      18        2013            Shamrock Fighting Championships            9
      18        2013                       Sparta MMA                      9
      18        2013                Ultimate Challenge MMA                 9
      18        2013                 Watch Out Combat Show                 9
      18        2013                   Xtreme Fight Events                 9
      26        2013                     Hardrock MMA                      8
      26        2013             National Fighting Championship            8
      26        2013                     Shooto Americas                   8
      26        2013             Victory Fighting Championship             8

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      30        2013                    Brutaal Fight Night                7
      30        2013             Classic Entertainment and Sports          7
      30        2013                Final Fight Championship               7
      30        2013                   Fivestar Fight League               7
      30        2013               Midwest Cage Championship               7
      30        2013           North American Allied Fight Series          7
      30        2013                    One Championship                   7
      30        2013                  Pacific Xtreme Combat                7
      30        2013            Tech-Krep Fighting Championship            7
      30        2013                    Xplode Fight Series                7
      40        2013           Aggression Fighting Championship            6
      40        2013                      Bluegrass Brawl                  6
      40        2013                       Destiny MMA                     6
      40        2013                    Extreme Challenge                  6
      40        2013                        Fight to Win                   6
      40        2013                 Inoki Genome Federation               6
      40        2013                     Kick Down MMA                     6
      40        2013               Modern Fighting Pankration              6
      40        2013                    New England Fights                 6
      40        2013              Resurrection Fighting Alliance           6
      40        2013                      Ring of Combat                   6
      40        2013                 World Series of Fighting              6
      40        2013             Xtreme Fighting Championships             6
      53        2013                       BAMMA USA                       5
      53        2013             Championship Fighting Alliance            5
      53        2013                    Colosseum Combat                   5
      53        2013                  Dynasty Combat Sports                5
      53        2013                  Fight Time Promotions                5
      53        2013                            Heat                       5
      53        2013                     Iron Fight Combat                 5
      53        2013                 King of the Cage Canada               5
      53        2013               Road Fighting Championship              5
      62        2013         American Predator Fighting Championships      4
      62        2013                            Cage                       4
      62        2013           Cage Warrior Combat (Washington)            4
      62        2013                        Combat Zone                    4
      62        2013                   Extreme Cage Combat                 4
      62        2013                  Full Contact Contender               4
      62        2013                Konfrontacja Sztuk Walki               4
      62        2013                     Made 4 The Cage                   4
      62        2013                   Midwest Fight Series                4
      62        2013            Pinnacle Fighting Championships            4
      62        2013           West Coast Fighting Championship            4
      73        2013            Australian Fighting Championship           3
      73        2013                         BAMMA                         3
      73        2013                       Caged Madness                   3

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      73        2013                       Combat MMA                      3
      73        2013                            Draka                      3
      73        2013                 Elite 1 MMA Productions               3
      73        2013                      Epic Fight Night                 3
      73        2013            Maximum Fighting Championship              3
      73        2013             Midwest Championship Fighting             3
      73        2013                    Orthrus Promotions                 3
      73        2013                  Pinnacle Combat MMA                  3
      73        2013              Predador Fight Championship              3
      73        2013              Premium Fight Championship               3
      73        2013                    Respect in the Cage                3
      73        2013                    Sherman Cage Rage                  3
      73        2013                     Showdown Fights                   3
      73        2013                        Smash Fight                    3
      73        2013                       Team Nogueira                   3
      73        2013                     The Warriors Cage                 3
      73        2013                 USA Mixed Martial Arts                3
      73        2013                  Valhalla Cage Fighting               3
      73        2013              Victory Combat Sports (USA)              3
      73        2013             Warfare Fighting Championships            3
      96        2013                      Cage Contender                   2
      96        2013              Cage Fighting Xtreme (Mass.)             2
      96        2013                        Cage Kumite                    2
      96        2013                      Celtic Gladiator                 2
      96        2013                Challenge MMA (Canada)                 2
      96        2013                   Coliseum to the Cage                2
      96        2013              German MMA Championship                  2
      96        2013                     Gladiadores MMA                   2
      96        2013                         Heat Sports                   2
      96        2013               In Ya Face Fight Productions            2
      96        2013                    K-Oz Entertainment                 2
      96        2013                   La Familia Fight Club               2
      96        2013                           Legend                      2
      96        2013                 Limo Fight Championship               2
      96        2013                 MMA Champions League                  2
      96        2013                       MMAA Arena                      2
      96        2013                      Ottumwa MMA                      2
      96        2013             PrizeFight MMA Championships              2
      96        2013                  Rocky Mountain MMA                   2
      96        2013               Rumble World Entertainment              2
      96        2013                 Show Fighting Enterprise              2
      96        2013              Standout Fighting Tournament             2
      96        2013            Strength and Honor Championship            2
      96        2013                    Tachi Palace Fights                2
      96        2013               Titan Fighting Championship             2
      96        2013                     Ultra Elite Fighters              2

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
       96       2013                     Vale Tudo Japan                   2
       96       2013                   Velame Fight Combat                 2
       96       2013                    Web Fight Combat                   2
       96       2013        Xtreme Fighting Championships (Louisiana)      2
      126       2013                    All Powers Combat                  1
      126       2013               Bosnia Fight Championship               1
      126       2013                  Brazilian King Fighter               1
      126       2013                Cage Fight Series (Austria)            1
      126       2013             Canadian Fighting Championship            1
      126       2013                  Capital City Cage Wars               1
      126       2013              Dubai Fighting Championship              1
      126       2013                   El Orgullo del Valle                1
      126       2013              Federation of MMA of Russia              1
      126       2013                       Fight Festival                  1
      126       2013                  Fight Masters Combat                 1
      126       2013                Fight Now Championship                 1
      126       2013             Flawless Fighting Championship            1
      126       2013                Global Warrior Challenge               1
      126       2013                       Golden Ring                     1
      126       2013                          Grabaka                      1
      126       2013               Grand Combat Entertainment              1
      126       2013                     High Fight Rock                   1
      126       2013                       Into the Cage                   1
      126       2013                      King Kaz Fight                   1
      126       2013                        League S-70                    1
      126       2013            Lights Out Promotions (California)         1
      126       2013                      Made For War                     1
      126       2013                  Madtown Throwdown                    1
      126       2013                  Michiana Fight League                1
      126       2013                       MMA Attack                      1
      126       2013              National Fight Alliance MMA              1
      126       2013                         OX MMA                        1
      126       2013               Paranagua Extreme Combate               1
      126       2013                   Power Fight Extreme                 1
      126       2013              Rebel Fighting Championship              1
      126       2013              Revelation Fight Organization            1
      126       2013                 Richmond Rumble MMA                   1
      126       2013                        Ring of Fire                   1
      126       2013                        Selva MMA                      1
      126       2013                        Strikeforce                    1
      126       2013                    Superior Challenge                 1
      126       2013               Supremacy Fight Challenge               1
      126       2013                 Total Fighting Argentina              1
      126       2013          Ultimate Cage Fighting Championships         1
      126       2013               Ultimate Warrior Challenge              1
      126       2013                Union of Veterans of Sport             1

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      126       2013                         U-Spirits                      1
      126       2013                         War MMA                        1
      126       2013                       Wreck MMA                        1
       1        2014             Ultimate Fighting Championship            46
       2        2014                     King of the Cage                  34
       3        2014                            Deep                       28
       4        2014                      Bellator MMA                     23
       5        2014                           Shooto                      20
       6        2014                        M-1 Global                     18
       7        2014            Cage Fury Fighting Championships           13
       7        2014           Cage Warriors Fighting Championship         13
       7        2014                    Driller Promotions                 13
       7        2014                        Kunlun Fight                   13
       7        2014                      Oplot Challenge                  13
       7        2014                          Pancrase                     13
      13        2014                Final Fight Championship               12
      13        2014            Shamrock Fighting Championships            12
      13        2014                    Striker's House Cup                12
      16        2014          Legacy Fighting Championship (Texas)         11
      16        2014                    One Championship                   11
      16        2014                 World Series of Fighting              11
      16        2014                    Xplode Fight Series                11
      20        2014                        100% Fight                     10
      20        2014              Resurrection Fighting Alliance           10
      20        2014               Road Fighting Championship              10
      20        2014                   Talent MMA Circuit                  10
       24       2014             National Fighting Championship             9
      25        2014              Grand Fighting Championship               8
      25        2014          World Fighting Championships (Nevada)         8
      25        2014             Xtreme Fighting Championships              8
      28        2014                 Battlefield Fight League               7
      28        2014                    Fight Nights Global                7
      28        2014           Hard Knocks Fighting Championship           7
      28        2014                    Orthrus Promotions                 7
      28        2014                     Shooto Americas                   7
      28        2014                      Team Nogueira                    7
      34        2014              Alpha One Sports Media Group             6
      34        2014             Classic Entertainment and Sports          6
      34        2014                  Fight Time Promotions                6
      34        2014                            Heat                       6
      34        2014                Malaysian Invasion MMA                 6
      34        2014               Modern Fighting Pankration              6
      34        2014                  Pacific Xtreme Combat                6
      34        2014               Titan Fighting Championship             6
      34        2014              Victory Fighting Championship            6
      34        2014                      Xtreme Kombat                    6

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      44        2014                          BAMMA                        5
      44        2014                   Combat Games MMA                    5
      44        2014                        Fight to Win                   5
      44        2014                           Grachan                     5
      44        2014               Midwest Cage Championship               5
      44        2014                   Nitrix Champion Fight               5
      44        2014                      Rage in the Cage                 5
      44        2014                Reto de Campeones MMA                  5
      44        2014           US Freedom Fighter Championship             5
      44        2014           West Coast Fighting Championship            5
      54        2014            Australian Fighting Championship           4
      54        2014           Caged Steel Fighting Championships          4
      54        2014                          Fight Star                   4
      54        2014                    Hoosier Fight Club                 4
      54        2014                 Inoki Genome Federation               4
      54        2014                Konfrontacja Sztuk Walki               4
      54        2014                    New England Fights                 4
      54        2014           North American Allied Fight Series          4
      54        2014                            ProFC                      4
      54        2014                  Square Ring Promotions               4
      54        2014                    Tachi Palace Fights                4
      54        2014                     The Hill Fighters                 4
      54        2014                Ultimate Challenge MMA                 4
      54        2014                       Unified MMA                     4
      68        2014             Absolute Fighting Championship            3
      68        2014                     Arena Tour MMA                    3
      68        2014                   BattleGrounds MMA                   3
      68        2014                    Colosseum Combat                   3
      68        2014              Dakota Fighting Championship             3
      68        2014                   Dragon House MMA                    3
      68        2014             Eurasian Fighting Championship            3
      68        2014                    Fight Night Finland                3
      68        2014                  Full Contact Contender               3
      68        2014             Invicta Fighting Championships            3
      68        2014                 King of the Cage Canada               3
      68        2014                     Made 4 The Cage                   3
      68        2014            Maximum Fighting Championship              3
      68        2014                  Pinnacle Combat MMA                  3
      68        2014                      Ring of Combat                   3
      68        2014                     Showdown Fights                   3
      68        2014                  Sugar Creek Showdown                 3
      68        2014                    The Warriors Cage                  3
      68        2014                      Vale Tudo Japan                  3
      68        2014             Warfare Fighting Championships            3
      88        2014         American Predator Fighting Championships      2
      88        2014                       Bitetti Combat                  2

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                   Events
       88       2014                     Extreme Beatdown                  2
       88       2014                Extreme Combat Challenge               2
       88       2014                 Fight Alliance Promotions             2
       88       2014        Gladiators Fighting Championship (Kuwait)      2
       88       2014                      Global Knockout                  2
       88       2014            Lights Out Promotions (California)         2
       88       2014                 Limo Fight Championship               2
       88       2014                    Octtagon Fight Night               2
       88       2014              Prestige Fighting Championship           2
       88       2014                         PROMMAC                       2
       88       2014            Provincial Fighting Championships          2
       88       2014            Ranik Ultimate Fighting Federation         2
       88       2014                    Rei da Selva Combat                2
       88       2014                    Roraima Show Fight                 2
       88       2014                   Sobral Extreme Fighter              2
       88       2014                     Superior Challenge                2
       88       2014                        Thunder Fight                  2
       88       2014             Underdog Xtreme Championships             2
       88       2014                   United Combat League                2
       88       2014               Vengeance Fighting Alliance             2
      110       2014                  All or Nothing (England)             1
      110       2014                    Arena Fight Combat                 1
      110       2014                         Baltic Fights                 1
      110       2014                    Battle for the Border              1
      110       2014                        Battle of Stars                1
      110       2014                   Big Dawg Promotions                 1
      110       2014             Brazilian Fighting Championship           1
      110       2014                          C3 Fights                    1
      110       2014                             Eiko                      1
      110       2014          Europa MMA Fighting Championship             1
      110       2014                     Extreme Challenge                 1
      110       2014               Fighten MMA Championship                1
      110       2014              General Fighting Championship            1
      110       2014                      Grandslam MMA                    1
      110       2014         International Association Diamond Fight       1
      110       2014                    Iron Man Vale Tudo                 1
      110       2014                 Jason Fight Championship              1
      110       2014                         League S-70                   1
      110       2014                       Minas Combat                    1
      110       2014                          MMA 300                      1
      110       2014                       MMAA Arena                      1
      110       2014               National Fight Alliance MMA             1
      110       2014              Pacific Rim Organized Fighting           1
      110       2014                 Pheasant City Fight Night             1
      110       2014                    Pride & Pain MMA                   1
      110       2014               Rebel Fighting Championship             1

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      110       2014                    Sao Jose Super Fight                1
      110       2014        Strength & Honour Championship (Belgium)        1
      110       2014                       The Victorium                    1
      110       2014               Warrior Xtreme Cagefighting              1
      110       2014                Win Combat Championship                 1
      110       2014                 X-1 World Events (Hawaii)              1
       1        2015                      King of the Cage                 44
       2        2015              Ultimate Fighting Championship           41
       3        2015                            Deep                       23
       4        2015                           Shooto                      21
       5        2015                        Kunlun Fight                   18
       5        2015             Shamrock Fighting Championships           18
       7        2015                       Bellator MMA                    16
       8        2015                          Pancrase                     15
       9        2015                    Fight Nights Global                14
      10        2015           Legacy Fighting Championship (Texas)        13
      10        2015           World Fighting Championship Akhmat          13
      12        2015               Resurrection Fighting Alliance          12
      12        2015                   Sparta Combat League                12
      14        2015                         M-1 Global                    11
      14        2015                     One Championship                  11
      16        2015          Extreme Fighting Championship (Africa)       10
      16        2015                  World Series of Fighting             10
      18        2015             Cage Fury Fighting Championships           9
      18        2015                     Super Fight League                9
      20        2015                         Alash Pride                   8
      20        2015                  Dynasty Combat Sports                8
      20        2015                    Rock's Xtreme MMA                  8
      20        2015                      Shooto Americas                  8
      20        2015                    SteelFist Fight Night              8
      20        2015             Tech-Krep Fighting Championship            8
      20        2015                 Ultimate Challenge MMA                 8
      20        2015                            WBK                        8
      28        2015                     Driller Promotions                 7
      28        2015            Hard Knocks Fighting Championship           7
      28        2015                Modern Fighting Pankration              7
      28        2015                Road Fighting Championship              7
      32        2015              Alpha One Sports Media Group             6
      32        2015                   Back Alley Promotions               6
      32        2015                          BAMMA                        6
      32        2015                 Conflict MMA Promotions               6
      32        2015                       Eternal MMA                     6
      32        2015                   Fight Time Promotions               6
      32        2015                        Fight to Win                   6
      32        2015                       Fury Fighting                   6
      32        2015                  Global Proving Ground                6

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      32        2015                          Grachan                      6
      32        2015                  Pacific Xtreme Combat                6
      32        2015                      Rage in the Cage                 6
      32        2015             Victory Fighting Championship             6
      45        2015                         BH Fight                      5
      45        2015                       Brace For War                   5
      45        2015                            Cage                       5
      45        2015           Cage Titans Fighting Championship           5
      45        2015             Classic Entertainment and Sports          5
      45        2015                        ExciteFight                    5
      45        2015                   Fight Exclusive Night               5
      45        2015                Final Fight Championship               5
      45        2015                  Gladiators of the Cage               5
      45        2015                International Combat Elite             5
      45        2015               International Fighting MMA              5
      45        2015               Midwest Cage Championship               5
      45        2015                 Mr. Cage Championship                 5
      45        2015                    New England Fights                 5
      45        2015                      Oplot Challenge                  5
      45        2015                    Phoenix Fight Night                5
      45        2015                 Sugar Creek Showdown                  5
      45        2015               Top Fighting Championship               5
      45        2015             Xtreme Fighting Championships             5
      64        2015                       BAMMA USA                       4
      64        2015                 British Challenge MMA                 4
      64        2015                     Calvo Promotions                  4
      64        2015                     Front Street Fights               4
      64        2015                    Hoosier Fight Club                 4
      64        2015             Invicta Fighting Championships            4
      64        2015                Konfrontacja Sztuk Walki               4
      64        2015            Lights Out Promotions (California)         4
      64        2015                     Made 4 The Cage                   4
      64        2015                         Max Fight                     4
      64        2015                    Mosley Showdown                    4
      64        2015             National Fighting Championship            4
      64        2015               Octagon Fighting Sensation              4
      64        2015                 Pinnacle Combat MMA                   4
      64        2015                      Ring of Combat                   4
      64        2015                    Tachi Palace Fights                4
      64        2015                       Unified MMA                     4
      64        2015             Venator Fighting Championship             4
      82        2015        Abu Dhabi Warriors Fighting Championship       3
      82        2015                     Arena Tour MMA                    3
      82        2015            Australian Fighting Championship           3
      82        2015                        Bradar Fight                   3
      82        2015                  Bush Cree Promotions                 3

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                      Events
       82       2015           Caged Steel Fighting Championships            3
       82       2015           Chosen Few Fighting Championships             3
       82       2015             Dakota Fighting Championship                3
       82       2015                   Dragon House MMA                      3
       82       2015                        Face to Face                     3
       82       2015                   Fight Club Promotion                  3
       82       2015               Hero Fighting Championship                3
       82       2015                     Hex Fight Series                    3
       82       2015                 Inoki Genome Federation                 3
       82       2015                  Jackson's MMA Series                   3
       82       2015             Jeremy Horn's Elite Fight Night             3
       82       2015                Limo Fight Championship                  3
       82       2015                   Max Fights (Mexico)                   3
       82       2015                   New Corpore Extreme                   3
       82       2015                   Next Level Fight Club                 3
       82       2015            Strike Off Fighting Championship             3
       82       2015              Titan Fighting Championship                3
       82       2015                       Twins MMA                         3
       82       2015                  United Combat League                   3
       82       2015         Universal Reality Combat Championship           3
       82       2015                     Vale Tudo Japan                     3
       82       2015                War of Champions MMA                     3
       82       2015                    Warrior Fight Series                 3
       82       2015            West Coast Fighting Championship             3
       82       2015     World Cagefighting Championships (Pennsylvania)     3
       82       2015         World Fighting Championships (Nevada)           3
       82       2015          Xcessive Force Fighting Championship           3
       82       2015                   Xtreme Fighting Inc.                  3
       82       2015              Xtreme Fighting Organization               3
      116       2015                         C3 Fights                       2
      116       2015                 Eco Fight Championship                  2
      116       2015                 Fusion Fight Night Series               2
      116       2015                     Grandslam MMA                       2
      116       2015                  Horsepower Promotions                  2
      116       2015               Imortal Fight Championship                2
      116       2015                    MMA Fight Series                     2
      116       2015         North American Fighting Championship            2
      116       2015                     Rings of Dreams                     2
      116       2015                Rizin Fighting Federation                2
      116       2015              Rumble World Entertainment                 2
      116       2015              Slam Fighting Championship                 2
      116       2015                       Smash Global                      2
      116       2015                    The Warriors Cage                    2
      116       2015             Warrior Championship Fighting               2
      116       2015              Warrior Xtreme Cagefighting                2
      132       2015                  Absolute Cage Fighting                 1

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                           Promoter                   Events
      132       2015                          Action Fight                   1
      132       2015                         AXS TV Fights                   1
      132       2015                        Battle of Botnia                 1
      132       2015                 Bosnia Fight Championship               1
      132       2015                          Capital Fight                  1
      132       2015                 Champion Pro MMA Fights                 1
      132       2015                      Curitiba Top Fight                 1
      132       2015                             Fightor                     1
      132       2015                   Fightspirit Championship              1
      132       2015                    Freestyle Cage Fighting              1
      132       2015                     Frontline Fight Series              1
      132       2015                  Gladiator MMA (Missouri)               1
      132       2015                  Hit Fighting Championship              1
      132       2015                          Huawu Fight                    1
      132       2015         International Sport Kickboxing Association      1
      132       2015                       Iron Fight Combat                 1
      132       2015              Jash-Kuch Fighting Championship            1
      132       2015                       Juiz de Fora Fight                1
      132       2015                          League S-70                    1
      132       2015                         Legend Fights                   1
      132       2015                     Macto Championships                 1
      132       2015                       Mix Fight Combat                  1
      132       2015               Pacific Rim Organized Fighting            1
      132       2015               Premier Fighting Championship             1
      132       2015                      Prestige Fight Club                1
      132       2015                Rebel Fighting Championship              1
      132       2015            South Georgia Fighting Championship          1
      132       2015                      Superior Challenge                 1
      132       2015             The Proving Grounds (Philippines)           1
      132       2015                           Title Quest                   1
      132       2015                   Viva Nicaragua Canal 13               1
      132       2015                           WR Fight                      1
      132       2015                 WSOF Global Championship                1
      132       2015                 Zhong Wu Ultimate Fighting              1
       1        2016                        King of the Cage                46
       2        2016               Ultimate Fighting Championship           41
       3        2016                Absolute Championship Berkut            22
       3        2016                         Bellator MMA                   22
       5        2016                             Shooto                     21
       5        2016           World Fighting Championship Akhmat           21
       7        2016                              Deep                      20
       7        2016                          Kunlun Fight                  20
       9        2016             Shamrock Fighting Championships            17
      10        2016                      Fight Nights Global               16
      10        2016                      One Championship                  16
      10        2016                         Shooto Europe                  16

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      13        2016                   The Ultimate Fighter                15
      14        2016          Legacy Fighting Championship (Texas)         14
      14        2016                         M-1 Global                    14
      16        2016              Aspera Fighting Championship             13
      16        2016                    Gladiator Challenge                13
      16        2016                          Pancrase                     13
      16        2016              Resurrection Fighting Alliance           13
      20        2016              Victory Fighting Championship            12
      21        2016         Extreme Fighting Championship (Africa)        10
      21        2016      We Love MMA (Free Fight Association Germany)     10
      23        2016            Cage Fury Fighting Championships           9
      23        2016             Classic Entertainment and Sports           9
      25        2016               Professional League of MMA              8
      25        2016               Road Fighting Championship              8
      25        2016                      Shooto Americas                  8
      25        2016                           WBK                         8
      25        2016                World Fighting Federation               8
      25        2016                 World Series of Fighting               8
      31        2016                          Grachan                       7
      31        2016                             Zst                       7
      33        2016          Cage Warriors Fighting Championship           6
      33        2016                  Fight Time Promotions                6
      33        2016                 Final Fight Championship              6
      33        2016             Invicta Fighting Championships             6
      33        2016                  Pacific Xtreme Combat                 6
      33        2016                 RCC Boxing Promotions                 6
      33        2016                  Superstar Fight (China)              6
      33        2016                       Thunder Fight                   6
      33        2016               Titan Fighting Championship              6
      42        2016        Abu Dhabi Warriors Fighting Championship       5
      42        2016                California Xtreme Fighting              5
      42        2016                    Combate Americas                   5
      42        2016                    Driller Promotions                 5
      42        2016                   Fight Exclusive Night               5
      42        2016           Hard Knocks Fighting Championship           5
      42        2016                      Hardrock MMA                     5
      42        2016              Kansas City Fighting Alliance            5
      42        2016                  Mr. Cage Championship                5
      42        2016                Top Fighting Championship              5
      52        2016             Alpha One Sports Media Group              4
      52        2016                  Ansgar Fighting League               4
      52        2016                          BAMMA                        4
      52        2016                  British Challenge MMA                4
      52        2016            Bullets Fly Fighting Championship          4
      52        2016                           Cage                        4
      52        2016                  California Fight League              4

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                    Events
      52        2016                      Full Metal Dojo                  4
      52        2016                 Fusion Fight Night Series             4
      52        2016                  Global Proving Ground                4
      52        2016                Imortal Fight Championship             4
      52        2016                         Industrials                   4
      52        2016                 Konfrontacja Sztuk Walki              4
      52        2016               Predador Fight Championship             4
      52        2016                   Real Xtreme Fighting                4
      52        2016                      Ring of Combat                   4
      52        2016                 Rizin Fighting Federation             4
      52        2016                    Tachi Palace Fights                4
      52        2016                       Unified MMA                     4
      52        2016          Xcessive Force Fighting Championship         4
      52        2016                  Xtreme Fighters Latino               4
      73        2016                    Art of War (China)                 3
      73        2016            Australian Fighting Championship           3
      73        2016                          BH Fight                     3
      73        2016           Chosen Few Fighting Championships           3
      73        2016                 Conflict MMA Promotions               3
      73        2016                          Fight On                     3
      73        2016                          Fight Star                   3
      73        2016                  Full Contact Contender               3
      73        2016                Fury Fighting Championship             3
      73        2016                  Gladiator Fighting Arena             3
      73        2016                     Global Knockout                   3
      73        2016                      Hex Fight Series                 3
      73        2016                  Horsepower Promotions                3
      73        2016                     Made 4 The Cage                   3
      73        2016                  Pinnacle Combat MMA                  3
      73        2016              Premier Fighting Championship            3
      73        2016             Singapore Fighting Championship           3
      73        2016          Universal Reality Combat Championship        3
      73        2016            US Freedom Fighter Championship            3
      73        2016            West Coast Fighting Championship           3
      73        2016          World Fighting Championships (Nevada)        3
      73        2016               Xtreme Fighting Organization            3
      95        2016                    1Â° Round Combat                   2
      95        2016               A&A Fight Time Promotions               2
      95        2016             Absolute Fighting Championship            2
      95        2016                        Action Fight                   2
      95        2016                    Aggression Session                 2
      95        2016                      BAMMA USA                        2
      95        2016                 Brave Combat Federation               2
      95        2016              Carnage in the Cage (Australia)          2
      95        2016                      Celtic Gladiator                 2
      95        2016                     Combate Extremo                   2

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                   Events
       95       2016                        Fatality Arena                 2
       95       2016                German MMA Championship                2
       95       2016                       Gladiator (Japan)               2
       95       2016                    Gladiators of the Cage             2
       95       2016                             Heat                      2
       95       2016                 Hit Fighting Championship             2
       95       2016                         Hugs Combat                   2
       95       2016                    Midwest Fight Series               2
       95       2016                      MMA Fight Series                 2
       95       2016             Night of Warriors (Czech Republic)        2
       95       2016                        Prime Fighting                 2
       95       2016                  Real Fight Championship              2
       95       2016            Redemption Fighting Championship           2
       95       2016              Superior Fighting Championship           2
       95       2016               Tanko Fighting Championships            2
       95       2016                     The Warriors Cage                 2
       95       2016                   Tru-Form Entertainment              2
       95       2016                   United Combat League                2
       95       2016                       Vale Tudo Japan                 2
       95       2016                  War of Champions MMA                 2
       95       2016                Warrior Xtreme Cagefighting            2
       95       2016                  Watch Out Combat Show                2
       95       2016                WSOF Global Championship               2
       95       2016                         Z Promotions                  2
      129       2016                         Battle Events                 1
      129       2016                     Battleground MMA                  1
      129       2016                        Blufight MMA                   1
      129       2016            Elite Fighting Championship Marica         1
      129       2016                   Elite Warrior Challenge             1
      129       2016                  Empire Sports Marketing              1
      129       2016                     European Beatdown                 1
      129       2016                European Fighting Challenge            1
      129       2016                     Extreme Challenge                 1
      129       2016                         Fight 2 Night                 1
      129       2016                   Fight Night at the Island           1
      129       2016                  Fightspirit Championship             1
      129       2016                    Fresquez Productions               1
      129       2016                        House of Fame                  1
      129       2016        International Caucasian Fight Championship     1
      129       2016                    La Familia Fight Club              1
      129       2016                         League S-70                   1
      129       2016                 Legend King Championship              1
      129       2016                    Malscher Fight Night               1
      129       2016                         MMA Cartel                    1
      129       2016          North American Fighting Championship         1
      129       2016               Oklahoma Charity Fight Night            1

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  Events of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                        Promoter                     Events
      129       2016                  Premier Cage Fighting                1
      129       2016                     Qualify Combat                    1
      129       2016              Rebel Fighting Championship              1
      129       2016                 Revolution Cage Combat                1
      129       2016               Rumble World Entertainment              1
      129       2016                Scandinavian Fight Nights              1
      129       2016                       Smash Fight                     1
      129       2016            Strength and Honor Championship            1
      129       2016             Sunkin International Fight Club           1
      129       2016                   Superior Challenge                  1
      129       2016            The King of Jungle Championship            1
      129       2016                  The Warriors Combat                  1
      129       2016                TKO Major League MMA                   1
      129       2016             Venator Fighting Championship             1
      129       2016                 Viva Nicaragua Canal 13               1
      129       2016                        WR Fight                       1




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                                   Appendix E

  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                       Bouts
       1        2011                     King of the Cage                    408
       2        2011                           Deep                          332
       3        2011             Ultimate Fighting Championship              300
       4        2011                         Pancrase                        252
       5        2011           North American Allied Fight Series            239
       6        2011                        M-1 Global                       225
       7        2011                      Bellator MMA                       214
       8        2011                   Gladiator Challenge                   207
       9        2011                          Shooto                         195
      10        2011                        Strikeforce                      159
      11        2011                    Extreme Challenge                    115
      12        2011              Alaska Fighting Championship                98
      13        2011                Ultimate Challenge MMA                    95
      14        2011          Cage Warriors Fighting Championship             91
      15        2011                        100% Fight                        89
      15        2011                     Rage in the Cage                     89
      17        2011                 Battlefield Fight League                 86
      18        2011           Xtreme Fighting League (Oklahoma)              84
      19        2011                     Ring of Combat                       79
      20        2011                       Shark Fights                       78
      21        2011                       Jungle Fight                       77
      22        2011               Modern Fighting Pankration                 73
      23        2011                       MAXFIGHT                          70
      24        2011                  Rumble on the Ridge                    67
      25        2011                 Freestyle Cage Fighting                 65
      25        2011                 Watch Out Combat Show                   65
      27        2011                     Shooto Americas                     61
      28        2011            Cage Fury Fighting Championships             60
      28        2011             National Fighting Championship              60
      30        2011                  Cage Fighting Xtreme                   58
      31        2011                       Combat USA                        57
      32        2011                   Global Fight League                   54
      32        2011                Seconds Out/Vivid MMA                    54
      32        2011              Ultimate Cage Championships                54
      35        2011                Fight Night Entertainment                53
      36        2011            Legends of Fighting Championship             52
      37        2011                        Fight King                       51
      37        2011              Titan Fighting Championship                51
      39        2011                     Cage Contender                      50
      39        2011                        CageSport                        50
      39        2011               Fighting Marcou Challenge                 50
      39        2011          Legacy Fighting Championship (Texas)           50
      43        2011                         BAMMA                           49


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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                      Bouts
      44        2011               Midwest Cage Championship                 48
      44        2011             Olympian MMA Championships                  48
      44        2011                       Ringside MMA                      48
      44        2011                    Rumble in the Cage                   48
      48        2011                         Fight to Win                    47
      49        2011                  Back Alley Promotions                  45
      50        2011                    Tachi Palace Fights                  44
      51        2011                          C3 Fights                      43
      51        2011                Supremacy Fight Challenge                43
      53        2011             Classic Entertainment and Sports            41
      53        2011                  Fight Time Promotions                  41
      53        2011               Road Fighting Championship                41
      53        2011                      Sprawl N Brawl                     41
      57        2011                            Dream                        40
      57        2011               Xtreme Fighting Organization              40
      59        2011             Championship Fighting Alliance              39
      60        2011                         Wreck MMA                       38
      61        2011                 Elite 1 MMA Productions                 37
      62        2011            10th Legion Championship Fighting            34
      62        2011                    Colosseum Combat                     34
      62        2011             Maximum Fighting Championship               34
      62        2011                X-1 World Events (Hawaii)                34
      66        2011          Cage Fighting Championship (Australia)         32
      66        2011                 Konfrontacja Sztuk Walki                32
      66        2011                     Showdown Fights                     32
      66        2011                     The Warriors Cage                   32
      70        2011           Armageddon Fighting Championships             31
      70        2011              Premier Fighting Championship              31
      70        2011                       Psychout MMA                      31
      73        2011              Bobish's Ultimate Cage Battles             30
      73        2011                     Hoosier Fight Club                  30
      73        2011             Pancrase Fighting Championship              30
      76        2011                         Nitro MMA                       29
      76        2011                        The Cage Inc.                    29
      78        2011                         Carelia Fight                   28
      78        2011                          SportFight                     28
      80        2011                     Aggression MMA                      27
      80        2011                        Instinct MMA                     27
      80        2011                  Superior Cage Combat                   27
      83        2011                             Heat                        26
      83        2011                   Score Fighting Series                 26
      83        2011                Win Fight & Entertainment                26
      86        2011                         League S-70                     25
      86        2011               Real Fighting Championships               25
      86        2011                  World Extreme Fighting                 25
      86        2011                    Xplode Fight Series                  25

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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                       Bouts
       90       2011                  Cage Fighting Manitoba                 24
       91       2011            Desert Rage Full Contact Fighting            23
       91       2011                       Fight Festival                    23
       91       2011                        Ring of Fire                     23
       94       2011          North American Fighting Championship           22
       95       2011           Chicago Cagefighting Championship             21
       96       2011                      Bitetti Combat                     20
       96       2011                  Mr. Cage Championship                  20
       96       2011                   Panama Fight League                   20
       96       2011                  Raxx Ultimate Fighting                 20
       96       2011              Recife Fighting Championship               20
      101       2011               Centurion Mixed Martial Arts              19
      101       2011                       Desert Force                      19
      101       2011             Prestige Fighting Championship              19
      101       2011                          ProElite                       19
      105       2011            Australian Fighting Championship             18
      105       2011                  Capital City Cage Wars                 18
      105       2011                      Crowbar MMA                        18
      105       2011                      Island Rumble                      18
      105       2011                       Raging Wolf                       18
      110       2011                       Face to Face                      17
      110       2011               Martinez Brothers Production              17
      110       2011              Trilogy Championship Fighting              17
      110       2011            World Championship Full Contact              17
      110       2011             Xtreme Fighting Championships               17
      115       2011             Brazilian Fighting Championship             16
      115       2011             Caribbean Ultimate Fist Fighting            16
      115       2011                    Extreme Beatdown                     16
      115       2011                          Grabaka                        16
      115       2011                      PA Cage Fight                      16
      115       2011               Pure Fighting Championships               16
      121       2011                    Fight for Wrestling                  15
      121       2011                     Gruesome MMA                        15
      123       2011                   Fresquez Productions                  14
      123       2011                        MEZ Sports                       14
      123       2011                      Noc Gladijatora                    14
      126       2011                     Showtime Fights                     13
      127       2011                           Glory                         12
      127       2011                      Golden Combat                      12
      127       2011            Strength and Honor Championship              12
      127       2011                     Warrior-1 MMA                       12
      131       2011                    Bully's Fight Night                  11
      131       2011            Full Force Fighting Championships            11
      131       2011              Gladiator Productions (Illinois)           11
      131       2011              Resurrection Fighting Alliance             11
      131       2011                    Superior Challenge                   11

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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                        Promoter                        Bouts
      136       2011                 Amazon Forest Combat                     10
      136       2011                  Coliseu Extreme Fight                   10
      136       2011                      G-Force Fights                      10
      136       2011           International Fighter Championship             10
      136       2011                     Minotauro Fights                     10
      136       2011                  MMA Against Dengue                      10
      136       2011                      MMA Fight Pit                       10
      136       2011                    One Championship                      10
      136       2011                     Shamrock Events                      10
      136       2011              World Championship Fighting                 10
      146       2011             Clube da Luta (Rio de Janeiro)                9
      146       2011                      Cowboy MMA                          9
      146       2011                      Fighters Arena                       9
      146       2011                 Full Contact Promotions                   9
      146       2011                    Harrah Fight Night                     9
      146       2011                       SportFight X                       9
      146       2011                   Victory Promotions                     9
      146       2011              Vision Fighting Championship                9
      154       2011           Apocalypse Fighting Championship               8
      154       2011                   CA Fight Syndicate                     8
      154       2011                   Texas Cage Fighting                    8
      157       2011                  Griggs Entertainment                    7
      157       2011                     Hero's the Jungle                    7
      157       2011               Jones Entertainment Group                   7
      157       2011                       MMA Attack                         7
      157       2011                    Samurai Pro Sports                    7
      157       2011                 Slammer in the Hammer                    7
      157       2011                Ultimate Warrior Fighting                 7
      157       2011             Urban Conflict Championships                 7
      165       2011               Chekhov MMA Tournament                     6
      165       2011                  Hess Extreme Fighting                   6
      167       2011                       Cage Fighters                      5
      167       2011                 North Idaho Fight Night                  5
      167       2011                 Premier Combat League                    5
      170       2011                        Fight Tour                        4
      170       2011                        Scrap Live                        4
      170       2011                     Subzero Fighting                     4
      173       2011           Caged Steel Fighting Championships             3
      174       2011                    Bilic-Eric Security                   2
      174       2011                      The Best MMA                        2
       1        2012                     King of the Cage                    446
       2        2012            Ultimate Fighting Championship               341
       3        2012                           Deep                          255
       4        2012                      Bellator MMA                       240
       5        2012                         Pancrase                        219
       6        2012                        M-1 Global                       200

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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                         Promoter                       Bouts
       6        2012                   Xplode Fight Series                   200
       8        2012                          Shooto                         198
       9        2012                   Gladiator Challenge                   184
      10        2012           North American Allied Fight Series            170
      11        2012          Cage Warriors Fighting Championship            148
      12        2012                    Driller Promotions                   138
      13        2012                        100% Fight                       113
      14        2012                  Cage Fighting Xtreme                   107
      15        2012                    Brutaal Fight Night                  105
      16        2012                    Disorderly Conduct                   102
      17        2012                    Extreme Challenge                     99
      18        2012                       Jungle Fight                      98
      19        2012              Alaska Fighting Championship               94
      19        2012                    Super Fight League                   94
      21        2012                Ultimate Challenge MMA                    91
      22        2012                   New England Fights                    87
      23        2012                   MMA Total Combat                      80
      23        2012                     Shooto Americas                     80
      25        2012          Legacy Fighting Championship (Texas)            79
      26        2012            Aggression Fighting Championship             78
      27        2012                      Ring of Combat                     76
      28        2012                           Rings                         75
      29        2012           Xtreme Fighting League (Oklahoma)              67
      30        2012             Xtreme Fighting Championships                63
      31        2012                       Fight to Win                      62
      31        2012                     Rage in the Cage                     62
      31        2012               Road Fighting Championship                62
      34        2012             Classic Entertainment and Sports             61
      35        2012            Cage Fury Fighting Championships              60
      36        2012              Midwest Cage Championship                   59
      36        2012                Watch Out Combat Show                     59
      38        2012                     Hardrock MMA                        57
      39        2012                 Pacific Xtreme Combat                    55
      39        2012              Resurrection Fighting Alliance              55
      41        2012                     Cage Contender                       54
      41        2012               Modern Fighting Pankration                 54
      43        2012                  Fight Time Promotions                   50
      43        2012              Fusion Fighting Championship                50
      43        2012                    One Championship                      50
      46        2012                    Hoosier Fight Club                    48
      47        2012                   Dragon House MMA                      47
      48        2012                        Strikeforce                       45
      49        2012             Championship Fighting Alliance               44
      49        2012                           Draka                         44
      49        2012              Native Fighting Championship                44
      52        2012                   Coalition of Combat                    43

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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                      Bouts
      53        2012                    Score Fighting Series                42
      54        2012                        BAMMA USA                        41
      54        2012                     Fight Nights Global                 41
      56        2012              Legend Fighting Championship               40
      56        2012                      Showdown Fights                    40
      56        2012                     Tachi Palace Fights                 40
      56        2012                        Total Mayhem                     40
      60        2012            10th Legion Championship Fighting            39
      61        2012              National Fighting Championship             37
      61        2012               Ultimate Cage Championships               37
      63        2012                     Colosseum Combat                    36
      64        2012                          BAMMA                          35
      64        2012                         MAXFIGHT                        35
      66        2012             Maximum Fighting Championship               34
      67        2012                          C3 Fights                      33
      67        2012                Complete Devastation MMA                 33
      69        2012                         Arena Fight                     32
      69        2012            Legends of Fighting Championship             32
      71        2012                        Fight Club OC                    31
      72        2012                  King of the Cage Canada                30
      73        2012                   Coliseu Extreme Fight                 29
      73        2012               Dubai Fighting Championship               29
      75        2012                 Konfrontacja Sztuk Walki                28
      75        2012              Victory Fighting Championship              28
      77        2012                   Back Alley Promotions                 26
      77        2012                        Instinct MMA                     26
      77        2012               Xtreme Fighting Organization              26
      80        2012                    3 River Throwdown                    25
      80        2012                    K-Oz Entertainment                   25
      80        2012                     Samurai Pro Sports                  25
      80        2012             Strength and Honor Championship             25
      80        2012                 Ultimate Warrior Fighting               25
      85        2012                      Iron Fight Combat                  24
      85        2012                  Too Much Talent MMA                    24
      87        2012            World War Fighting Championship              23
      88        2012                       Shamrock Events                   21
      88        2012                        Shogun Fights                    21
      88        2012                         Wreck MMA                       21
      91        2012                   Brazilian King Fighter                19
      91        2012              Worldwide Mixed Martial Arts               19
      93        2012                  Best of the Best (Brazil)              18
      93        2012                  No Love Entertainment                  18
      95        2012          Cage Fighting Championship (Australia)         17
      95        2012                      Conviction MMA                     17
      95        2012                 Proud Warrior Productions               17
      95        2012               Rogue Warrior Championships               17

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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                      Bouts
       99       2012            Australian Fighting Championship             16
       99       2012                   Cage Championships                    16
       99       2012                       Cage Gladiator                    16
       99       2012             Flawless Fighting Championship              16
       99       2012                  Pinnacle Combat MMA                    16
       99       2012                      Pure MMA LLC                       16
       99       2012              Real Fighting Championships                16
       99       2012                    Rumble in the Cage                   16
       99       2012                          ShoFight                       16
      108       2012                           Grabaka                       15
      109       2012          Cage Combat Fighting Championships             14
      109       2012             Prestige Fighting Championship              14
      109       2012                 Tommy Tran Promotions                   14
      112       2012                        Brasil Fight                     12
      112       2012         Hard Fight Championship (Mato Grosso)           12
      112       2012                        Ring of Fire                     12
      112       2012                    Superior Challenge                   12
      116       2012                         Indy MMA                        11
      116       2012                       Made For War                      11
      116       2012                   Triple X Cagefighting                 11
      116       2012                Ultimate Warrior Challenge               11
      120       2012                            Glory                        10
      120       2012            Lights Out Promotions (California)           10
      120       2012                        MMA Attack                       10
      120       2012                           ProElite                      10
      120       2012                   Reality Cage Combat                   10
      120       2012                 World Series of Fighting                10
      126       2012        Abu Dhabi Warriors Fighting Championship          9
      126       2012                     Aggression MMA                       9
      126       2012                  Amazon Forest Combat                    9
      126       2012                     Boa Vista Combat                     9
      126       2012               Champion Pro MMA Fights                    9
      126       2012         Extreme Fighters World Championships             9
      126       2012                  MMA Against Dengue                      9
      126       2012               Serbian Battle Championship                9
      126       2012                         SportFight                       9
      135       2012             Brazilian Fighting Championship              8
      135       2012                        Carelia Fight                     8
      135       2012                 Colosseum Sports MMA                     8
      135       2012                            Dream                         8
      135       2012                   Gladiator Promotions                   8
      135       2012                 Renaissance Fight Night                  8
      135       2012                     Vale Tudo Japan                      8
      135       2012             Warfare Fighting Championships               8
      135       2012                       Warrior Fight                      8
      144       2012                 Combat Sports Challenge                  7

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  Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
  Source: Sherdog. See Backup to Table 1.
     Rank       Year                          Promoter                      Bouts
      144       2012                       Fight Festival                     7
      144       2012           International Fighting Championship            7
      144       2012                      Noc Gladiatora                       7
      144       2012               Rumble World Entertainment                  7
      144       2012                  Superior Cage Combat                     7
      150       2012              Undisputed Combat Challenge                  6
      151       2012                        Baltic Fights                      5
      151       2012                       Freedom Fight                       5
      151       2012                        MMA Rocks                         5
      151       2012                Vologda Martial Arts Union                 5
      155       2012                 Inoki Genome Federation                   4
      155       2012                      MMA Nemesis                         4
      155       2012                   United Combat Sports                    4
      158       2012                   Griggs Entertainment                    3
      159       2012               Cage Warrior Combat (Texas)                 2
      159       2012                  Evolution Fight League                  2
      161       2012                         Fury Fights                      1
        1       2013                      Oplot Challenge                    524
        2       2013                     King of the Cage                    444
        3       2013             Ultimate Fighting Championship              386
        4       2013                            Shooto                       324
        5       2013                    Super Fight League                   314
        6       2013                           Pancrase                      279
        7       2013                       Bellator MMA                      270
        8       2013                             Deep                        263
        9       2013                    Gladiator Challenge                  217
       10       2013                    Xplode Fight Series                  210
       11       2013          Cage Warriors Fighting Championship            190
       12       2013                         M-1 Global                      150
       13       2013                         100% Fight                      123
       14       2013                        Jungle Fight                     120
       15       2013                    New England Fights                   113
       16       2013                 Ultimate Challenge MMA                  111
       17       2013          Legacy Fighting Championship (Texas)           102
       17       2013                  Sparta Combat League                   102
       17       2013                    Xtreme Fight Events                  102
       20       2013                     Gladiator (Japan)                   97
       21       2013                 Watch Out Combat Show                    93
       22       2013                        Sparta MMA                        83
       23       2013                     Shooto Americas                      82
       24       2013                       Destiny MMA                        80
       25       2013                    Fight Nights Global                   78
       26       2013              Resurrection Fighting Alliance              75
       27       2013           Xtreme Fighting League (Oklahoma)              73
       28       2013             Gladiator Championship Fighting              72
       29       2013                    One Championship                      70

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
      30         2013             Classic Entertainment and Sports            69
      30         2013               Midwest Cage Championship                 69
      32         2013                        Fight to Win                     68
      33         2013               Road Fighting Championship                65
      34         2013             Xtreme Fighting Championships               63
      35         2013                   Fivestar Fight League                 60
      35         2013           North American Allied Fight Series            60
      35         2013                      Ring of Combat                     60
      38         2013                 World Series of Fighting                59
      39         2013                    Brutaal Fight Night                  58
      39         2013                  Pacific Xtreme Combat                  58
      41         2013                Modern Fighting Pankration               56
      41         2013            Tech-Krep Fighting Championship              56
      43         2013           Aggression Fighting Championship              55
      43         2013              Victory Fighting Championship              55
      45         2013             Championship Fighting Alliance              53
      46         2013                       BAMMA USA                         52
      47         2013           West Coast Fighting Championship              50
      48         2013                  Fight Time Promotions                  46
      48         2013                  Full Contact Contender                 46
      50         2013                     Iron Fight Combat                   44
      51         2013                     Made 4 The Cage                     43
      51         2013             Pinnacle Fighting Championships             43
      53         2013                 King of the Cage Canada                 42
      54         2013                            Cage                         41
      54         2013           Cage Warrior Combat (Washington)              41
      56         2013                        Combat Zone                      39
      57         2013                     Kick Down MMA                       38
      57         2013                        Smash Fight                      38
      59         2013                 Final Fight Championship                37
      60         2013                       Caged Madness                     35
      60         2013                     Extreme Challenge                   35
      60         2013            Shamrock Fighting Championships              35
      63         2013                         BAMMA                           34
      63         2013                            Heat                         34
      63         2013             National Fighting Championship              34
      66         2013               German MMA Championship                   33
      66         2013                  Pinnacle Combat MMA                    33
      68         2013                      Bluegrass Brawl                    31
      68         2013                 Konfrontacja Sztuk Walki                31
      70         2013            Australian Fighting Championship             30
      70         2013                 Elite 1 MMA Productions                 30
      70         2013               Premium Fight Championship                30
      70         2013                     Showdown Fights                     30
      74         2013            Maximum Fighting Championship                28
      75         2013         American Predator Fighting Championships        27

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
       75        2013                    Colosseum Combat                     27
       75        2013                  Dynasty Combat Sports                  27
       75        2013                       Team Nogueira                     27
       79        2013                Challenge MMA (Canada)                   26
       80        2013                    Orthrus Promotions                   24
       80        2013              Predador Fight Championship                24
       80        2013                    The Warriors Cage                    24
       83        2013                           Draka                         23
       83        2013                   Extreme Cage Combat                   23
       83        2013                      Vale Tudo Japan                    23
       86        2013                      Epic Fight Night                   22
       86        2013                   Midwest Fight Series                  22
       88        2013                      Cage Contender                     21
       88        2013                      Hardrock MMA                       21
       88        2013                    Respect in the Cage                  21
       88        2013                     Web Fight Combat                    21
       92        2013                       Combat MMA                        20
       92        2013                        Heat Sports                      20
       92        2013                    Sherman Cage Rage                    20
       92        2013            Strength and Honor Championship              20
       92        2013                  Strike Hard Productions                20
       92        2013                    Tachi Palace Fights                  20
       98        2013               In Ya Face Fight Productions              18
       98        2013              Standout Fighting Tournament               18
       98        2013              Victory Combat Sports (USA)                18
      101        2013                          Grabaka                        17
      101        2013                  Valhalla Cage Fighting                 17
      103        2013                    K-Oz Entertainment                   16
      103        2013             PrizeFight MMA Championships                16
      105        2013              Cage Fighting Xtreme (Mass.)               15
      106        2013                      Celtic Gladiator                   14
      106        2013                       MMAA Arena                        14
      106        2013                 USA Mixed Martial Arts                  14
      109        2013                     Gladiadores MMA                     13
      109        2013                 Limo Fight Championship                 13
      109        2013               Titan Fighting Championship               13
      112        2013                Cage Fight Series (Austria)              12
      112        2013                      High Fight Rock                    12
      112        2013                   Power Fight Extreme                   12
      112        2013              Rebel Fighting Championship                12
      112        2013                    Superior Challenge                   12
      112        2013                Ultimate Warrior Challenge               12
      112        2013                   Velame Fight Combat                   12
      112        2013                         War MMA                         12
      120        2013                    All Powers Combat                    11
      120        2013                 Global Warrior Challenge                11

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
      120        2013                 Inoki Genome Federation                 11
      120        2013                       MMA Attack                        11
      120        2013              Revelation Fight Organization              11
      120        2013                  Rocky Mountain MMA                     11
      120        2013               Rumble World Entertainment                11
      120        2013                 Show Fighting Enterprise                11
      120        2013                         Strikeforce                     11
      129        2013                   Brazilian King Fighter                10
      129        2013                    El Orgullo del Valle                 10
      129        2013                        League S-70                      10
      129        2013                   Madtown Throwdown                     10
      129        2013                 MMA Champions League                    10
      129        2013                         OX MMA                          10
      129        2013             Warfare Fighting Championships              10
      136        2013             Flawless Fighting Championship               9
      136        2013            Lights Out Promotions (California)            9
      136        2013                       Made For War                       9
      136        2013             Midwest Championship Fighting                9
      136        2013                      Ottumwa MMA                         9
      136        2013                        Selva MMA                         9
      136        2013                       Wreck MMA                          9
      143        2013             Canadian Fighting Championship               8
      143        2013                   Coliseum to the Cage                   8
      143        2013              National Fight Alliance MMA                 8
      146        2013              Federation of MMA of Russia                 7
      146        2013                       Fight Festival                     7
      146        2013                 Fight Now Championship                   7
      146        2013                   La Familia Fight Club                  7
      146        2013               Paranagua Extreme Combate                  7
      146        2013                 Richmond Rumble MMA                      7
      146        2013          Ultimate Cage Fighting Championships            7
      146        2013                          U-Spirits                       7
      154        2013               Grand Combat Entertainment                 6
      154        2013                      King Kaz Fight                      6
      154        2013                           Legend                         6
      154        2013                  Michiana Fight League                   6
      154        2013                        Ring of Fire                      6
      154        2013                 Total Fighting Argentina                 6
      154        2013        Xtreme Fighting Championships (Louisiana)         6
      161        2013                Bosnia Fight Championship                 5
      161        2013                  Capital City Cage Wars                  5
      161        2013              Dubai Fighting Championship                 5
      161        2013                   Fight Masters Combat                   5
      161        2013                Union of Veterans of Sport                5
      166        2013                Supremacy Fight Challenge                 4
      166        2013                    Ultra Elite Fighters                  4

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                          Promoter                      Bouts
      168        2013                        Cage Kumite                        3
      168        2013                        Golden Ring                        3
      168        2013                        Into the Cage                      3
       1         2014             Ultimate Fighting Championship              503
       2         2014                     King of the Cage                    339
       3         2014                             Deep                        287
       4         2014                       Bellator MMA                      253
       4         2014                   Xplode Fight Series                   253
       6         2014                           Pancrase                      199
       7         2014          Cage Warriors Fighting Championship            180
       8         2014                            Shooto                       167
       9         2014                         M-1 Global                      155
      10         2014            Cage Fury Fighting Championships             132
      11         2014                Malaysian Invasion MMA                   131
      12         2014                         100% Fight                      117
      12         2014          Legacy Fighting Championship (Texas)           117
      14         2014                      Oplot Challenge                    115
      15         2014              Resurrection Fighting Alliance             114
      15         2014                   Talent MMA Circuit                    114
      17         2014                 World Series of Fighting                110
      18         2014              Road Fighting Championship                 108
      19         2014                    One Championship                     104
      20         2014                    Striker's House Cup                  86
      21         2014             Xtreme Fighting Championships               83
      22         2014                 Battlefield Fight League                78
      23         2014                           Grachan                       76
      24         2014                Final Fight Championship                 74
      25         2014             Alpha One Sports Media Group                71
      26         2014                     Shooto Americas                     70
      27         2014           Hard Knocks Fighting Championship             68
      28         2014           West Coast Fighting Championship              66
      29         2014                    Driller Promotions                   65
      30         2014                          BAMMA                          62
      31         2014                    Fight Nights Global                  61
      32         2014              Titan Fighting Championship                 60
      33         2014             Classic Entertainment and Sports             54
      33         2014                 Pacific Xtreme Combat                    54
      35         2014            Shamrock Fighting Championships               53
      36         2014                  Fight Time Promotions                   51
      36         2014                Ultimate Challenge MMA                    51
      38         2014               Modern Fighting Pankration                 48
      39         2014                      Team Nogueira                       47
      40         2014                 Full Contact Contender                   46
      40         2014                   New England Fights                     46
      40         2014             Victory Fighting Championship                46
      43         2014                             Heat                         43

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
      43         2014                   Nitrix Champion Fight                 43
      45         2014           Caged Steel Fighting Championships            42
      45         2014                    Hoosier Fight Club                   42
      45         2014                    Tachi Palace Fights                  42
      48         2014              Grand Fighting Championship                41
      48         2014                      Xtreme Kombat                      41
      50         2014                           ProFC                         40
      51         2014                     The Hill Fighters                   39
      52         2014                      Rage in the Cage                   38
      53         2014                   Dragon House MMA                      37
      53         2014                        Fight to Win                     37
      53         2014                     Made 4 The Cage                     37
      53         2014               Midwest Cage Championship                 37
      57         2014                Konfrontacja Sztuk Walki                 36
      58         2014                     Arena Tour MMA                      34
      58         2014                    Orthrus Promotions                   34
      58         2014                      Ring of Combat                     34
      58         2014                      Vale Tudo Japan                    34
      62         2014                   Combat Games MMA                      33
      62         2014                        Kunlun Fight                     33
      64         2014                Reto de Campeones MMA                    32
      64         2014                     Showdown Fights                     32
      64         2014                  Square Ring Promotions                 32
      64         2014                       Unified MMA                       32
      68         2014            Australian Fighting Championship             31
      68         2014                   BattleGrounds MMA                     31
      68         2014             National Fighting Championship              31
      68         2014           North American Allied Fight Series            31
      72         2014                    The Warriors Cage                    29
      73         2014                    Fight Night Finland                  28
      73         2014                          Fight Star                     28
      75         2014             Invicta Fighting Championships              27
      76         2014                       Bitetti Combat                    26
      76         2014                 Inoki Genome Federation                 26
      76         2014                       Thunder Fight                     26
      76         2014          World Fighting Championships (Nevada)          26
      80         2014              Dakota Fighting Championship               25
      80         2014            Maximum Fighting Championship                25
      80         2014                    Superior Challenge                   25
      83         2014                 King of the Cage Canada                 24
      84         2014             Absolute Fighting Championship              23
      84         2014           Ranik Ultimate Fighting Federation            23
      84         2014                  Sobral Extreme Fighter                 23
      87         2014            Lights Out Promotions (California)           22
      87         2014                        PROMMAC                          22
      89         2014                  Pinnacle Combat MMA                    21

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                           Promoter                     Bouts
       89        2014                     Rei da Selva Combat                 21
       91        2014                       Grandslam MMA                     20
       91        2014               Prestige Fighting Championship            20
       93        2014             Provincial Fighting Championships           19
       93        2014        Strength & Honour Championship (Belgium)         19
       93        2014                   Sugar Creek Showdown                  19
       96        2014                       Global Knockout                   18
       96        2014                  Limo Fight Championship                18
       98        2014                   All or Nothing (England)              17
       98        2014                      Extreme Beatdown                   17
       98        2014                  Fight Alliance Promotions              17
      101        2014        American Predator Fighting Championships         16
      102        2014                        Minas Combat                     15
      102        2014              Underdog Xtreme Championships              15
      102        2014                    United Combat League                 15
      105        2014              Eurasian Fighting Championship             14
      105        2014                     Octtagon Fight Night                14
      107        2014                 Extreme Combat Challenge                13
      108        2014                              Eiko                       12
      108        2014                     Sao Jose Super Fight                12
      108        2014                        The Victorium                    12
      108        2014             US Freedom Fighter Championship             12
      112        2014                         Battle of Stars                 11
      112        2014                      Colosseum Combat                   11
      112        2014                           MMA 300                       11
      112        2014                  Pheasant City Fight Night              11
      112        2014                 X-1 World Events (Hawaii)               11
      117        2014                Fighten MMA Championship                 10
      117        2014                          League S-70                    10
      117        2014                National Fight Alliance MMA              10
      117        2014              Warfare Fighting Championships             10
      121        2014                     Battle for the Border                9
      121        2014                           C3 Fights                      9
      121        2014        Gladiators Fighting Championship (Kuwait)         9
      121        2014                        MMAA Arena                        9
      121        2014                Rebel Fighting Championship               9
      126        2014                    Big Dawg Promotions                   8
      126        2014              Brazilian Fighting Championship             8
      126        2014               Pacific Rim Organized Fighting             8
      126        2014                     Roraima Show Fight                   8
      126        2014                Warrior Xtreme Cagefighting               8
      131        2014                          Baltic Fights                   7
      131        2014            Europa MMA Fighting Championship              7
      131        2014          International Association Diamond Fight         7
      134        2014                      Extreme Challenge                   6
      134        2014                  Jason Fight Championship                6

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
      136        2014                    Arena Fight Combat                     5
      136        2014                    Iron Man Vale Tudo                     5
      136        2014                Vengeance Fighting Alliance                5
      136        2014                Win Combat Championship                    5
      140        2014              General Fighting Championship                2
      141        2014                     Pride & Pain MMA                     1
        1        2015              Ultimate Fighting Championship             473
        2        2015                      King of the Cage                   419
        3        2015                          Pancrase                       232
        4        2015                       Bellator MMA                      203
        5        2015                            Deep                         194
       6         2015                           Shooto                        182
        6        2015           World Fighting Championship Akhmat            182
        8        2015                     Fight Nights Global                 155
        9        2015           Legacy Fighting Championship (Texas)          145
       10        2015                         M-1 Global                      128
       11        2015               Resurrection Fighting Alliance            125
       12        2015          Extreme Fighting Championship (Africa)         118
       13        2015                    SteelFist Fight Night                115
      14         2015                 Ultimate Challenge MMA                  105
      15         2015                    New England Fights                   104
      16         2015                     One Championship                    103
      17         2015               Road Fighting Championship                100
      18         2015                  World Series of Fighting                98
      19         2015                         Alash Pride                      95
      20         2015                           Grachan                        89
      21         2015             Cage Fury Fighting Championships             88
      22         2015                  British Challenge MMA                   85
      23         2015             Shamrock Fighting Championships              84
      24         2015                      Shooto Americas                     83
      24         2015                   Sparta Combat League                   83
      26         2015                          BAMMA                          78
      26         2015            Cage Titans Fighting Championship             78
      28         2015             Tech-Krep Fighting Championship              76
      29         2015                        Kunlun Fight                     75
      30         2015                        Eternal MMA                      72
      31         2015            Hard Knocks Fighting Championship            71
      32         2015                Top Fighting Championship                70
      33         2015                    Rock's Xtreme MMA                    68
      34         2015                     Super Fight League                  66
      35         2015                Modern Fighting Pankration               64
      36         2015                        Fight to Win                     60
      37         2015                        Fury Fighting                    58
      38         2015                      Calvo Promotions                   54
      38         2015              Classic Entertainment and Sports            54
      40         2015              Victory Fighting Championship              53

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
      41         2015                  Back Alley Promotions                  52
      41         2015                  Pacific Xtreme Combat                  52
      43         2015                      Oplot Challenge                    51
      44         2015                  Dynasty Combat Sports                  49
      44         2015                           WBK                           49
      46         2015                International Combat Elite               48
      47         2015               Midwest Cage Championship                 47
      47         2015                Octagon Fighting Sensation               47
      49         2015                 Mr. Cage Championship                   46
      49         2015             Venator Fighting Championship               46
      51         2015                   Gladiators of the Cage                45
      51         2015                   New Corpore Extreme                   45
      51         2015                      Ring of Combat                     45
      54         2015             Xtreme Fighting Championships               44
      55         2015                     Made 4 The Cage                     43
      56         2015                    Tachi Palace Fights                  42
      57         2015                      BAMMA USA                          41
      57         2015                  Fight Time Promotions                  41
      57         2015                         Max Fight                       41
      60         2015                        ExciteFight                      40
      60         2015                  Pinnacle Combat MMA                    40
      62         2015                     Grandslam MMA                       39
      63         2015                      Brace For War                      38
      64         2015                   Dragon House MMA                      37
      64         2015            Strike Off Fighting Championship             37
      66         2015                           Cage                          36
      66         2015               Titan Fighting Championship               36
      66         2015                 War of Champions MMA                    36
      69         2015            Australian Fighting Championship             35
      69         2015                Konfrontacja Sztuk Walki                 35
      71         2015                     Arena Tour MMA                      34
      71         2015                         BH Fight                        34
      71         2015           Chosen Few Fighting Championships             34
      71         2015                Final Fight Championship                 34
      71         2015                     Hex Fight Series                    34
      71         2015             Invicta Fighting Championships              34
      71         2015                       Unified MMA                       34
      71         2015            West Coast Fighting Championship             34
      79         2015                Limo Fight Championship                  33
      80         2015                   Fight Exclusive Night                 32
      80         2015            Lights Out Promotions (California)           32
      82         2015               Imortal Fight Championship                31
      82         2015                     Vale Tudo Japan                     31
      84         2015                   Fight Club Promotion                  29
      84         2015                    Mosley Showdown                      29
      84         2015                    Phoenix Fight Night                  29

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                        Promoter                        Bouts
       84        2015                     Rage in the Cage                    29
       84        2015     World Cagefighting Championships (Pennsylvania)     29
       84        2015              Xtreme Fighting Organization               29
       90        2015              Hero Fighting Championship                 28
       91        2015                 Global Proving Ground                   27
       91        2015                    Hoosier Fight Club                   27
       91        2015              Rumble World Entertainment                 27
       94        2015                       Face to Face                      26
       95        2015             Alpha One Sports Media Group                25
       96        2015             Dakota Fighting Championship                24
       96        2015                    Front Street Fights                  24
       96        2015             Jeremy Horn's Elite Fight Night             24
       96        2015                   Max Fights (Mexico)                   24
       96        2015              Warrior Xtreme Cagefighting                24
      101        2015                Rizin Fighting Federation                23
      101        2015                       Twins MMA                         23
      103        2015       Abu Dhabi Warriors Fighting Championship          22
      103        2015           Caged Steel Fighting Championships            22
      103        2015                 Sugar Creek Showdown                    22
      103        2015                   Warrior Fight Series                  22
      107        2015                  Next Level Fight Club                  21
      107        2015          Xcessive Force Fighting Championship           21
      109        2015                       Bradar Fight                      20
      109        2015                  Jackson's MMA Series                   20
      109        2015                    The Warriors Cage                    20
      109        2015         World Fighting Championships (Nevada)           20
      113        2015                         C3 Fights                       19
      113        2015         Universal Reality Combat Championship           19
      115        2015               Conflict MMA Promotions                   18
      115        2015             Warrior Championship Fighting               18
      117        2015                      AXS TV Fights                      17
      117        2015                    Driller Promotions                   17
      117        2015             National Fighting Championship              17
      117        2015              Slam Fighting Championship                 17
      117        2015                 United Combat League                    17
      122        2015                        Title Quest                      16
      123        2015                     Rings of Dreams                     15
      124        2015                    Curitiba Top Fight                   14
      124        2015                   Frontline Fight Series                14
      124        2015                Inoki Genome Federation                  14
      124        2015                    MMA Fight Series                     14
      124        2015                   Xtreme Fighting Inc.                  14
      129        2015                       Action Fight                      13
      129        2015                          Fightor                        13
      129        2015                  Macto Championships                    13
      132        2015                 Freestyle Cage Fighting                 12

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                           Promoter                     Bouts
      132        2015                       Iron Fight Combat                  12
      132        2015              Jash-Kuch Fighting Championship             12
      132        2015               Pacific Rim Organized Fighting             12
      136        2015               Premier Fighting Championship              11
      136        2015                      Superior Challenge                  11
      138        2015                          Capital Fight                   10
      138        2015                  Hit Fighting Championship               10
      138        2015                          League S-70                     10
      138        2015                      Prestige Fight Club                 10
      138        2015             The Proving Grounds (Philippines)            10
      138        2015                           WR Fight                       10
      138        2015                 WSOF Global Championship                 10
      145        2015                    Bush Cree Promotions                   9
      145        2015                 International Fighting MMA               9
      145        2015                         Legend Fights                    9
      145        2015           North American Fighting Championship            9
      145        2015                         Smash Global                     9
      150        2015                    Absolute Cage Fighting                8
      150        2015                        Battle of Botnia                  8
      150        2015                   Eco Fight Championship                 8
      150        2015                       Juiz de Fora Fight                 8
      150        2015                Rebel Fighting Championship               8
      155        2015                  Gladiator MMA (Missouri)                7
      156        2015                   Viva Nicaragua Canal 13                6
      157        2015                 Bosnia Fight Championship                5
      157        2015                 Champion Pro MMA Fights                  5
      157        2015                   Fightspirit Championship               5
      157        2015                   Fusion Fight Night Series              5
      157        2015                    Horsepower Promotions                 5
      162        2015                          Huawu Fight                     3
      162        2015                       Mix Fight Combat                   3
      164        2015            South Georgia Fighting Championship            2
      164        2015                 Zhong Wu Ultimate Fighting               2
      166        2015         International Sport Kickboxing Association        1
        1        2016               Ultimate Fighting Championship            493
        2        2016                        King of the Cage                 441
        3        2016                Absolute Championship Berkut             312
        4        2016                         Bellator MMA                    259
        5        2016           World Fighting Championship Akhmat            242
        6        2016                      Gladiator Challenge                231
        7        2016                              Deep                       204
        8        2016                            Pancrase                     198
        9        2016                             Shooto                      195
       10        2016                Aspera Fighting Championship             178
       11        2016                      Fight Nights Global                176
       12        2016           Legacy Fighting Championship (Texas)          171

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
      13         2016                         M-1 Global                      158
      13         2016                     One Championship                    158
      15         2016              Resurrection Fighting Alliance             152
      16         2016      We Love MMA (Free Fight Association Germany)       114
      17         2016                          Grachan                        111
      17         2016                       Shooto Europe                     111
      19         2016         Extreme Fighting Championship (Africa)          107
      20         2016              Victory Fighting Championship              100
      21         2016                        Thunder Fight                    93
      22         2016               Road Fighting Championship                90
      23         2016             Classic Entertainment and Sports             88
      23         2016            Shamrock Fighting Championships              88
      25         2016                      Shooto Americas                    85
      26         2016            Cage Fury Fighting Championships             82
      26         2016                  World Series of Fighting               82
      28         2016          Cage Warriors Fighting Championship             78
      29         2016               Professional League of MMA                76
      30         2016                             Zst                         74
      31         2016                 World Fighting Federation               64
      32         2016                Top Fighting Championship                61
      33         2016                        Kunlun Fight                     58
      34         2016               Titan Fighting Championship               57
      35         2016                Imortal Fight Championship               56
      36         2016                  Mr. Cage Championship                  55
      37         2016                          BAMMA                          54
      38         2016                     Combate Americas                    50
      39         2016                          BH Fight                       49
      39         2016                            WBK                          49
      41         2016                  British Challenge MMA                  48
      41         2016             Invicta Fighting Championships              48
      43         2016                 California Xtreme Fighting              47
      43         2016                  Fight Time Promotions                  47
      43         2016           Hard Knocks Fighting Championship             47
      46         2016                  Pacific Xtreme Combat                  45
      46         2016                 Rizin Fighting Federation               45
      46         2016                 Watch Out Combat Show                   45
      49         2016                  Full Contact Contender                 43
      50         2016             Alpha One Sports Media Group                41
      50         2016                       Ring of Combat                    41
      52         2016                  California Fight League                39
      52         2016                   Real Xtreme Fighting                  39
      54         2016                  Ansgar Fighting League                 38
      54         2016                      Full Metal Dojo                    38
      56         2016                   Fight Exclusive Night                 37
      57         2016                      Hex Fight Series                   36
      58         2016                 Konfrontacja Sztuk Walki                35

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                         Promoter                       Bouts
       58        2016                      Unified MMA                        35
       58        2016            West Coast Fighting Championship             35
       61        2016                    Tachi Palace Fights                  34
       61        2016              Xtreme Fighting Organization               34
       63        2016                Final Fight Championship                 33
       64        2016                  Xtreme Fighters Latino                 32
       65        2016           Chosen Few Fighting Championships             31
       65        2016              Fury Fighting Championship                 31
       67        2016            Australian Fighting Championship             30
       68        2016        Abu Dhabi Warriors Fighting Championship         29
       68        2016                        Action Fight                     29
       68        2016                          Fight On                       29
       71        2016                    Art of War (China)                   28
       71        2016             Carnage in the Cage (Australia)             28
       71        2016                     Gladiator (Japan)                   28
       71        2016                 Gladiator Fighting Arena                28
       71        2016             Premier Fighting Championship               28
       76        2016                     Global Knockout                     27
       76        2016                      Hardrock MMA                       27
       76        2016              Predador Fight Championship                27
       76        2016                   The Ultimate Fighter                  27
       80        2016                            Cage                         26
       80        2016              German MMA Championship                    26
       80        2016          Xcessive Force Fighting Championship           26
       83        2016                    1Â° Round Combat                     23
       83        2016                         Industrials                     23
       83        2016                Real Fight Championship                  23
       83        2016           Redemption Fighting Championship              23
       87        2016         Universal Reality Combat Championship           22
       88        2016               Hit Fighting Championship                 21
       88        2016                     Made 4 The Cage                     21
       90        2016                Brave Combat Federation                  20
       90        2016                       Fatality Arena                    20
       90        2016                   Midwest Fight Series                  20
       90        2016                 RCC Boxing Promotions                   20
       90        2016             Superior Fighting Championship              20
       90        2016                     Vale Tudo Japan                     20
       90        2016              WSOF Global Championship                   20
       97        2016                    The Warriors Cage                    19
       98        2016                  Gladiators of the Cage                 18
       98        2016             Venator Fighting Championship               18
      100        2016             Absolute Fighting Championship              17
      100        2016            Bullets Fly Fighting Championship            17
      100        2016                    European Beatdown                    17
      100        2016                 Horsepower Promotions                   17
      100        2016                 Pinnacle Combat MMA                     17

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                          Promoter                      Bouts
      100        2016                  War of Champions MMA                   17
      100        2016                Warrior Xtreme Cagefighting              17
      100        2016          World Fighting Championships (Nevada)          17
      108        2016                      Driller Promotions                 16
      108        2016                   Global Proving Ground                 16
      108        2016                        Prime Fighting                   16
      108        2016                   United Combat League                  16
      108        2016                         Z Promotions                    16
      113        2016                  Empire Sports Marketing                15
      113        2016               Kansas City Fighting Alliance             15
      113        2016                      MMA Fight Series                   15
      113        2016                   Superstar Fight (China)               15
      117        2016                  TKO Major League MMA                   14
      118        2016                  Fusion Fight Night Series              13
      118        2016                              Heat                       13
      118        2016             Strength and Honor Championship             13
      118        2016                     Superior Challenge                  13
      122        2016                     Aggression Session                  12
      122        2016                           Fight Star                    12
      122        2016               Tanko Fighting Championships              12
      125        2016                      Combate Extremo                    11
      125        2016                 Conflict MMA Promotions                 11
      125        2016                Rumble World Entertainment               11
      125        2016                  Scandinavian Fight Nights              11
      129        2016                       Celtic Gladiator                  10
      129        2016        International Caucasian Fight Championship       10
      129        2016                         League S-70                     10
      129        2016                 Legend King Championship                10
      129        2016                       Qualify Combat                    10
      129        2016                    The Warriors Combat                  10
      129        2016             US Freedom Fighter Championship             10
      136        2016                European Fighting Challenge               9
      136        2016                         Fight 2 Night                    9
      136        2016                   Fight Night at the Island              9
      136        2016                    Fresquez Productions                  9
      136        2016                        House of Fame                     9
      136        2016                         MMA Cartel                       9
      136        2016                Rebel Fighting Championship               9
      136        2016             Singapore Fighting Championship              9
      136        2016                         Smash Fight                      9
      145        2016                        BAMMA USA                         8
      145        2016            Elite Fighting Championship Marica            8
      145        2016             Night of Warriors (Czech Republic)           8
      148        2016                     Battleground MMA                     7
      148        2016                   Elite Warrior Challenge                7
      148        2016                         Hugs Combat                      7

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   Bouts of UFC and Promoters that Promoted Former UFC Athletes, 2011-2016
   Source: Sherdog. See Backup to Table 1.
     Rank        Year                        Promoter                        Bouts
      148        2016            The King of Jungle Championship               7
      148        2016                 Tru-Form Entertainment                   7
      153        2016                    Extreme Challenge                     6
      153        2016                   Malscher Fight Night                   6
      153        2016              Oklahoma Charity Fight Night                6
      153        2016                  Premier Cage Fighting                   6
      153        2016                 Revolution Cage Combat                   6
      153        2016                 Viva Nicaragua Canal 13                  6
      153        2016                         WR Fight                         6
      160        2016               A&A Fight Time Promotions                  5
      160        2016                      Blufight MMA                        5
      160        2016                 Fightspirit Championship                 5
      160        2016          North American Fighting Championship            5
      164        2016              Sunkin International Fight Club             4
      165        2016                       Battle Events                      2
      166        2016                  La Familia Fight Club                   1




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                                        Appendix F

  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      1                    $6,000                    3
           2011                      1                    $6,500                    1
           2011                      1                    $7,000                    1
           2011                      1                    $8,000                    2
           2011                      1                    $9,000                   21
           2011                      1                   $10,000                    1
           2011                      1                   $11,000                   12
           2011                      1                   $12,000                    2
           2011                      1                   $13,000                    4
           2011                      1                   $14,000                    2
           2011                      1                   $15,000                    5
           2011                      1                   $16,000                    3
           2011                      1                   $17,000                    9
           2011                      1                   $18,000                    5
           2011                      1                   $19,000                    5
           2011                      1                   $20,000                    1
           2011                      1                   $20,300                    1
           2011                      1                   $21,000                   10
           2011                      1                   $22,000                    1
           2011                      1                   $23,000                    1
           2011                      1                   $24,000                    3
           2011                      1                   $26,000                    1
           2011                      1                   $30,000                    1
           2011                      1                   $31,000                    1
           2011                      1                   $34,000                    1
           2011                      1                   $35,000                    1
           2011                      1                   $36,000                    1
           2011                      1                   $44,000                    1
           2011                      1                   $45,000                    1
           2011                      1                   $48,000                    1
           2011                      1                   $50,000                    1
           2011                      1                   $56,000                    2
           2011                      1                   $60,000                    1
           2011                      1                   $61,000                    2
           2011                      1                   $64,000                    1
           2011                      1                   $65,000                    1
           2011                      1                   $67,000                    1
           2011                      1                   $75,000                    1
           2011                      1                   $78,000                    3
           2011                      1                   $82,000                    2


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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      1                   $85,000                   1
           2011                      1                   $87,000                   1
           2011                      1                   $95,000                   1
           2011                      1                   $96,000                   1
           2011                      1                  $106,000                   1
           2011                      1                  $111,000                   1
           2011                      1                  $125,000                   1
           2011                      1                  $177,000                   1
           2011                      1                  $250,000                   1
           2011                      1                  $420,000                   1
           2011                      1                  $816,983                   1
           2011                      2                    $6,500                   1
           2011                      2                    $7,000                   3
           2011                      2                    $8,000                   2
           2011                      2                    $9,000                   7
           2011                      2                   $10,000                   1
           2011                      2                   $11,000                   9
           2011                      2                   $12,000                   1
           2011                      2                   $13,000                   8
           2011                      2                   $15,000                   7
           2011                      2                   $16,000                   2
           2011                      2                   $17,000                   5
           2011                      2                   $18,000                   3
           2011                      2                   $19,000                   1
           2011                      2                   $20,000                   4
           2011                      2                   $21,000                   7
           2011                      2                   $22,000                   2
           2011                      2                   $23,000                   2
           2011                      2                   $24,000                   1
           2011                      2                   $25,000                   1
           2011                      2                   $26,000                   1
           2011                      2                   $33,000                   1
           2011                      2                   $35,000                   3
           2011                      2                   $37,000                   1
           2011                      2                   $38,000                   4
           2011                      2                   $43,000                   1
           2011                      2                   $44,000                   1
           2011                      2                   $45,000                   1
           2011                      2                   $48,000                   1
           2011                      2                   $50,000                   1
           2011                      2                   $52,000                   1
           2011                      2                   $70,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      2                   $82,000                    1
           2011                      2                   $85,000                    1
           2011                      2                   $86,000                    1
           2011                      2                   $87,000                    1
           2011                      2                   $88,000                    1
           2011                      2                   $90,000                    1
           2011                      2                  $139,000                    1
           2011                      2                  $230,000                    1
           2011                      2                  $250,000                    1
           2011                      2                  $254,456                    1
           2011                      2                  $580,000                    1
           2011                      3                    $4,000                    1
           2011                      3                    $8,000                    1
           2011                      3                    $9,000                    2
           2011                      3                   $10,000                    1
           2011                      3                   $11,000                    9
           2011                      3                   $12,000                    2
           2011                      3                   $13,000                   10
           2011                      3                   $15,000                    1
           2011                      3                   $17,000                    1
           2011                      3                   $17,800                    1
           2011                      3                   $18,000                    1
           2011                      3                   $19,000                    1
           2011                      3                   $20,000                    1
           2011                      3                   $21,000                    5
           2011                      3                   $22,000                    1
           2011                      3                   $23,000                    1
           2011                      3                   $24,000                    1
           2011                      3                   $25,000                    1
           2011                      3                   $27,000                    2
           2011                      3                   $28,000                    1
           2011                      3                   $29,000                    2
           2011                      3                   $32,000                    1
           2011                      3                   $33,000                    1
           2011                      3                   $34,000                    1
           2011                      3                   $39,000                    2
           2011                      3                   $40,000                    3
           2011                      3                   $52,000                    1
           2011                      3                   $55,000                    1
           2011                      3                   $65,000                    1
           2011                      3                   $71,000                    1
           2011                      3                   $80,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      3                   $84,000                   1
           2011                      3                   $86,000                   1
           2011                      3                   $91,000                   2
           2011                      3                  $109,000                   1
           2011                      3                  $122,000                   1
           2011                      3                  $125,000                   1
           2011                      3                  $155,000                   1
           2011                      3                  $164,000                   1
           2011                      4                    $8,000                   1
           2011                      4                   $11,000                   2
           2011                      4                   $12,000                   1
           2011                      4                   $13,000                   4
           2011                      4                   $14,000                   1
           2011                      4                   $15,000                   3
           2011                      4                   $17,000                   2
           2011                      4                   $18,000                   1
           2011                      4                   $19,000                   1
           2011                      4                   $20,000                   1
           2011                      4                   $23,000                   1
           2011                      4                   $25,000                   1
           2011                      4                   $26,000                   1
           2011                      4                   $30,000                   1
           2011                      4                   $31,000                   1
           2011                      4                   $32,000                   1
           2011                      4                   $34,000                   2
           2011                      4                   $36,000                   1
           2011                      4                   $37,000                   1
           2011                      4                   $42,000                   1
           2011                      4                   $43,000                   1
           2011                      4                   $45,000                   1
           2011                      4                   $53,000                   1
           2011                      4                   $62,000                   1
           2011                      4                   $80,000                   1
           2011                      4                   $90,000                   2
           2011                      4                  $106,000                   1
           2011                      4                  $129,000                   1
           2011                      4                  $146,000                   1
           2011                      5                    $9,000                   1
           2011                      5                   $11,000                   2
           2011                      5                   $13,000                   4
           2011                      5                   $15,000                   1
           2011                      5                   $17,000                   4



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      5                   $18,000                   1
           2011                      5                   $19,000                   2
           2011                      5                   $21,000                   1
           2011                      5                   $22,000                   1
           2011                      5                   $23,000                   2
           2011                      5                   $25,000                   1
           2011                      5                   $27,000                   2
           2011                      5                   $30,000                   1
           2011                      5                   $33,000                   2
           2011                      5                   $34,000                   1
           2011                      5                   $38,000                   1
           2011                      5                   $39,000                   2
           2011                      5                   $47,000                   1
           2011                      5                   $48,000                   1
           2011                      5                   $59,000                   1
           2011                      5                   $60,000                   1
           2011                      5                   $90,000                   1
           2011                      5                   $98,000                   1
           2011                      5                  $105,000                   1
           2011                      5                  $143,000                   1
           2011                      5                  $160,000                   1
           2011                      6                   $13,000                   3
           2011                      6                   $15,000                   1
           2011                      6                   $16,000                   1
           2011                      6                   $17,000                   2
           2011                      6                   $20,000                   3
           2011                      6                   $21,000                   2
           2011                      6                   $24,000                   1
           2011                      6                   $25,000                   1
           2011                      6                   $30,000                   1
           2011                      6                   $31,000                   2
           2011                      6                   $34,000                   1
           2011                      6                   $35,000                   2
           2011                      6                   $38,000                   1
           2011                      6                   $40,000                   1
           2011                      6                   $42,000                   2
           2011                      6                   $51,000                   1
           2011                      6                   $62,000                   1
           2011                      6                   $80,000                   1
           2011                      6                   $93,000                   1
           2011                      6                   $99,000                   2
           2011                      6                  $120,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      6                  $200,000                   1
           2011                      6                  $632,170                   1
           2011                      6                  $710,000                   1
           2011                      6                 $1,000,000                  1
           2011                      6                 $1,164,572                  1
           2011                      7                   $16,000                   2
           2011                      7                   $17,000                   1
           2011                      7                   $21,000                   1
           2011                      7                   $23,000                   1
           2011                      7                   $27,000                   1
           2011                      7                   $29,000                   1
           2011                      7                   $30,000                   1
           2011                      7                   $31,000                   1
           2011                      7                   $33,000                   1
           2011                      7                   $35,000                   1
           2011                      7                   $36,000                   1
           2011                      7                   $37,000                   2
           2011                      7                   $38,000                   1
           2011                      7                   $39,000                   1
           2011                      7                   $41,000                   1
           2011                      7                   $44,000                   3
           2011                      7                   $45,000                   1
           2011                      7                   $46,000                   1
           2011                      7                   $50,000                   1
           2011                      7                   $52,000                   1
           2011                      7                   $58,000                   1
           2011                      7                   $64,000                   1
           2011                      7                   $69,000                   1
           2011                      7                  $116,000                   1
           2011                      7                  $215,000                   1
           2011                      7                  $300,000                   1
           2011                      7                  $370,000                   1
           2011                      7                  $400,000                   1
           2011                      7                  $770,000                   1
           2011                      7                  $800,000                   1
           2011                      7                 $3,000,000                  1
           2011                      8                   $12,000                   1
           2011                      8                   $13,000                   1
           2011                      8                   $17,000                   1
           2011                      8                   $19,000                   1
           2011                      8                   $21,000                   1
           2011                      8                   $22,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      8                   $24,000                   2
           2011                      8                   $26,000                   1
           2011                      8                   $27,000                   1
           2011                      8                   $29,000                   1
           2011                      8                   $31,000                   1
           2011                      8                   $36,000                   1
           2011                      8                   $43,200                   1
           2011                      8                   $44,000                   1
           2011                      8                   $47,000                   1
           2011                      8                   $52,000                   1
           2011                      8                   $58,000                   1
           2011                      8                   $67,000                   1
           2011                      8                   $75,000                   1
           2011                      8                   $87,000                   1
           2011                      8                   $90,000                   1
           2011                      8                  $120,000                   1
           2011                      8                  $127,000                   1
           2011                      8                  $285,000                   1
           2011                      8                  $445,000                   1
           2011                      8                  $542,170                   1
           2011                      8                  $545,420                   1
           2011                      8                  $902,826                   1
           2011                      9                   $15,000                   1
           2011                      9                   $18,000                   1
           2011                      9                   $20,000                   1
           2011                      9                   $24,000                   1
           2011                      9                   $25,000                   1
           2011                      9                   $26,000                   1
           2011                      9                   $27,000                   1
           2011                      9                   $30,000                   1
           2011                      9                   $40,000                   1
           2011                      9                   $46,000                   1
           2011                      9                   $89,000                   1
           2011                      9                   $94,000                   1
           2011                      9                  $105,000                   1
           2011                      9                  $106,000                   1
           2011                      9                  $107,000                   1
           2011                      9                  $116,000                   1
           2011                      9                  $655,646                   1
           2011                      9                  $862,850                   1
           2011                      9                 $1,176,108                  1
           2011                      10                  $15,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      10                  $24,000                   1
           2011                      10                  $30,000                   1
           2011                      10                  $36,000                   1
           2011                      10                  $38,000                   1
           2011                      10                  $41,000                   1
           2011                      10                  $47,000                   1
           2011                      10                  $54,000                   1
           2011                      10                  $80,000                   1
           2011                      10                  $86,000                   1
           2011                      10                  $99,000                   1
           2011                      10                 $111,000                   1
           2011                      10                 $212,000                   1
           2011                      10                 $362,000                   1
           2011                      10                 $443,272                   1
           2011                      10                 $857,143                   1
           2011                      10                $1,705,969                  1
           2011                      11                  $23,000                   1
           2011                      11                  $28,000                   1
           2011                      11                  $41,000                   1
           2011                      11                  $45,000                   1
           2011                      11                  $48,000                   1
           2011                      11                  $52,000                   1
           2011                      11                  $58,000                   1
           2011                      11                  $60,000                   1
           2011                      11                  $62,000                   1
           2011                      11                  $96,000                   1
           2011                      11                 $108,000                   1
           2011                      11                 $111,000                   1
           2011                      11                 $142,000                   1
           2011                      11                 $275,000                   1
           2011                      11                 $329,000                   1
           2011                      11                 $349,456                   1
           2011                      12                  $28,000                   1
           2011                      12                  $31,000                   1
           2011                      12                  $40,000                   2
           2011                      12                  $45,000                   1
           2011                      12                  $57,000                   1
           2011                      12                  $69,000                   1
           2011                      12                  $70,000                   1
           2011                      12                  $91,000                   1
           2011                      12                 $105,000                   1
           2011                      12                 $132,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      12                 $189,000                   1
           2011                      12                 $575,000                   1
           2011                      13                  $17,000                   1
           2011                      13                  $27,000                   1
           2011                      13                  $29,000                   1
           2011                      13                  $31,000                   1
           2011                      13                  $34,000                   1
           2011                      13                  $44,000                   1
           2011                      13                  $45,000                   1
           2011                      13                  $51,000                   1
           2011                      13                  $53,000                   1
           2011                      13                  $65,000                   2
           2011                      13                  $73,000                   1
           2011                      13                  $80,000                   1
           2011                      13                 $122,000                   1
           2011                      13                 $135,000                   1
           2011                      13                 $500,000                   1
           2011                      13                 $615,000                   1
           2011                      13                $2,506,034                  1
           2011                      14                  $29,000                   1
           2011                      14                  $33,000                   1
           2011                      14                  $34,000                   1
           2011                      14                  $79,000                   1
           2011                      14                  $83,000                   1
           2011                      14                 $100,000                   1
           2011                      14                 $116,000                   1
           2011                      14                 $120,000                   1
           2011                      14                 $130,000                   1
           2011                      14                 $145,000                   1
           2011                      14                 $180,000                   1
           2011                      14                 $375,000                   1
           2011                      14                 $400,000                   1
           2011                      14                $2,000,000                  1
           2011                      15                  $26,000                   1
           2011                      15                  $35,000                   1
           2011                      15                  $36,000                   1
           2011                      15                  $38,000                   1
           2011                      15                  $41,000                   1
           2011                      15                  $53,000                   1
           2011                      15                  $59,000                   1
           2011                      15                 $105,000                   1
           2011                      15                 $120,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2011                      15                 $149,000                   1
           2011                      15                 $170,000                   1
           2011                      15                 $425,000                   1
           2011                      16                  $35,000                   1
           2011                      16                  $51,000                   1
           2011                      16                  $67,000                   1
           2011                      16                  $81,000                   1
           2011                      16                 $155,000                   1
           2011                      16                 $270,000                   1
           2011                      17                  $61,000                   1
           2011                      17                  $80,000                   1
           2011                      17                 $820,370                   1
           2011                      18                 $110,000                   1
           2011                      18                 $112,000                   1
           2011                      18                 $400,000                   1
           2011                      18                 $475,000                   1
           2011                      18                $1,221,632                  1
           2011                      18                $4,314,289                  1
           2011                      19                  $69,000                   1
           2011                      19                 $200,000                   1
           2011                      19                 $201,000                   1
           2011                      19                 $332,000                   1
           2011                      19                $1,396,544                  1
           2011                      19                $1,750,000                  1
           2011                      20                 $400,000                   1
           2011                      21                 $475,000                   1
           2011                      22                $1,833,000                   1
           2012                       1                   $6,000                    1
           2012                       1                   $8,000                    3
           2012                       1                   $9,000                   17
           2012                       1                  $10,000                    1
           2012                       1                  $11,000                   22
           2012                       1                  $12,000                    4
           2012                       1                  $13,000                    3
           2012                       1                  $14,000                    1
           2012                       1                  $15,000                    5
           2012                       1                  $16,000                    1
           2012                       1                  $17,000                   11
           2012                       1                  $18,000                    2
           2012                       1                  $19,000                    2
           2012                       1                  $21,000                    8
           2012                       1                  $22,000                    9



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      1                   $24,000                    1
           2012                      1                   $25,000                    1
           2012                      1                   $26,000                    2
           2012                      1                   $30,000                    2
           2012                      1                   $32,000                    1
           2012                      1                   $36,000                    1
           2012                      1                   $40,000                    1
           2012                      1                   $48,000                    1
           2012                      1                   $52,000                    1
           2012                      1                   $56,000                    2
           2012                      1                   $57,000                    1
           2012                      1                   $68,000                    1
           2012                      1                   $69,800                    1
           2012                      1                   $71,000                    1
           2012                      1                   $77,000                    2
           2012                      1                   $80,000                    1
           2012                      1                   $81,000                    2
           2012                      1                   $95,000                    1
           2012                      1                   $96,000                    1
           2012                      1                  $105,000                    1
           2012                      1                  $295,000                    1
           2012                      2                    $6,000                    1
           2012                      2                    $8,000                    3
           2012                      2                    $9,000                   10
           2012                      2                   $10,000                    4
           2012                      2                   $11,000                   12
           2012                      2                   $12,000                    7
           2012                      2                   $13,000                    4
           2012                      2                   $14,000                    2
           2012                      2                   $15,000                    5
           2012                      2                   $16,000                    1
           2012                      2                   $17,000                    7
           2012                      2                   $18,000                    8
           2012                      2                   $19,000                    2
           2012                      2                   $20,000                    1
           2012                      2                   $21,000                    4
           2012                      2                   $22,000                    4
           2012                      2                   $23,000                    3
           2012                      2                   $25,000                    4
           2012                      2                   $26,000                    5
           2012                      2                   $27,000                    1
           2012                      2                   $28,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      2                   $30,000                    1
           2012                      2                   $31,000                    2
           2012                      2                   $34,000                    1
           2012                      2                   $36,000                    1
           2012                      2                   $37,000                    2
           2012                      2                   $46,000                    1
           2012                      2                   $48,000                    1
           2012                      2                   $52,000                    1
           2012                      2                   $59,000                    1
           2012                      2                   $62,000                    1
           2012                      2                   $66,000                    3
           2012                      2                   $77,000                    2
           2012                      2                   $81,000                    1
           2012                      2                   $82,200                    1
           2012                      2                   $87,000                    1
           2012                      2                  $100,000                    2
           2012                      2                  $111,000                    1
           2012                      2                  $370,000                    1
           2012                      2                  $450,000                    1
           2012                      3                    $8,000                    1
           2012                      3                   $10,000                    3
           2012                      3                   $11,000                   13
           2012                      3                   $12,000                    3
           2012                      3                   $13,000                    3
           2012                      3                   $14,000                    2
           2012                      3                   $15,000                    3
           2012                      3                   $16,000                    1
           2012                      3                   $17,000                    1
           2012                      3                   $18,000                    2
           2012                      3                   $19,000                    2
           2012                      3                   $20,000                    1
           2012                      3                   $21,000                    1
           2012                      3                   $22,000                    5
           2012                      3                   $23,000                    1
           2012                      3                   $25,000                    2
           2012                      3                   $25,500                    1
           2012                      3                   $26,000                    6
           2012                      3                   $28,000                    2
           2012                      3                   $30,000                    4
           2012                      3                   $32,000                    1
           2012                      3                   $34,000                    1
           2012                      3                   $36,000                    2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      3                   $37,000                   1
           2012                      3                   $40,000                   2
           2012                      3                   $45,000                   1
           2012                      3                   $46,000                   2
           2012                      3                   $52,000                   1
           2012                      3                   $56,000                   1
           2012                      3                   $60,000                   1
           2012                      3                   $70,000                   1
           2012                      3                   $80,000                   1
           2012                      3                   $81,000                   1
           2012                      3                   $84,000                   2
           2012                      3                   $90,000                   1
           2012                      3                   $97,000                   1
           2012                      3                  $107,000                   1
           2012                      3                  $114,000                   1
           2012                      3                  $220,000                   1
           2012                      3                  $590,000                   1
           2012                      4                    $9,600                   1
           2012                      4                   $10,000                   1
           2012                      4                   $11,000                   6
           2012                      4                   $12,000                   1
           2012                      4                   $13,000                   2
           2012                      4                   $14,000                   2
           2012                      4                   $15,000                   3
           2012                      4                   $17,000                   2
           2012                      4                   $18,000                   2
           2012                      4                   $19,000                   1
           2012                      4                   $20,000                   3
           2012                      4                   $21,000                   1
           2012                      4                   $22,000                   1
           2012                      4                   $23,000                   1
           2012                      4                   $24,000                   2
           2012                      4                   $25,000                   5
           2012                      4                   $26,000                   1
           2012                      4                   $28,000                   2
           2012                      4                   $29,000                   1
           2012                      4                   $30,000                   2
           2012                      4                   $31,400                   1
           2012                      4                   $32,000                   1
           2012                      4                   $33,000                   2
           2012                      4                   $34,000                   2
           2012                      4                   $36,000                   2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      4                   $37,000                   1
           2012                      4                   $41,000                   2
           2012                      4                   $46,000                   1
           2012                      4                   $48,000                   1
           2012                      4                   $55,000                   2
           2012                      4                   $60,000                   1
           2012                      4                   $60,500                   1
           2012                      4                   $62,000                   1
           2012                      4                   $65,000                   1
           2012                      4                   $68,000                   1
           2012                      4                   $75,000                   1
           2012                      4                   $78,000                   1
           2012                      4                   $80,000                   1
           2012                      4                   $84,000                   1
           2012                      4                   $89,000                   1
           2012                      4                  $100,000                   1
           2012                      4                  $101,000                   1
           2012                      4                  $109,000                   1
           2012                      4                  $162,000                   1
           2012                      4                  $169,000                   1
           2012                      4                  $170,000                   1
           2012                      4                  $181,000                   1
           2012                      4                  $316,000                   1
           2012                      5                   $15,000                   3
           2012                      5                   $17,000                   1
           2012                      5                   $18,000                   4
           2012                      5                   $21,000                   2
           2012                      5                   $23,000                   2
           2012                      5                   $25,000                   1
           2012                      5                   $26,000                   5
           2012                      5                   $29,000                   1
           2012                      5                   $30,000                   4
           2012                      5                   $34,000                   2
           2012                      5                   $36,000                   1
           2012                      5                   $39,000                   1
           2012                      5                   $49,000                   2
           2012                      5                   $54,000                   1
           2012                      5                   $56,000                   1
           2012                      5                   $59,000                   1
           2012                      5                   $60,000                   1
           2012                      5                   $61,000                   1
           2012                      5                   $65,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      5                   $68,000                   1
           2012                      5                   $72,000                   1
           2012                      5                   $82,000                   1
           2012                      5                   $89,000                   1
           2012                      5                   $90,000                   1
           2012                      5                  $114,000                   1
           2012                      5                  $165,000                   1
           2012                      5                  $170,000                   1
           2012                      5                  $171,000                   1
           2012                      5                  $322,000                   1
           2012                      6                   $13,000                   2
           2012                      6                   $14,000                   1
           2012                      6                   $15,000                   2
           2012                      6                   $17,000                   1
           2012                      6                   $19,000                   1
           2012                      6                   $22,000                   1
           2012                      6                   $23,000                   1
           2012                      6                   $24,000                   1
           2012                      6                   $25,000                   1
           2012                      6                   $26,000                   2
           2012                      6                   $28,000                   1
           2012                      6                   $30,000                   1
           2012                      6                   $33,000                   1
           2012                      6                   $38,000                   2
           2012                      6                   $40,000                   1
           2012                      6                   $42,000                   1
           2012                      6                   $45,000                   1
           2012                      6                   $52,000                   2
           2012                      6                   $60,000                   1
           2012                      6                   $68,000                   2
           2012                      6                   $75,000                   1
           2012                      6                   $78,000                   1
           2012                      6                   $82,000                   1
           2012                      6                   $93,000                   1
           2012                      6                   $96,000                   1
           2012                      6                  $125,000                   1
           2012                      6                  $126,000                   1
           2012                      6                  $135,000                   1
           2012                      6                  $146,000                   1
           2012                      6                  $510,000                   1
           2012                      7                   $12,000                   1
           2012                      7                   $13,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      7                   $14,000                   2
           2012                      7                   $15,000                   1
           2012                      7                   $16,000                   1
           2012                      7                   $17,000                   1
           2012                      7                   $18,000                   1
           2012                      7                   $19,000                   1
           2012                      7                   $21,000                   1
           2012                      7                   $22,000                   1
           2012                      7                   $23,000                   1
           2012                      7                   $25,000                   1
           2012                      7                   $27,000                   1
           2012                      7                   $29,000                   1
           2012                      7                   $33,000                   1
           2012                      7                   $34,000                   1
           2012                      7                   $37,000                   2
           2012                      7                   $39,000                   1
           2012                      7                   $49,000                   1
           2012                      7                   $64,000                   1
           2012                      7                  $124,000                   1
           2012                      7                  $125,000                   1
           2012                      7                  $160,000                   1
           2012                      7                  $194,000                   1
           2012                      7                 $1,135,000                  1
           2012                      8                   $16,000                   1
           2012                      8                   $21,000                   2
           2012                      8                   $23,000                   4
           2012                      8                   $24,000                   2
           2012                      8                   $27,000                   2
           2012                      8                   $29,000                   1
           2012                      8                   $35,000                   1
           2012                      8                   $42,000                   1
           2012                      8                   $43,000                   1
           2012                      8                   $55,000                   1
           2012                      8                   $57,000                   1
           2012                      8                   $65,000                   1
           2012                      8                   $70,000                   1
           2012                      8                   $79,000                   1
           2012                      8                   $85,000                   1
           2012                      8                   $98,000                   1
           2012                      8                  $103,000                   1
           2012                      8                  $765,000                   1
           2012                      8                 $1,070,000                  1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                       9                  $13,000                   1
           2012                       9                  $23,000                   2
           2012                       9                  $24,000                   1
           2012                       9                  $25,000                   1
           2012                       9                  $28,000                   2
           2012                       9                  $29,000                   1
           2012                       9                  $30,000                   1
           2012                       9                  $37,000                   1
           2012                       9                  $40,000                   2
           2012                       9                  $49,000                   1
           2012                       9                  $50,000                   1
           2012                       9                  $51,000                   1
           2012                       9                  $68,000                   1
           2012                       9                  $73,000                   1
           2012                       9                  $75,000                   1
           2012                       9                  $84,000                   2
           2012                       9                  $86,000                   1
           2012                       9                  $90,000                   1
           2012                       9                  $95,000                   1
           2012                       9                  $99,000                   1
           2012                       9                 $103,000                   1
           2012                       9                 $106,000                   1
           2012                       9                 $120,000                   1
           2012                       9                 $155,000                   1
           2012                       9                 $200,000                   1
           2012                       9                 $465,000                   1
           2012                       9                 $490,000                   1
           2012                       9                 $683,377                   1
           2012                      10                  $21,000                   1
           2012                      10                  $32,000                   1
           2012                      10                  $40,000                   3
           2012                      10                  $46,000                   1
           2012                      10                  $47,000                   2
           2012                      10                  $52,000                   2
           2012                      10                  $54,000                   1
           2012                      10                  $59,000                   1
           2012                      10                  $62,000                   1
           2012                      10                  $72,000                   2
           2012                      10                  $80,000                   1
           2012                      10                  $82,000                   1
           2012                      10                  $84,000                   1
           2012                      10                  $85,500                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      10                  $90,000                   1
           2012                      10                  $97,000                   1
           2012                      10                 $101,000                   1
           2012                      10                 $115,000                   1
           2012                      10                 $150,000                   2
           2012                      10                 $361,251                   1
           2012                      10                 $450,000                   1
           2012                      10                 $500,000                   1
           2012                      10                 $762,251                   1
           2012                      11                  $26,000                   2
           2012                      11                  $27,000                   1
           2012                      11                  $30,000                   2
           2012                      11                  $37,000                   1
           2012                      11                  $40,000                   1
           2012                      11                  $42,000                   1
           2012                      11                  $50,000                   2
           2012                      11                  $51,000                   1
           2012                      11                  $70,000                   1
           2012                      11                  $92,000                   1
           2012                      11                 $128,000                   1
           2012                      11                 $950,000                   1
           2012                      11                $1,050,000                  1
           2012                      11                $2,278,553                  1
           2012                      12                  $27,000                   1
           2012                      12                  $30,000                   1
           2012                      12                  $31,000                   2
           2012                      12                  $36,000                   2
           2012                      12                  $48,000                   1
           2012                      12                  $58,000                   1
           2012                      12                  $72,000                   1
           2012                      12                 $104,000                   1
           2012                      12                 $115,000                   1
           2012                      12                 $134,000                   1
           2012                      12                 $272,102                   1
           2012                      12                 $500,000                   1
           2012                      12                $1,566,196                  1
           2012                      13                  $19,000                   1
           2012                      13                  $30,000                   1
           2012                      13                  $34,000                   1
           2012                      13                  $47,000                   1
           2012                      13                  $48,000                   1
           2012                      13                  $54,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      13                  $58,000                   1
           2012                      13                  $66,000                   1
           2012                      13                  $80,000                   1
           2012                      13                  $84,000                   1
           2012                      13                  $98,000                   1
           2012                      13                 $148,000                   1
           2012                      13                 $161,000                   1
           2012                      13                 $195,000                   1
           2012                      13                 $400,000                   1
           2012                      14                  $19,000                   1
           2012                      14                  $22,000                   1
           2012                      14                  $29,000                   2
           2012                      14                  $37,000                   2
           2012                      14                  $53,000                   1
           2012                      14                  $55,000                   1
           2012                      14                  $60,000                   1
           2012                      14                  $61,000                   1
           2012                      14                  $64,000                   1
           2012                      14                  $92,000                   1
           2012                      14                 $106,000                   1
           2012                      14                 $112,000                   1
           2012                      14                 $147,000                   1
           2012                      14                 $580,000                   1
           2012                      15                  $27,000                   1
           2012                      15                  $58,000                   1
           2012                      15                  $67,000                   1
           2012                      15                  $90,000                   1
           2012                      15                 $112,000                   1
           2012                      15                 $124,000                   1
           2012                      15                 $140,000                   1
           2012                      15                 $537,000                   1
           2012                      15                 $575,000                   1
           2012                      15                $1,300,000                  1
           2012                      15                $2,825,000                  1
           2012                      16                  $33,000                   1
           2012                      16                  $40,000                   1
           2012                      16                  $51,000                   1
           2012                      16                  $59,000                   1
           2012                      16                  $84,000                   1
           2012                      16                  $85,000                   1
           2012                      16                  $97,000                   1
           2012                      16                 $143,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2012                      16                 $300,000                   1
           2012                      16                $2,000,000                  1
           2012                      17                  $68,000                   1
           2012                      17                  $77,000                   1
           2012                      17                  $82,000                   1
           2012                      17                 $100,000                   1
           2012                      17                 $135,000                   1
           2012                      17                 $139,000                   1
           2012                      17                 $150,000                   1
           2012                      17                 $190,000                   1
           2012                      17                 $425,000                   1
           2012                      18                 $100,000                   1
           2012                      19                  $45,000                   1
           2012                      19                 $765,000                   1
           2012                      19                $3,197,908                  1
           2012                      20                  $51,000                   1
           2012                      20                 $166,000                   1
           2012                      20                 $480,000                   1
           2012                      20                 $583,377                   1
           2012                      20                $2,542,792                   1
           2012                      21                  $98,000                    1
           2012                      22                 $250,000                    1
           2013                       1                   $8,000                    4
           2013                       1                   $9,000                    4
           2013                       1                  $10,000                    2
           2013                       1                  $11,000                   30
           2013                       1                  $12,000                    5
           2013                       1                  $13,000                    6
           2013                       1                  $14,000                    1
           2013                       1                  $15,000                    2
           2013                       1                  $15,500                    1
           2013                       1                  $16,000                    5
           2013                       1                  $17,000                    3
           2013                       1                  $18,000                    1
           2013                       1                  $19,000                    3
           2013                       1                  $20,000                    2
           2013                       1                  $21,000                   15
           2013                       1                  $22,000                   15
           2013                       1                  $23,000                    2
           2013                       1                  $24,000                    1
           2013                       1                  $25,000                    2
           2013                       1                  $26,000                    3



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      1                   $27,000                    1
           2013                      1                   $29,000                    1
           2013                      1                   $31,000                    1
           2013                      1                   $32,000                    2
           2013                      1                   $34,000                    1
           2013                      1                   $40,000                    1
           2013                      1                   $45,000                    1
           2013                      1                   $53,000                    1
           2013                      1                   $58,000                    3
           2013                      1                   $64,000                    1
           2013                      1                   $65,000                    1
           2013                      1                   $66,000                    6
           2013                      1                   $70,000                    3
           2013                      1                   $78,000                    1
           2013                      1                   $80,000                    1
           2013                      1                   $86,000                    1
           2013                      1                   $95,000                    1
           2013                      1                   $97,000                    1
           2013                      1                  $108,000                    1
           2013                      1                  $110,000                    1
           2013                      1                  $116,000                    1
           2013                      1                  $126,000                    1
           2013                      1                  $164,000                    1
           2013                      1                  $175,000                    1
           2013                      1                  $185,000                    1
           2013                      1                  $262,000                    1
           2013                      1                  $574,720                    1
           2013                      2                    $8,000                    2
           2013                      2                    $9,000                    6
           2013                      2                   $10,000                    4
           2013                      2                   $11,000                   17
           2013                      2                   $12,000                    3
           2013                      2                   $13,000                    4
           2013                      2                   $13,800                    1
           2013                      2                   $14,000                    4
           2013                      2                   $16,000                    2
           2013                      2                   $17,000                    2
           2013                      2                   $18,000                    2
           2013                      2                   $19,000                    2
           2013                      2                   $20,000                    5
           2013                      2                   $21,000                    4
           2013                      2                   $22,000                    2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      2                   $24,000                    3
           2013                      2                   $25,000                    5
           2013                      2                   $26,000                    5
           2013                      2                   $27,100                    1
           2013                      2                   $28,000                    2
           2013                      2                   $29,000                    2
           2013                      2                   $32,000                    1
           2013                      2                   $34,000                    3
           2013                      2                   $36,000                    1
           2013                      2                   $38,000                    2
           2013                      2                   $39,000                    1
           2013                      2                   $40,000                    3
           2013                      2                   $44,000                    1
           2013                      2                   $46,000                    1
           2013                      2                   $52,000                    3
           2013                      2                   $55,000                    1
           2013                      2                   $58,000                    4
           2013                      2                   $62,000                    1
           2013                      2                   $66,000                    2
           2013                      2                   $70,000                    1
           2013                      2                   $72,000                    1
           2013                      2                   $78,000                    1
           2013                      2                  $120,000                    2
           2013                      2                  $137,000                    1
           2013                      2                  $140,000                    1
           2013                      2                  $260,000                    1
           2013                      2                  $453,000                    1
           2013                      2                  $619,047                    1
           2013                      2                 $1,817,907                   1
           2013                      3                   $10,000                    2
           2013                      3                   $11,000                   19
           2013                      3                   $12,000                    3
           2013                      3                   $13,000                    6
           2013                      3                   $14,000                    4
           2013                      3                   $15,000                    3
           2013                      3                   $16,000                    4
           2013                      3                   $17,000                    3
           2013                      3                   $18,000                    1
           2013                      3                   $19,000                    5
           2013                      3                   $20,000                    2
           2013                      3                   $21,000                    5
           2013                      3                   $22,000                    4



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      3                   $23,000                   1
           2013                      3                   $25,000                   3
           2013                      3                   $26,000                   2
           2013                      3                   $27,000                   1
           2013                      3                   $29,000                   1
           2013                      3                   $30,000                   1
           2013                      3                   $32,000                   2
           2013                      3                   $33,000                   1
           2013                      3                   $34,000                   1
           2013                      3                   $35,000                   1
           2013                      3                   $38,000                   2
           2013                      3                   $42,000                   1
           2013                      3                   $43,000                   1
           2013                      3                   $44,000                   1
           2013                      3                   $60,000                   1
           2013                      3                   $66,000                   2
           2013                      3                   $70,000                   1
           2013                      3                   $74,000                   1
           2013                      3                   $76,000                   1
           2013                      3                   $86,000                   1
           2013                      3                   $92,000                   1
           2013                      3                  $150,000                   1
           2013                      3                  $154,000                   1
           2013                      3                  $305,000                   1
           2013                      3                  $619,048                   1
           2013                      4                    $9,600                   1
           2013                      4                   $10,000                   1
           2013                      4                   $12,000                   1
           2013                      4                   $13,000                   7
           2013                      4                   $15,000                   7
           2013                      4                   $16,000                   1
           2013                      4                   $17,000                   1
           2013                      4                   $18,000                   2
           2013                      4                   $19,000                   2
           2013                      4                   $20,000                   3
           2013                      4                   $21,000                   1
           2013                      4                   $22,000                   1
           2013                      4                   $23,000                   2
           2013                      4                   $24,000                   1
           2013                      4                   $25,000                   3
           2013                      4                   $25,200                   1
           2013                      4                   $26,000                   5



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      4                   $28,000                   1
           2013                      4                   $30,000                   3
           2013                      4                   $32,000                   1
           2013                      4                   $33,000                   1
           2013                      4                   $34,000                   1
           2013                      4                   $35,000                   1
           2013                      4                   $36,000                   1
           2013                      4                   $52,000                   1
           2013                      4                   $65,000                   1
           2013                      4                   $68,000                   1
           2013                      4                   $70,000                   1
           2013                      4                   $75,000                   1
           2013                      4                   $80,000                   2
           2013                      4                   $98,000                   2
           2013                      4                  $100,000                   1
           2013                      4                  $106,000                   1
           2013                      4                  $145,000                   1
           2013                      4                  $200,000                   1
           2013                      4                  $428,092                   1
           2013                      5                   $10,000                   1
           2013                      5                   $11,000                   1
           2013                      5                   $13,000                   5
           2013                      5                   $14,000                   2
           2013                      5                   $15,000                   4
           2013                      5                   $17,000                   2
           2013                      5                   $19,000                   1
           2013                      5                   $21,000                   1
           2013                      5                   $23,000                   2
           2013                      5                   $25,000                   4
           2013                      5                   $26,000                   1
           2013                      5                   $28,000                   2
           2013                      5                   $30,000                   1
           2013                      5                   $32,000                   1
           2013                      5                   $34,000                   2
           2013                      5                   $36,000                   1
           2013                      5                   $38,000                   3
           2013                      5                   $41,000                   1
           2013                      5                   $45,000                   1
           2013                      5                   $50,000                   1
           2013                      5                   $56,000                   1
           2013                      5                   $57,000                   1
           2013                      5                   $58,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      5                   $64,000                   1
           2013                      5                   $65,000                   1
           2013                      5                   $74,000                   1
           2013                      5                   $76,000                   1
           2013                      5                   $78,000                   1
           2013                      5                   $94,000                   1
           2013                      5                  $100,000                   3
           2013                      5                  $110,000                   1
           2013                      5                  $115,000                   1
           2013                      5                  $150,000                   1
           2013                      5                  $154,000                   1
           2013                      5                  $155,000                   1
           2013                      5                  $170,000                   1
           2013                      5                  $210,000                   1
           2013                      5                  $254,000                   1
           2013                      5                  $260,000                   1
           2013                      6                   $13,000                   2
           2013                      6                   $15,000                   2
           2013                      6                   $16,000                   1
           2013                      6                   $17,000                   3
           2013                      6                   $18,000                   1
           2013                      6                   $20,000                   1
           2013                      6                   $21,000                   4
           2013                      6                   $23,000                   2
           2013                      6                   $25,000                   1
           2013                      6                   $26,000                   1
           2013                      6                   $28,000                   1
           2013                      6                   $29,000                   2
           2013                      6                   $33,000                   4
           2013                      6                   $34,000                   1
           2013                      6                   $35,000                   1
           2013                      6                   $41,000                   1
           2013                      6                   $42,000                   2
           2013                      6                   $43,000                   1
           2013                      6                   $44,000                   1
           2013                      6                   $48,500                   1
           2013                      6                   $50,000                   1
           2013                      6                   $64,000                   1
           2013                      6                   $66,000                   1
           2013                      6                   $73,000                   1
           2013                      6                   $91,000                   1
           2013                      6                  $100,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      6                  $102,000                   1
           2013                      6                  $108,000                   2
           2013                      6                  $130,000                   1
           2013                      6                  $135,000                   1
           2013                      6                  $173,000                   1
           2013                      6                  $174,000                   1
           2013                      6                  $184,000                   1
           2013                      6                  $210,000                   1
           2013                      6                 $1,098,000                  1
           2013                      7                   $15,000                   1
           2013                      7                   $16,000                   3
           2013                      7                   $17,000                   2
           2013                      7                   $19,000                   1
           2013                      7                   $20,000                   2
           2013                      7                   $21,000                   1
           2013                      7                   $22,000                   2
           2013                      7                   $23,000                   1
           2013                      7                   $28,000                   1
           2013                      7                   $29,000                   1
           2013                      7                   $30,000                   1
           2013                      7                   $34,000                   1
           2013                      7                   $38,000                   1
           2013                      7                   $42,000                   1
           2013                      7                   $48,000                   4
           2013                      7                   $54,000                   1
           2013                      7                   $56,000                   1
           2013                      7                   $58,000                   1
           2013                      7                   $59,000                   1
           2013                      7                   $90,000                   1
           2013                      7                  $103,000                   1
           2013                      7                  $112,000                   1
           2013                      7                  $131,000                   1
           2013                      7                  $145,000                   1
           2013                      7                  $150,000                   1
           2013                      7                  $200,000                   1
           2013                      7                  $202,000                   1
           2013                      7                  $270,000                   1
           2013                      7                 $1,276,040                  1
           2013                      7                 $1,967,908                  1
           2013                      8                   $17,000                   1
           2013                      8                   $18,000                   1
           2013                      8                   $20,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      8                   $24,000                   1
           2013                      8                   $27,000                   1
           2013                      8                   $28,000                   1
           2013                      8                   $30,000                   2
           2013                      8                   $36,000                   2
           2013                      8                   $38,000                   1
           2013                      8                   $41,000                   1
           2013                      8                   $44,000                   1
           2013                      8                   $45,000                   1
           2013                      8                   $46,000                   1
           2013                      8                   $53,000                   1
           2013                      8                   $58,000                   1
           2013                      8                   $66,400                   1
           2013                      8                   $67,000                   1
           2013                      8                   $90,000                   1
           2013                      8                   $95,000                   1
           2013                      8                   $96,000                   1
           2013                      8                  $102,000                   1
           2013                      8                  $123,000                   1
           2013                      8                  $147,441                   1
           2013                      8                  $155,000                   1
           2013                      8                  $165,000                   1
           2013                      8                  $250,000                   1
           2013                      8                  $258,000                   1
           2013                      8                 $1,000,000                  1
           2013                      9                   $18,000                   1
           2013                      9                   $21,000                   1
           2013                      9                   $23,000                   2
           2013                      9                   $31,000                   1
           2013                      9                   $32,000                   1
           2013                      9                   $33,000                   1
           2013                      9                   $36,000                   1
           2013                      9                   $37,000                   1
           2013                      9                   $38,000                   1
           2013                      9                   $41,000                   1
           2013                      9                   $45,000                   1
           2013                      9                   $51,000                   1
           2013                      9                   $53,000                   1
           2013                      9                   $54,500                   1
           2013                      9                   $71,000                   1
           2013                      9                   $81,000                   1
           2013                      9                   $86,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      9                   $92,000                   1
           2013                      9                  $131,000                   1
           2013                      9                  $163,000                   1
           2013                      9                  $181,000                   1
           2013                      9                  $230,000                   1
           2013                      9                  $250,000                   1
           2013                      9                  $500,000                   1
           2013                      9                  $800,000                   2
           2013                      9                 $1,133,329                  1
           2013                      10                  $18,000                   1
           2013                      10                  $20,000                   2
           2013                      10                  $23,000                   1
           2013                      10                  $25,000                   1
           2013                      10                  $27,000                   1
           2013                      10                  $28,000                   2
           2013                      10                  $42,000                   1
           2013                      10                  $51,000                   1
           2013                      10                  $52,000                   1
           2013                      10                  $54,000                   1
           2013                      10                  $64,000                   1
           2013                      10                  $74,000                   1
           2013                      10                 $111,000                   1
           2013                      10                 $144,000                   1
           2013                      10                 $181,000                   1
           2013                      11                  $17,000                   1
           2013                      11                  $21,000                   1
           2013                      11                  $25,000                   1
           2013                      11                  $28,000                   2
           2013                      11                  $31,000                   1
           2013                      11                  $49,000                   1
           2013                      11                  $52,000                   1
           2013                      11                  $60,000                   1
           2013                      11                  $90,000                   1
           2013                      11                  $91,500                   1
           2013                      11                  $94,000                   1
           2013                      11                  $96,000                   1
           2013                      11                  $99,000                   1
           2013                      11                 $100,000                   1
           2013                      11                 $144,000                   1
           2013                      11                 $146,000                   1
           2013                      11                 $153,000                   1
           2013                      11                 $190,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      11                 $210,000                   1
           2013                      11                 $290,000                   1
           2013                      11                 $475,000                   1
           2013                      11                 $650,000                   1
           2013                      11                $1,119,166                  1
           2013                      12                  $27,000                   1
           2013                      12                  $28,000                   2
           2013                      12                  $30,000                   1
           2013                      12                  $34,000                   1
           2013                      12                  $45,000                   1
           2013                      12                  $46,000                   2
           2013                      12                  $48,000                   1
           2013                      12                  $52,000                   1
           2013                      12                  $54,000                   1
           2013                      12                  $56,000                   1
           2013                      12                  $60,000                   1
           2013                      12                  $62,000                   1
           2013                      12                  $72,000                   1
           2013                      12                  $79,000                   1
           2013                      12                 $109,825                   1
           2013                      12                 $130,000                   1
           2013                      12                 $150,000                   1
           2013                      12                 $600,000                   1
           2013                      12                 $750,000                   1
           2013                      12                $1,000,000                  1
           2013                      12                $1,050,000                  1
           2013                      12                $1,100,000                  1
           2013                      12                $1,121,868                  1
           2013                      13                  $26,000                   1
           2013                      13                  $30,000                   1
           2013                      13                  $34,000                   2
           2013                      13                  $35,000                   1
           2013                      13                  $48,000                   1
           2013                      13                  $55,000                   1
           2013                      13                  $65,000                   1
           2013                      13                  $68,000                   1
           2013                      13                  $79,000                   1
           2013                      13                 $113,000                   1
           2013                      13                 $400,000                   1
           2013                      13                 $850,000                   1
           2013                      13                $1,244,460                  1
           2013                      13                $2,750,000                  1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      14                  $27,000                   1
           2013                      14                  $29,000                   1
           2013                      14                  $50,000                   1
           2013                      14                  $54,000                   1
           2013                      14                  $58,000                   1
           2013                      14                  $59,000                   1
           2013                      14                  $70,000                   1
           2013                      14                 $124,000                   1
           2013                      14                 $245,000                   1
           2013                      14                 $350,000                   1
           2013                      14                 $400,000                   1
           2013                      14                $1,173,560                  1
           2013                      15                  $21,000                   1
           2013                      15                  $29,000                   1
           2013                      15                  $30,000                   1
           2013                      15                  $32,000                   1
           2013                      15                  $42,000                   1
           2013                      15                  $43,000                   1
           2013                      15                  $45,000                   1
           2013                      15                  $48,750                   1
           2013                      15                  $55,000                   1
           2013                      15                  $57,000                   1
           2013                      15                 $109,000                   1
           2013                      15                 $110,000                   1
           2013                      15                 $200,000                   1
           2013                      15                 $290,000                   1
           2013                      16                  $43,000                   1
           2013                      16                  $53,000                   1
           2013                      16                  $65,000                   1
           2013                      16                  $68,000                   1
           2013                      16                  $73,000                   1
           2013                      16                  $80,000                   1
           2013                      16                  $83,000                   1
           2013                      16                 $102,000                   1
           2013                      16                 $116,000                   1
           2013                      16                 $130,000                   1
           2013                      16                 $300,000                   1
           2013                      16                 $800,000                   1
           2013                      17                  $24,000                   1
           2013                      17                  $62,000                   1
           2013                      17                  $66,000                   1
           2013                      17                  $70,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2013                      17                  $71,000                   1
           2013                      17                  $84,000                   1
           2013                      17                  $89,000                   1
           2013                      17                  $93,000                   1
           2013                      17                 $122,000                   1
           2013                      17                 $515,000                   1
           2013                      17                $3,222,253                  1
           2013                      18                  $24,000                   1
           2013                      18                  $36,000                   1
           2013                      18                  $48,000                   1
           2013                      18                  $49,000                   1
           2013                      18                  $65,000                   1
           2013                      18                  $69,000                   1
           2013                      18                  $83,000                   1
           2013                      18                 $120,000                   1
           2013                      18                 $300,000                   1
           2013                      18                 $550,000                   1
           2013                      18                $4,374,326                  1
           2013                      19                  $24,000                   1
           2013                      19                  $76,000                   1
           2013                      19                 $125,000                   1
           2013                      19                 $180,000                   1
           2013                      19                 $450,000                   1
           2013                      20                  $79,000                   1
           2013                      20                 $134,000                   1
           2013                      20                $4,116,690                  1
           2013                      21                  $42,000                   1
           2013                      21                  $55,000                   1
           2013                      21                  $88,000                   1
           2013                      21                 $415,000                   1
           2013                      21                $3,555,344                  1
           2013                      22                  $54,000                    1
           2013                      22                  $93,000                    1
           2013                      22                 $415,000                    1
           2013                      23                  $88,000                    1
           2014                       1                   $8,000                    4
           2014                       1                   $9,000                    2
           2014                       1                  $10,000                    5
           2014                       1                  $10,500                    1
           2014                       1                  $11,000                   90
           2014                       1                  $12,000                    2
           2014                       1                  $13,000                    8



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      1                   $14,000                    4
           2014                      1                   $16,000                    7
           2014                      1                   $18,000                    7
           2014                      1                   $19,000                    5
           2014                      1                   $20,000                    3
           2014                      1                   $21,000                   32
           2014                      1                   $22,000                   19
           2014                      1                   $25,000                    1
           2014                      1                   $26,000                    5
           2014                      1                   $29,000                    1
           2014                      1                   $30,000                    1
           2014                      1                   $35,000                    1
           2014                      1                   $36,000                    1
           2014                      1                   $50,000                    1
           2014                      1                   $56,000                    1
           2014                      1                   $58,000                    6
           2014                      1                   $64,000                    1
           2014                      1                   $66,000                   16
           2014                      1                   $70,000                    1
           2014                      1                  $118,000                    1
           2014                      1                  $120,000                    1
           2014                      1                  $125,000                    1
           2014                      1                  $253,000                    1
           2014                      2                   $10,000                    4
           2014                      2                   $11,000                   32
           2014                      2                   $12,000                    5
           2014                      2                   $13,000                   18
           2014                      2                   $14,000                    2
           2014                      2                   $15,000                    8
           2014                      2                   $16,000                    2
           2014                      2                   $17,000                    1
           2014                      2                   $18,000                    2
           2014                      2                   $19,000                    2
           2014                      2                   $20,000                    8
           2014                      2                   $21,000                   10
           2014                      2                   $22,000                   12
           2014                      2                   $23,000                    4
           2014                      2                   $24,000                    1
           2014                      2                   $25,000                   18
           2014                      2                   $26,000                    8
           2014                      2                   $27,000                    1
           2014                      2                   $28,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      2                   $29,000                    1
           2014                      2                   $30,000                    3
           2014                      2                   $33,000                    1
           2014                      2                   $34,000                    2
           2014                      2                   $35,000                    3
           2014                      2                   $45,000                    1
           2014                      2                   $58,000                    4
           2014                      2                   $60,000                    4
           2014                      2                   $62,000                    1
           2014                      2                   $66,000                    3
           2014                      2                   $70,000                    5
           2014                      2                   $74,000                    1
           2014                      2                   $78,000                    1
           2014                      2                   $86,000                    1
           2014                      2                  $114,000                    1
           2014                      2                  $115,000                    1
           2014                      2                  $116,000                    1
           2014                      2                  $155,000                    1
           2014                      2                  $250,000                    1
           2014                      3                   $11,000                    8
           2014                      3                   $12,000                    5
           2014                      3                   $13,000                   12
           2014                      3                   $14,000                    5
           2014                      3                   $15,000                    7
           2014                      3                   $17,000                    2
           2014                      3                   $18,000                    1
           2014                      3                   $20,000                    4
           2014                      3                   $21,000                    5
           2014                      3                   $22,000                    4
           2014                      3                   $23,000                    1
           2014                      3                   $24,000                    2
           2014                      3                   $25,000                    9
           2014                      3                   $26,000                    8
           2014                      3                   $28,000                    2
           2014                      3                   $29,000                    3
           2014                      3                   $30,000                    4
           2014                      3                   $34,000                    1
           2014                      3                   $35,000                    5
           2014                      3                   $38,000                    1
           2014                      3                   $39,000                    1
           2014                      3                   $41,000                    1
           2014                      3                   $45,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      3                   $48,000                    1
           2014                      3                   $58,000                    1
           2014                      3                   $60,000                    2
           2014                      3                   $61,000                    1
           2014                      3                   $62,000                    1
           2014                      3                   $66,000                    4
           2014                      3                   $69,000                    1
           2014                      3                   $70,000                    2
           2014                      3                   $78,000                    2
           2014                      3                   $80,000                    1
           2014                      3                   $87,000                    1
           2014                      3                  $106,000                    2
           2014                      3                  $108,000                    1
           2014                      3                  $136,000                    1
           2014                      3                  $138,000                    1
           2014                      3                  $150,000                    1
           2014                      3                  $153,000                    1
           2014                      3                  $160,000                    1
           2014                      3                  $265,000                    1
           2014                      3                  $300,000                    1
           2014                      3                  $870,969                    1
           2014                      4                   $10,000                    1
           2014                      4                   $11,000                    1
           2014                      4                   $13,000                   12
           2014                      4                   $14,000                    2
           2014                      4                   $15,000                    2
           2014                      4                   $16,000                    1
           2014                      4                   $17,000                    1
           2014                      4                   $18,000                    7
           2014                      4                   $19,000                    1
           2014                      4                   $20,000                    4
           2014                      4                   $21,000                    1
           2014                      4                   $22,000                    2
           2014                      4                   $23,000                    1
           2014                      4                   $24,000                    1
           2014                      4                   $25,000                    7
           2014                      4                   $26,000                    4
           2014                      4                   $28,000                    2
           2014                      4                   $29,000                    3
           2014                      4                   $30,000                    3
           2014                      4                   $31,000                    3
           2014                      4                   $33,000                    2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      4                   $34,000                   3
           2014                      4                   $35,000                   1
           2014                      4                   $36,000                   2
           2014                      4                   $38,000                   1
           2014                      4                   $39,000                   1
           2014                      4                   $40,000                   1
           2014                      4                   $49,000                   1
           2014                      4                   $52,000                   2
           2014                      4                   $58,000                   1
           2014                      4                   $60,000                   1
           2014                      4                   $65,000                   1
           2014                      4                   $67,000                   1
           2014                      4                   $70,000                   1
           2014                      4                   $72,000                   1
           2014                      4                   $74,000                   3
           2014                      4                   $80,000                   1
           2014                      4                   $83,000                   1
           2014                      4                   $90,000                   1
           2014                      4                   $98,000                   1
           2014                      4                  $100,000                   2
           2014                      4                  $120,000                   1
           2014                      4                  $121,000                   1
           2014                      4                  $133,000                   1
           2014                      4                  $167,000                   1
           2014                      4                  $195,000                   1
           2014                      4                  $200,000                   2
           2014                      4                  $250,000                   1
           2014                      4                  $274,000                   1
           2014                      4                  $428,571                   1
           2014                      4                 $1,063,688                  1
           2014                      5                   $12,000                   1
           2014                      5                   $13,000                   8
           2014                      5                   $15,000                   2
           2014                      5                   $16,000                   1
           2014                      5                   $17,000                   4
           2014                      5                   $18,000                   1
           2014                      5                   $19,000                   3
           2014                      5                   $20,000                   2
           2014                      5                   $24,000                   3
           2014                      5                   $25,000                   2
           2014                      5                   $26,000                   1
           2014                      5                   $27,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      5                   $28,000                   1
           2014                      5                   $30,000                   2
           2014                      5                   $31,000                   1
           2014                      5                   $33,000                   2
           2014                      5                   $34,000                   1
           2014                      5                   $36,000                   2
           2014                      5                   $37,000                   2
           2014                      5                   $39,000                   1
           2014                      5                   $40,000                   1
           2014                      5                   $45,000                   3
           2014                      5                   $46,000                   1
           2014                      5                   $54,000                   1
           2014                      5                   $55,000                   1
           2014                      5                   $60,000                   1
           2014                      5                   $62,000                   1
           2014                      5                   $74,000                   1
           2014                      5                   $78,000                   2
           2014                      5                   $79,000                   1
           2014                      5                   $80,000                   1
           2014                      5                   $89,000                   1
           2014                      5                  $105,000                   1
           2014                      5                  $108,000                   1
           2014                      5                  $110,000                   1
           2014                      5                  $149,000                   1
           2014                      5                  $310,143                   1
           2014                      5                  $575,000                   1
           2014                      6                   $13,000                   3
           2014                      6                   $15,000                   2
           2014                      6                   $17,000                   2
           2014                      6                   $18,000                   2
           2014                      6                   $19,000                   2
           2014                      6                   $20,000                   1
           2014                      6                   $21,000                   2
           2014                      6                   $21,500                   1
           2014                      6                   $25,000                   4
           2014                      6                   $26,000                   4
           2014                      6                   $27,000                   1
           2014                      6                   $28,000                   1
           2014                      6                   $29,000                   2
           2014                      6                   $30,000                   1
           2014                      6                   $33,000                   2
           2014                      6                   $34,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      6                   $37,000                   1
           2014                      6                   $42,000                   1
           2014                      6                   $44,000                   1
           2014                      6                   $45,000                   2
           2014                      6                   $47,000                   1
           2014                      6                   $48,000                   1
           2014                      6                   $50,000                   3
           2014                      6                   $52,000                   1
           2014                      6                   $70,000                   1
           2014                      6                   $75,000                   1
           2014                      6                   $78,000                   1
           2014                      6                   $88,000                   1
           2014                      6                   $90,000                   2
           2014                      6                   $95,000                   1
           2014                      6                  $100,000                   1
           2014                      6                  $180,000                   1
           2014                      6                  $212,000                   1
           2014                      6                  $337,073                   1
           2014                      6                  $471,428                   1
           2014                      6                  $500,000                   1
           2014                      6                  $510,000                   1
           2014                      7                   $15,000                   4
           2014                      7                   $19,000                   2
           2014                      7                   $20,000                   2
           2014                      7                   $21,000                   1
           2014                      7                   $23,000                   2
           2014                      7                   $24,000                   3
           2014                      7                   $25,000                   1
           2014                      7                   $28,000                   1
           2014                      7                   $29,000                   1
           2014                      7                   $30,000                   1
           2014                      7                   $33,000                   2
           2014                      7                   $34,000                   1
           2014                      7                   $38,000                   1
           2014                      7                   $41,000                   1
           2014                      7                   $42,000                   2
           2014                      7                   $45,000                   1
           2014                      7                   $46,000                   1
           2014                      7                   $49,000                   1
           2014                      7                   $51,000                   1
           2014                      7                   $53,000                   1
           2014                      7                   $55,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      7                   $56,000                   1
           2014                      7                   $61,000                   1
           2014                      7                   $78,000                   1
           2014                      7                   $82,000                   2
           2014                      7                   $86,000                   1
           2014                      7                   $92,000                   1
           2014                      7                  $117,000                   1
           2014                      7                  $125,000                   1
           2014                      7                  $155,000                   1
           2014                      7                  $162,000                   1
           2014                      7                  $165,000                   1
           2014                      7                  $350,000                   1
           2014                      8                   $11,000                   1
           2014                      8                   $15,000                   3
           2014                      8                   $17,000                   1
           2014                      8                   $20,000                   1
           2014                      8                   $21,000                   1
           2014                      8                   $22,000                   1
           2014                      8                   $23,000                   2
           2014                      8                   $29,000                   2
           2014                      8                   $30,000                   2
           2014                      8                   $31,000                   1
           2014                      8                   $35,000                   1
           2014                      8                   $37,000                   2
           2014                      8                   $42,000                   1
           2014                      8                   $44,000                   1
           2014                      8                   $46,000                   1
           2014                      8                   $48,000                   1
           2014                      8                   $50,000                   1
           2014                      8                   $58,000                   1
           2014                      8                   $59,000                   1
           2014                      8                   $69,000                   1
           2014                      8                   $74,000                   1
           2014                      8                   $79,000                   1
           2014                      8                   $82,000                   1
           2014                      8                   $86,000                   1
           2014                      8                   $97,000                   1
           2014                      8                   $98,000                   1
           2014                      8                  $125,000                   1
           2014                      8                  $148,000                   1
           2014                      8                  $200,000                   1
           2014                      8                  $224,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                       8                 $325,000                   1
           2014                       8                 $386,000                   1
           2014                       8                 $793,688                   1
           2014                       9                  $13,000                   1
           2014                       9                  $18,000                   2
           2014                       9                  $19,000                   1
           2014                       9                  $20,000                   1
           2014                       9                  $22,000                   1
           2014                       9                  $23,000                   1
           2014                       9                  $28,000                   1
           2014                       9                  $33,000                   2
           2014                       9                  $34,000                   2
           2014                       9                  $37,000                   2
           2014                       9                  $46,000                   1
           2014                       9                  $49,000                   1
           2014                       9                  $50,000                   1
           2014                       9                  $52,000                   1
           2014                       9                  $55,000                   2
           2014                       9                  $64,000                   1
           2014                       9                  $68,000                   1
           2014                       9                  $70,000                   1
           2014                       9                  $94,000                   1
           2014                       9                 $100,000                   1
           2014                       9                 $102,000                   1
           2014                       9                 $109,000                   1
           2014                       9                 $130,000                   1
           2014                       9                 $134,000                   2
           2014                       9                 $150,000                   1
           2014                       9                 $198,000                   1
           2014                       9                 $220,000                   1
           2014                       9                 $247,500                   1
           2014                       9                 $250,000                   1
           2014                       9                 $500,000                   1
           2014                      10                  $16,000                   1
           2014                      10                  $19,000                   1
           2014                      10                  $20,000                   1
           2014                      10                  $22,000                   1
           2014                      10                  $29,000                   2
           2014                      10                  $30,000                   1
           2014                      10                  $32,000                   1
           2014                      10                  $35,000                   1
           2014                      10                  $36,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      10                  $47,000                   1
           2014                      10                  $62,000                   1
           2014                      10                  $70,000                   2
           2014                      10                  $72,000                   1
           2014                      10                  $86,000                   1
           2014                      10                  $92,000                   1
           2014                      10                 $102,000                   1
           2014                      10                 $106,000                   1
           2014                      10                 $110,000                   1
           2014                      10                 $111,000                   1
           2014                      10                 $165,000                   1
           2014                      10                 $175,000                   2
           2014                      10                 $230,000                   1
           2014                      10                 $269,000                   1
           2014                      10                 $370,000                   1
           2014                      10                 $650,000                   1
           2014                      10                 $800,000                   1
           2014                      11                  $13,000                   1
           2014                      11                  $21,000                   1
           2014                      11                  $22,000                   1
           2014                      11                  $26,000                   1
           2014                      11                  $28,000                   1
           2014                      11                  $29,000                   1
           2014                      11                  $30,000                   1
           2014                      11                  $35,000                   2
           2014                      11                  $39,000                   1
           2014                      11                  $44,000                   1
           2014                      11                  $47,000                   1
           2014                      11                  $53,000                   1
           2014                      11                  $57,000                   1
           2014                      11                  $66,000                   1
           2014                      11                  $70,000                   1
           2014                      11                  $73,000                   1
           2014                      11                  $74,000                   1
           2014                      11                  $75,000                   1
           2014                      11                  $98,000                   1
           2014                      11                 $187,000                   1
           2014                      11                 $206,000                   1
           2014                      11                 $246,000                   1
           2014                      11                 $273,000                   1
           2014                      11                 $400,000                   1
           2014                      11                 $638,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      12                  $18,000                   1
           2014                      12                  $23,000                   1
           2014                      12                  $25,000                   1
           2014                      12                  $26,000                   1
           2014                      12                  $37,000                   1
           2014                      12                  $54,000                   1
           2014                      12                  $56,000                   1
           2014                      12                  $60,000                   1
           2014                      12                  $73,000                   1
           2014                      12                  $90,000                   1
           2014                      12                 $101,000                   1
           2014                      12                 $110,000                   1
           2014                      12                 $116,000                   1
           2014                      12                 $152,000                   1
           2014                      12                 $225,000                   1
           2014                      12                 $275,000                   1
           2014                      13                  $15,000                   1
           2014                      13                  $30,000                   1
           2014                      13                  $59,000                   1
           2014                      13                  $62,000                   1
           2014                      13                  $71,000                   1
           2014                      13                  $72,000                   1
           2014                      13                  $82,000                   1
           2014                      13                 $121,000                   1
           2014                      13                 $156,000                   1
           2014                      13                 $164,000                   1
           2014                      13                 $185,000                   1
           2014                      13                 $194,465                   1
           2014                      13                 $200,000                   1
           2014                      13                 $285,000                   1
           2014                      13                 $335,000                   1
           2014                      13                 $530,000                   1
           2014                      13                 $900,000                   1
           2014                      14                  $40,000                   1
           2014                      14                  $42,000                   1
           2014                      14                  $43,000                   1
           2014                      14                  $45,000                   1
           2014                      14                  $54,000                   1
           2014                      14                  $63,000                   1
           2014                      14                  $64,000                   1
           2014                      14                  $68,000                   1
           2014                      14                 $110,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      14                 $133,000                   1
           2014                      14                 $195,000                   1
           2014                      14                 $430,000                   1
           2014                      14                 $550,000                   1
           2014                      14                 $720,000                   1
           2014                      15                  $35,000                   1
           2014                      15                  $49,000                   1
           2014                      15                  $59,000                   1
           2014                      15                  $65,000                   2
           2014                      15                  $72,000                   1
           2014                      15                 $112,000                   1
           2014                      15                 $134,000                   1
           2014                      15                 $136,000                   1
           2014                      15                 $149,000                   1
           2014                      15                 $159,000                   1
           2014                      15                $1,237,880                  1
           2014                      16                  $36,000                   1
           2014                      16                  $70,000                   1
           2014                      16                  $84,000                   1
           2014                      16                 $106,000                   1
           2014                      16                 $151,000                   1
           2014                      16                 $285,000                   1
           2014                      17                  $95,000                   1
           2014                      17                 $105,000                   1
           2014                      17                 $106,000                   1
           2014                      17                 $116,000                   2
           2014                      17                 $155,000                   1
           2014                      17                 $207,000                   1
           2014                      17                 $550,000                   1
           2014                      18                  $35,000                   1
           2014                      18                  $38,000                   1
           2014                      18                  $61,000                   1
           2014                      18                  $75,000                   1
           2014                      18                 $114,000                   1
           2014                      18                 $122,000                   1
           2014                      18                 $128,000                   1
           2014                      18                 $162,000                   1
           2014                      18                 $395,000                   1
           2014                      18                 $550,000                   1
           2014                      19                  $41,000                   1
           2014                      19                 $115,000                   1
           2014                      19                 $138,000                   2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2014                      19                 $675,000                    1
           2014                      20                  $27,000                    1
           2014                      20                  $50,000                    1
           2014                      20                  $55,000                    1
           2014                      20                  $56,000                    1
           2014                      20                  $73,000                    1
           2014                      20                 $300,000                    1
           2014                      21                  $27,000                    1
           2014                      21                 $150,000                    1
           2014                      21                 $500,000                    1
           2014                      22                  $47,000                    1
           2014                      22                  $87,000                    1
           2014                      22                 $375,000                    1
           2014                      23                 $136,000                    1
           2014                      23                 $275,000                    1
           2014                      23                 $415,000                    1
           2015                       1                   $8,000                    4
           2015                       1                  $10,000                   15
           2015                      1                   $11,000                    6
           2015                       1                  $12,000                   15
           2015                      1                   $12,600                    1
           2015                       1                  $13,000                    9
           2015                       1                  $14,000                    1
           2015                       1                  $15,000                    6
           2015                       1                  $16,000                    1
           2015                       1                  $17,000                    2
           2015                       1                  $20,000                   11
           2015                      1                   $21,000                    2
           2015                       1                  $22,000                    2
           2015                       1                  $23,000                    2
           2015                       1                  $24,000                    5
           2015                       1                  $25,000                   16
           2015                      1                   $26,000                    4
           2015                       1                  $29,000                    2
           2015                       1                  $30,000                    2
           2015                       1                  $37,000                    1
           2015                       1                  $38,000                    1
           2015                       1                  $39,000                    1
           2015                       1                  $40,000                    2
           2015                       1                  $51,000                    1
           2015                       1                  $55,000                    1
           2015                       1                  $60,000                    2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      1                   $66,000                    3
           2015                      1                   $68,000                    1
           2015                      1                   $70,000                    4
           2015                      1                   $80,000                    1
           2015                      1                   $86,000                    1
           2015                      1                  $150,000                    1
           2015                      1                  $400,000                    1
           2015                      1                  $625,000                    1
           2015                      2                    $6,400                    1
           2015                      2                    $8,000                    4
           2015                      2                    $9,600                    1
           2015                      2                   $10,000                   12
           2015                      2                   $11,000                    9
           2015                      2                   $12,000                   15
           2015                      2                   $13,000                   13
           2015                      2                   $14,000                    5
           2015                      2                   $14,400                    1
           2015                      2                   $15,000                    2
           2015                      2                   $16,000                    3
           2015                      2                   $17,000                    1
           2015                      2                   $19,000                    1
           2015                      2                   $20,000                    8
           2015                      2                   $21,000                    3
           2015                      2                   $21,600                    1
           2015                      2                   $22,000                    5
           2015                      2                   $23,000                    5
           2015                      2                   $24,000                    6
           2015                      2                   $25,000                   10
           2015                      2                   $26,000                    2
           2015                      2                   $28,000                    1
           2015                      2                   $29,000                    2
           2015                      2                   $30,000                    3
           2015                      2                   $31,400                    1
           2015                      2                   $39,000                    1
           2015                      2                   $50,000                    1
           2015                      2                   $60,000                    3
           2015                      2                   $66,000                    2
           2015                      2                   $70,000                   12
           2015                      2                   $72,000                    1
           2015                      2                   $74,000                    3
           2015                      2                   $75,000                    1
           2015                      2                   $80,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      2                   $84,000                    1
           2015                      2                   $86,000                    2
           2015                      2                  $110,000                    1
           2015                      2                  $254,000                    1
           2015                      2                 $1,488,885                   1
           2015                      3                   $10,000                    7
           2015                      3                   $11,000                    4
           2015                      3                   $12,000                   16
           2015                      3                   $13,000                    4
           2015                      3                   $14,000                    8
           2015                      3                   $15,000                    9
           2015                      3                   $17,000                    1
           2015                      3                   $18,000                    2
           2015                      3                   $20,000                    9
           2015                      3                   $21,000                    2
           2015                      3                   $22,000                    2
           2015                      3                   $23,000                    4
           2015                      3                   $24,000                    5
           2015                      3                   $25,000                    8
           2015                      3                   $26,000                    3
           2015                      3                   $28,000                    8
           2015                      3                   $29,000                    1
           2015                      3                   $30,000                    2
           2015                      3                   $33,000                    1
           2015                      3                   $36,000                    1
           2015                      3                   $39,000                    2
           2015                      3                   $42,000                    1
           2015                      3                   $43,000                    1
           2015                      3                   $48,000                    1
           2015                      3                   $60,000                    3
           2015                      3                   $62,000                    1
           2015                      3                   $65,000                    1
           2015                      3                   $70,000                    6
           2015                      3                   $74,000                    4
           2015                      3                   $80,000                    1
           2015                      3                   $87,000                    1
           2015                      3                  $100,000                    1
           2015                      3                  $300,000                    1
           2015                      3                 $1,100,000                   1
           2015                      4                   $10,000                    1
           2015                      4                   $11,000                    1
           2015                      4                   $12,000                    3



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      4                   $13,000                    3
           2015                      4                   $14,000                    3
           2015                      4                   $15,000                    9
           2015                      4                   $16,000                    4
           2015                      4                   $17,000                   11
           2015                      4                   $17,500                    1
           2015                      4                   $18,000                    5
           2015                      4                   $19,000                    2
           2015                      4                   $19,600                    1
           2015                      4                   $20,000                    4
           2015                      4                   $21,000                    2
           2015                      4                   $22,000                    1
           2015                      4                   $23,000                    1
           2015                      4                   $24,000                    4
           2015                      4                   $25,000                    4
           2015                      4                   $26,000                    1
           2015                      4                   $27,000                    2
           2015                      4                   $28,000                    3
           2015                      4                   $29,000                    1
           2015                      4                   $30,000                    3
           2015                      4                   $31,000                    1
           2015                      4                   $32,000                    2
           2015                      4                   $33,000                    3
           2015                      4                   $35,000                    6
           2015                      4                   $36,000                    4
           2015                      4                   $37,000                    1
           2015                      4                   $38,000                    1
           2015                      4                   $39,000                    2
           2015                      4                   $40,000                    1
           2015                      4                   $43,000                    1
           2015                      4                   $44,000                    1
           2015                      4                   $45,000                    1
           2015                      4                   $50,000                    1
           2015                      4                   $54,000                    1
           2015                      4                   $56,000                    1
           2015                      4                   $60,000                    1
           2015                      4                   $70,000                    2
           2015                      4                   $74,000                    1
           2015                      4                   $75,000                    1
           2015                      4                   $80,000                    2
           2015                      4                   $84,000                    1
           2015                      4                   $94,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      4                  $200,000                   1
           2015                      4                  $375,000                   1
           2015                      5                   $10,000                   1
           2015                      5                   $12,000                   3
           2015                      5                   $13,000                   2
           2015                      5                   $14,000                   1
           2015                      5                   $15,000                   3
           2015                      5                   $16,000                   1
           2015                      5                   $17,000                   4
           2015                      5                   $18,000                   1
           2015                      5                   $19,000                   1
           2015                      5                   $20,000                   6
           2015                      5                   $21,000                   1
           2015                      5                   $23,000                   1
           2015                      5                   $25,000                   1
           2015                      5                   $26,000                   1
           2015                      5                   $27,000                   2
           2015                      5                   $28,000                   1
           2015                      5                   $29,000                   3
           2015                      5                   $30,000                   1
           2015                      5                   $31,000                   1
           2015                      5                   $33,000                   1
           2015                      5                   $34,000                   3
           2015                      5                   $36,000                   2
           2015                      5                   $39,000                   1
           2015                      5                   $40,000                   1
           2015                      5                   $41,000                   1
           2015                      5                   $42,000                   1
           2015                      5                   $43,000                   1
           2015                      5                   $44,000                   1
           2015                      5                   $47,000                   2
           2015                      5                   $48,000                   3
           2015                      5                   $51,000                   1
           2015                      5                   $60,000                   1
           2015                      5                   $61,000                   1
           2015                      5                   $63,000                   1
           2015                      5                   $70,000                   1
           2015                      5                   $78,000                   1
           2015                      5                   $80,000                   1
           2015                      5                   $82,000                   1
           2015                      5                   $86,000                   2
           2015                      5                   $87,400                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      5                   $90,000                   1
           2015                      5                   $92,000                   1
           2015                      5                  $102,000                   1
           2015                      5                  $104,000                   1
           2015                      5                  $129,000                   1
           2015                      5                  $191,000                   1
           2015                      5                  $225,000                   1
           2015                      5                  $245,000                   2
           2015                      5                 $1,140,000                  1
           2015                      5                 $1,458,282                  1
           2015                      6                   $10,000                   2
           2015                      6                   $12,000                   2
           2015                      6                   $13,000                   1
           2015                      6                   $14,400                   1
           2015                      6                   $15,000                   2
           2015                      6                   $16,000                   2
           2015                      6                   $17,000                   1
           2015                      6                   $18,000                   2
           2015                      6                   $19,000                   2
           2015                      6                   $20,000                   2
           2015                      6                   $21,000                   1
           2015                      6                   $23,000                   1
           2015                      6                   $24,000                   2
           2015                      6                   $27,300                   1
           2015                      6                   $28,000                   1
           2015                      6                   $29,000                   1
           2015                      6                   $30,000                   1
           2015                      6                   $32,000                   2
           2015                      6                   $34,000                   1
           2015                      6                   $35,000                   1
           2015                      6                   $36,000                   1
           2015                      6                   $37,000                   3
           2015                      6                   $39,000                   1
           2015                      6                   $41,000                   1
           2015                      6                   $42,000                   1
           2015                      6                   $43,000                   1
           2015                      6                   $44,000                   2
           2015                      6                   $45,000                   1
           2015                      6                   $49,000                   1
           2015                      6                   $50,000                   1
           2015                      6                  $100,000                   1
           2015                      6                  $106,000                   3



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      6                  $108,000                   1
           2015                      6                  $135,000                   1
           2015                      6                  $141,000                   1
           2015                      6                  $200,000                   1
           2015                      6                  $630,000                   1
           2015                      6                 $1,000,000                  1
           2015                      6                 $2,642,204                  1
           2015                      6                 $3,285,000                  1
           2015                      7                   $14,000                   1
           2015                      7                   $15,000                   2
           2015                      7                   $19,000                   2
           2015                      7                   $20,000                   4
           2015                      7                   $21,000                   2
           2015                      7                   $23,000                   1
           2015                      7                   $25,000                   2
           2015                      7                   $29,000                   1
           2015                      7                   $30,000                   1
           2015                      7                   $31,000                   1
           2015                      7                   $34,000                   1
           2015                      7                   $35,500                   1
           2015                      7                   $40,000                   2
           2015                      7                   $41,400                   1
           2015                      7                   $46,000                   1
           2015                      7                   $47,000                   1
           2015                      7                   $52,000                   1
           2015                      7                   $53,000                   2
           2015                      7                   $54,000                   1
           2015                      7                   $58,000                   1
           2015                      7                   $70,000                   1
           2015                      7                   $71,000                   1
           2015                      7                   $80,000                   1
           2015                      7                   $82,000                   1
           2015                      7                   $86,000                   1
           2015                      7                   $88,000                   1
           2015                      7                   $90,000                   1
           2015                      7                   $92,000                   1
           2015                      7                  $100,000                   1
           2015                      7                  $116,000                   1
           2015                      7                  $117,000                   1
           2015                      7                  $142,000                   1
           2015                      7                  $150,000                   1
           2015                      7                  $156,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      7                  $179,000                   1
           2015                      7                  $220,000                   1
           2015                      7                  $390,000                   1
           2015                      7                  $464,286                   1
           2015                      7                 $4,476,662                  1
           2015                      7                 $4,536,932                  1
           2015                      8                   $14,000                   1
           2015                      8                   $19,000                   1
           2015                      8                   $21,000                   1
           2015                      8                   $22,000                   1
           2015                      8                   $26,000                   1
           2015                      8                   $27,000                   2
           2015                      8                   $30,000                   1
           2015                      8                   $35,000                   1
           2015                      8                   $35,700                   1
           2015                      8                   $39,000                   1
           2015                      8                   $44,000                   1
           2015                      8                   $45,000                   1
           2015                      8                   $46,000                   1
           2015                      8                   $49,000                   1
           2015                      8                   $51,000                   1
           2015                      8                   $53,000                   1
           2015                      8                   $58,000                   1
           2015                      8                   $80,000                   1
           2015                      8                   $84,000                   1
           2015                      8                   $94,000                   1
           2015                      8                  $100,000                   2
           2015                      8                  $108,000                   1
           2015                      8                  $110,000                   1
           2015                      8                  $121,000                   1
           2015                      8                  $123,500                   1
           2015                      8                  $152,000                   1
           2015                      8                  $161,000                   1
           2015                      8                  $164,000                   1
           2015                      8                  $175,000                   1
           2015                      8                  $542,857                   1
           2015                      8                 $2,377,699                  1
           2015                      9                   $21,000                   1
           2015                      9                   $26,000                   1
           2015                      9                   $33,000                   1
           2015                      9                   $40,000                   2
           2015                      9                   $46,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                       9                  $48,000                   1
           2015                       9                  $50,000                   1
           2015                       9                  $51,000                   1
           2015                       9                  $54,000                   1
           2015                       9                  $60,000                   1
           2015                       9                  $73,000                   1
           2015                       9                  $79,000                   1
           2015                       9                  $86,000                   1
           2015                       9                  $91,000                   1
           2015                       9                  $96,000                   1
           2015                       9                  $98,000                   3
           2015                       9                 $116,000                   2
           2015                       9                 $125,000                   1
           2015                       9                 $707,301                   1
           2015                      10                  $16,000                   1
           2015                      10                  $18,000                   1
           2015                      10                  $24,000                   1
           2015                      10                  $25,000                   2
           2015                      10                  $26,000                   1
           2015                      10                  $28,000                   1
           2015                      10                  $29,000                   1
           2015                      10                  $33,000                   1
           2015                      10                  $36,000                   1
           2015                      10                  $38,000                   1
           2015                      10                  $47,000                   1
           2015                      10                  $57,000                   1
           2015                      10                  $60,000                   2
           2015                      10                  $71,000                   3
           2015                      10                  $84,000                   1
           2015                      10                  $88,000                   1
           2015                      10                 $110,000                   1
           2015                      10                 $144,000                   1
           2015                      10                 $171,000                   1
           2015                      10                 $375,000                   1
           2015                      10                 $375,318                   1
           2015                      10                 $395,000                   1
           2015                      10                $2,073,083                  1
           2015                      11                  $16,600                   1
           2015                      11                  $18,000                   1
           2015                      11                  $23,000                   1
           2015                      11                  $25,000                   1
           2015                      11                  $31,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      11                  $32,000                   1
           2015                      11                  $33,000                   1
           2015                      11                  $34,000                   1
           2015                      11                  $35,000                   1
           2015                      11                  $36,000                   1
           2015                      11                  $38,500                   1
           2015                      11                  $47,000                   1
           2015                      11                  $55,000                   1
           2015                      11                  $63,000                   1
           2015                      11                  $65,000                   1
           2015                      11                 $104,000                   1
           2015                      11                 $110,000                   1
           2015                      11                 $200,000                   1
           2015                      11                 $285,000                   1
           2015                      11                 $345,000                   1
           2015                      11                 $400,000                   1
           2015                      11                 $700,000                   2
           2015                      11                 $800,000                   1
           2015                      12                  $22,000                   1
           2015                      12                  $27,000                   2
           2015                      12                  $28,000                   2
           2015                      12                  $36,000                   2
           2015                      12                  $39,000                   1
           2015                      12                  $41,000                   1
           2015                      12                  $47,000                   1
           2015                      12                  $58,000                   1
           2015                      12                  $63,000                   1
           2015                      12                  $69,500                   1
           2015                      12                  $73,000                   1
           2015                      12                  $75,000                   1
           2015                      12                 $107,000                   1
           2015                      12                 $114,000                   2
           2015                      12                 $118,000                   1
           2015                      12                 $130,000                   1
           2015                      12                 $160,000                   1
           2015                      12                 $262,000                   1
           2015                      12                 $290,000                   1
           2015                      12                 $400,000                   1
           2015                      12                 $409,000                   1
           2015                      13                  $25,000                   2
           2015                      13                  $26,000                   1
           2015                      13                  $30,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      13                  $36,000                   1
           2015                      13                  $38,000                   1
           2015                      13                  $42,000                   1
           2015                      13                  $53,000                   1
           2015                      13                  $54,000                   1
           2015                      13                  $64,000                   1
           2015                      13                  $68,000                   1
           2015                      13                  $70,000                   1
           2015                      13                  $95,000                   1
           2015                      13                 $109,000                   1
           2015                      13                 $129,600                   1
           2015                      13                 $132,000                   1
           2015                      13                 $145,000                   1
           2015                      13                 $148,000                   1
           2015                      13                 $168,000                   1
           2015                      13                 $221,000                   1
           2015                      13                 $266,000                   1
           2015                      13                 $300,000                   1
           2015                      13                 $575,000                   1
           2015                      13                $1,100,000                  1
           2015                      14                  $29,000                   1
           2015                      14                  $37,000                   1
           2015                      14                  $41,000                   1
           2015                      14                  $50,000                   1
           2015                      14                  $53,000                   1
           2015                      14                  $58,000                   1
           2015                      14                  $59,000                   1
           2015                      14                  $62,000                   1
           2015                      14                  $80,000                   1
           2015                      14                  $94,000                   1
           2015                      14                  $95,000                   1
           2015                      14                 $127,000                   1
           2015                      14                 $175,000                   1
           2015                      14                 $186,000                   1
           2015                      14                 $187,000                   1
           2015                      14                 $600,000                   1
           2015                      14                 $956,184                   1
           2015                      14                $1,000,000                  1
           2015                      14                $1,025,318                  1
           2015                      15                  $51,000                   1
           2015                      15                  $58,000                   1
           2015                      15                  $63,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      15                  $74,000                   1
           2015                      15                  $82,000                   1
           2015                      15                  $84,000                   1
           2015                      15                  $94,000                   1
           2015                      15                  $98,000                   1
           2015                      15                 $121,000                   1
           2015                      15                 $128,000                   1
           2015                      15                 $200,000                   1
           2015                      15                 $500,000                   1
           2015                      15                 $600,000                   1
           2015                      15                 $650,000                   1
           2015                      15                $1,015,998                  1
           2015                      15                $1,050,000                  1
           2015                      16                  $50,000                   2
           2015                      16                  $51,000                   1
           2015                      16                  $67,000                   1
           2015                      16                  $73,000                   1
           2015                      16                  $74,000                   1
           2015                      16                  $84,000                   1
           2015                      16                 $102,000                   1
           2015                      16                 $134,000                   1
           2015                      16                 $138,000                   1
           2015                      16                 $140,000                   1
           2015                      16                 $165,000                   1
           2015                      16                 $280,000                   1
           2015                      16                $3,637,500                  1
           2015                      17                  $36,000                   1
           2015                      17                  $42,000                   1
           2015                      17                  $50,000                   1
           2015                      17                  $66,000                   1
           2015                      17                  $77,000                   1
           2015                      17                  $95,000                   1
           2015                      17                 $118,000                   1
           2015                      17                 $156,000                   1
           2015                      17                 $160,000                   1
           2015                      17                 $225,000                   1
           2015                      18                  $36,000                   1
           2015                      18                  $41,000                   1
           2015                      18                  $52,000                   1
           2015                      18                 $130,000                   1
           2015                      18                 $167,000                   1
           2015                      18                 $250,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      19                  $37,000                   1
           2015                      19                  $52,000                   1
           2015                      19                  $56,000                   2
           2015                      19                 $100,000                   1
           2015                      19                 $104,000                   1
           2015                      19                 $110,000                   1
           2015                      19                 $134,000                   1
           2015                      19                 $340,000                   1
           2015                      19                 $350,000                   1
           2015                      19                 $375,000                   1
           2015                      19                $3,429,082                  1
           2015                      20                  $34,000                   1
           2015                      20                  $41,000                   1
           2015                      20                  $59,000                   1
           2015                      20                 $103,000                   1
           2015                      20                 $107,000                   1
           2015                      20                 $111,000                   1
           2015                      20                 $113,000                   1
           2015                      20                 $135,000                   1
           2015                      20                 $161,000                   1
           2015                      20                 $435,000                   1
           2015                      20                 $525,000                   1
           2015                      21                  $76,000                   1
           2015                      21                  $87,000                   1
           2015                      21                 $105,000                   1
           2015                      21                 $106,000                   1
           2015                      21                 $190,000                   1
           2015                      21                 $200,000                   1
           2015                      21                 $500,000                   1
           2015                      22                  $48,000                   1
           2015                      22                  $58,000                   1
           2015                      22                  $76,000                   1
           2015                      22                 $161,000                   1
           2015                      23                 $425,000                   1
           2015                      24                  $81,000                   1
           2015                      24                  $90,000                   1
           2015                      24                 $450,000                   1
           2015                      24                 $475,000                   1
           2015                      25                  $53,000                   1
           2015                      25                  $81,000                   1
           2015                      25                 $475,000                   1
           2015                      26                 $110,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2015                      26                 $400,000                    1
           2016                       1                  $10,000                    5
           2016                       1                  $12,000                   21
           2016                      1                   $13,000                   21
           2016                      1                   $14,000                    2
           2016                       1                  $15,000                    7
           2016                       1                  $18,000                    3
           2016                       1                  $20,000                    3
           2016                       1                  $23,000                    4
           2016                       1                  $24,000                   15
           2016                      1                   $25,000                   10
           2016                      1                   $27,000                    2
           2016                       1                  $28,000                    6
           2016                       1                  $29,000                    2
           2016                       1                  $30,000                    1
           2016                       1                  $32,000                    1
           2016                       1                  $33,000                    1
           2016                       1                  $35,000                    1
           2016                       1                  $45,000                    1
           2016                       1                  $56,000                    1
           2016                       1                  $60,000                    1
           2016                       1                  $62,000                    5
           2016                       1                  $70,000                    7
           2016                       1                  $78,000                    1
           2016                       1                  $80,000                    1
           2016                       1                 $104,000                    1
           2016                       1                 $135,000                    1
           2016                       1                $1,042,736                   1
           2016                       2                  $12,000                    8
           2016                       2                  $13,000                   15
           2016                       2                  $14,000                    4
           2016                       2                  $14,400                    1
           2016                       2                  $15,000                   11
           2016                       2                  $16,000                    1
           2016                       2                  $17,000                    1
           2016                       2                  $18,000                    2
           2016                       2                  $19,000                    2
           2016                       2                  $20,000                    4
           2016                       2                  $21,000                    2
           2016                       2                  $22,000                    2
           2016                       2                  $23,000                    4
           2016                       2                  $24,000                    8



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      2                   $25,000                   10
           2016                      2                   $27,000                    2
           2016                      2                   $28,000                    6
           2016                      2                   $29,000                    6
           2016                      2                   $30,000                    2
           2016                      2                   $32,000                    1
           2016                      2                   $34,000                    3
           2016                      2                   $36,000                    1
           2016                      2                   $37,000                    1
           2016                      2                   $38,000                    2
           2016                      2                   $39,000                    1
           2016                      2                   $54,000                    1
           2016                      2                   $55,000                    1
           2016                      2                   $56,000                    1
           2016                      2                   $60,000                    2
           2016                      2                   $60,800                    1
           2016                      2                   $62,000                    1
           2016                      2                   $70,000                    5
           2016                      2                   $74,000                    6
           2016                      2                   $81,000                    1
           2016                      2                   $88,000                    1
           2016                      2                   $92,000                    1
           2016                      2                  $105,000                    1
           2016                      2                  $110,000                    1
           2016                      2                  $150,000                    1
           2016                      2                  $175,000                    1
           2016                      2                  $400,000                    1
           2016                      3                   $10,000                    2
           2016                      3                   $12,000                    3
           2016                      3                   $13,000                    6
           2016                      3                   $14,000                    8
           2016                      3                   $15,000                    7
           2016                      3                   $16,000                    3
           2016                      3                   $17,000                    6
           2016                      3                   $19,000                    1
           2016                      3                   $20,000                    1
           2016                      3                   $21,000                    1
           2016                      3                   $22,000                    1
           2016                      3                   $23,000                    3
           2016                      3                   $24,000                    2
           2016                      3                   $25,000                    6
           2016                      3                   $26,000                    1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      3                   $27,500                   1
           2016                      3                   $28,000                   9
           2016                      3                   $29,000                   7
           2016                      3                   $30,600                   1
           2016                      3                   $32,000                   3
           2016                      3                   $33,000                   1
           2016                      3                   $35,000                   1
           2016                      3                   $37,000                   1
           2016                      3                   $40,000                   1
           2016                      3                   $41,000                   2
           2016                      3                   $43,000                   1
           2016                      3                   $43,200                   1
           2016                      3                   $45,000                   1
           2016                      3                   $48,000                   1
           2016                      3                   $50,000                   1
           2016                      3                   $53,000                   2
           2016                      3                   $54,000                   1
           2016                      3                   $58,000                   1
           2016                      3                   $60,000                   1
           2016                      3                   $62,000                   2
           2016                      3                   $66,000                   1
           2016                      3                   $70,000                   3
           2016                      3                   $74,000                   3
           2016                      3                   $78,000                   1
           2016                      3                   $80,000                   1
           2016                      3                   $88,000                   2
           2016                      3                  $112,000                   1
           2016                      3                  $250,000                   1
           2016                      3                  $260,000                   1
           2016                      4                   $10,050                   1
           2016                      4                   $12,000                   3
           2016                      4                   $13,000                   1
           2016                      4                   $14,000                   5
           2016                      4                   $15,000                   9
           2016                      4                   $16,000                   3
           2016                      4                   $17,000                   3
           2016                      4                   $18,000                   2
           2016                      4                   $19,000                   1
           2016                      4                   $20,000                   3
           2016                      4                   $21,000                   1
           2016                      4                   $22,000                   1
           2016                      4                   $23,000                   2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      4                   $24,000                   2
           2016                      4                   $25,000                   4
           2016                      4                   $28,000                   4
           2016                      4                   $29,000                   4
           2016                      4                   $30,000                   3
           2016                      4                   $32,000                   2
           2016                      4                   $34,000                   1
           2016                      4                   $36,000                   1
           2016                      4                   $37,000                   3
           2016                      4                   $38,000                   2
           2016                      4                   $39,000                   3
           2016                      4                   $40,000                   2
           2016                      4                   $41,000                   1
           2016                      4                   $43,000                   1
           2016                      4                   $45,000                   3
           2016                      4                   $46,000                   1
           2016                      4                   $48,000                   1
           2016                      4                   $51,000                   1
           2016                      4                   $68,000                   1
           2016                      4                   $73,000                   1
           2016                      4                   $78,000                   1
           2016                      4                   $80,000                   2
           2016                      4                   $84,000                   1
           2016                      4                   $88,000                   1
           2016                      4                   $92,000                   1
           2016                      4                   $94,000                   1
           2016                      4                   $98,000                   1
           2016                      4                  $100,000                   1
           2016                      4                  $104,000                   1
           2016                      4                  $160,000                   1
           2016                      4                  $375,000                   1
           2016                      4                 $2,296,484                  1
           2016                      4                 $2,986,830                  1
           2016                      5                   $12,000                   3
           2016                      5                   $14,000                   3
           2016                      5                   $15,000                   1
           2016                      5                   $17,000                   3
           2016                      5                   $18,000                   8
           2016                      5                   $20,000                   7
           2016                      5                   $21,000                   2
           2016                      5                   $22,000                   2
           2016                      5                   $23,000                   4



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      5                   $24,600                   1
           2016                      5                   $25,000                   1
           2016                      5                   $26,000                   2
           2016                      5                   $27,000                   2
           2016                      5                   $28,000                   1
           2016                      5                   $29,000                   1
           2016                      5                   $29,800                   1
           2016                      5                   $30,000                   1
           2016                      5                   $31,000                   3
           2016                      5                   $33,000                   2
           2016                      5                   $34,000                   2
           2016                      5                   $35,000                   2
           2016                      5                   $36,000                   1
           2016                      5                   $37,000                   2
           2016                      5                   $39,000                   1
           2016                      5                   $40,000                   2
           2016                      5                   $41,000                   2
           2016                      5                   $42,000                   2
           2016                      5                   $43,000                   1
           2016                      5                   $44,000                   1
           2016                      5                   $45,000                   2
           2016                      5                   $50,000                   1
           2016                      5                   $55,000                   1
           2016                      5                   $60,000                   2
           2016                      5                   $63,000                   1
           2016                      5                   $69,000                   1
           2016                      5                   $73,000                   2
           2016                      5                   $84,000                   1
           2016                      5                  $121,000                   1
           2016                      5                  $125,000                   1
           2016                      5                  $130,000                   1
           2016                      5                  $410,000                   1
           2016                      5                  $570,000                   1
           2016                      5                 $2,326,484                  1
           2016                      6                   $15,000                   2
           2016                      6                   $16,000                   2
           2016                      6                   $17,000                   4
           2016                      6                   $18,000                   3
           2016                      6                   $19,000                   2
           2016                      6                   $20,000                   2
           2016                      6                   $21,000                   5
           2016                      6                   $22,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      6                   $23,000                   3
           2016                      6                   $24,000                   2
           2016                      6                   $25,000                   2
           2016                      6                   $26,000                   2
           2016                      6                   $27,000                   2
           2016                      6                   $28,000                   2
           2016                      6                   $30,000                   2
           2016                      6                   $30,600                   1
           2016                      6                   $33,000                   2
           2016                      6                   $34,000                   2
           2016                      6                   $36,000                   1
           2016                      6                   $37,000                   1
           2016                      6                   $38,000                   3
           2016                      6                   $40,000                   2
           2016                      6                   $41,000                   3
           2016                      6                   $43,000                   2
           2016                      6                   $44,000                   3
           2016                      6                   $45,000                   1
           2016                      6                   $46,000                   3
           2016                      6                   $49,000                   1
           2016                      6                   $50,000                   1
           2016                      6                   $55,000                   1
           2016                      6                   $56,000                   1
           2016                      6                   $68,000                   2
           2016                      6                   $86,000                   2
           2016                      6                   $90,000                   3
           2016                      6                   $92,000                   1
           2016                      6                  $100,000                   2
           2016                      6                  $250,000                   1
           2016                      6                 $1,987,354                  1
           2016                      7                   $12,800                   1
           2016                      7                   $15,000                   1
           2016                      7                   $16,000                   1
           2016                      7                   $18,000                   3
           2016                      7                   $19,000                   1
           2016                      7                   $20,000                   1
           2016                      7                   $21,000                   1
           2016                      7                   $22,000                   2
           2016                      7                   $23,000                   1
           2016                      7                   $24,000                   1
           2016                      7                   $25,000                   1
           2016                      7                   $26,000                   4



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      7                   $28,000                   3
           2016                      7                   $29,000                   1
           2016                      7                   $33,000                   2
           2016                      7                   $35,000                   1
           2016                      7                   $36,000                   1
           2016                      7                   $38,000                   1
           2016                      7                   $40,000                   2
           2016                      7                   $41,000                   2
           2016                      7                   $42,000                   2
           2016                      7                   $43,000                   1
           2016                      7                   $43,200                   1
           2016                      7                   $46,000                   1
           2016                      7                   $47,000                   2
           2016                      7                   $49,000                   1
           2016                      7                   $50,000                   3
           2016                      7                   $51,000                   1
           2016                      7                   $52,000                   1
           2016                      7                   $53,000                   1
           2016                      7                   $55,000                   3
           2016                      7                   $56,000                   2
           2016                      7                   $67,000                   1
           2016                      7                   $75,000                   1
           2016                      7                   $92,000                   1
           2016                      7                   $96,000                   1
           2016                      7                   $98,000                   1
           2016                      7                  $106,000                   1
           2016                      7                  $122,000                   1
           2016                      7                  $125,000                   1
           2016                      7                  $142,000                   1
           2016                      7                  $150,000                   1
           2016                      7                  $245,000                   1
           2016                      7                  $320,000                   1
           2016                      8                   $18,000                   1
           2016                      8                   $19,000                   2
           2016                      8                   $20,000                   1
           2016                      8                   $23,000                   1
           2016                      8                   $24,000                   1
           2016                      8                   $25,000                   1
           2016                      8                   $26,000                   3
           2016                      8                   $27,000                   2
           2016                      8                   $28,000                   1
           2016                      8                   $31,000                   3



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      8                   $33,000                   2
           2016                      8                   $36,000                   1
           2016                      8                   $39,000                   1
           2016                      8                   $40,000                   1
           2016                      8                   $40,400                   1
           2016                      8                   $45,000                   2
           2016                      8                   $47,000                   1
           2016                      8                   $51,000                   1
           2016                      8                   $52,000                   2
           2016                      8                   $54,000                   1
           2016                      8                   $55,000                   1
           2016                      8                   $58,000                   2
           2016                      8                   $59,000                   1
           2016                      8                   $61,000                   1
           2016                      8                   $74,000                   2
           2016                      8                   $80,000                   1
           2016                      8                   $88,000                   1
           2016                      8                   $90,000                   1
           2016                      8                  $105,000                   1
           2016                      8                  $108,000                   1
           2016                      8                  $123,000                   1
           2016                      8                  $200,000                   2
           2016                      8                  $205,000                   1
           2016                      8                  $250,000                   1
           2016                      8                  $390,000                   1
           2016                      8                 $1,837,354                  1
           2016                      8                 $2,048,343                  2
           2016                      8                 $4,879,766                  1
           2016                      8                 $5,576,315                  1
           2016                      8                 $8,000,000                  1
           2016                      9                   $18,000                   1
           2016                      9                   $24,000                   1
           2016                      9                   $27,000                   1
           2016                      9                   $28,000                   2
           2016                      9                   $30,000                   1
           2016                      9                   $31,000                   1
           2016                      9                   $45,000                   1
           2016                      9                   $46,000                   1
           2016                      9                   $47,000                   1
           2016                      9                   $48,000                   1
           2016                      9                   $51,000                   1
           2016                      9                   $52,200                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      9                   $53,000                   1
           2016                      9                   $54,000                   1
           2016                      9                   $55,000                   1
           2016                      9                   $62,600                   1
           2016                      9                   $64,000                   1
           2016                      9                   $67,000                   1
           2016                      9                   $70,000                   1
           2016                      9                   $75,000                   1
           2016                      9                   $76,000                   1
           2016                      9                   $83,000                   2
           2016                      9                   $90,000                   1
           2016                      9                   $96,000                   1
           2016                      9                   $98,000                   1
           2016                      9                  $100,000                   1
           2016                      9                  $103,000                   1
           2016                      9                  $110,000                   1
           2016                      9                  $112,000                   1
           2016                      9                  $118,000                   1
           2016                      9                  $122,000                   1
           2016                      9                  $175,000                   1
           2016                      9                  $193,000                   1
           2016                      9                  $210,000                   1
           2016                      9                  $260,000                   1
           2016                      9                  $375,000                   1
           2016                      9                  $504,000                   1
           2016                      9                  $775,000                   1
           2016                      9                 $2,476,484                  1
           2016                       9                $5,615,490                  1
           2016                      10                  $18,400                   1
           2016                      10                  $28,000                   1
           2016                      10                  $32,000                   1
           2016                      10                  $33,000                   1
           2016                      10                  $38,000                   1
           2016                      10                  $39,000                   1
           2016                      10                  $57,000                   1
           2016                      10                  $60,000                   1
           2016                      10                  $63,000                   1
           2016                      10                  $65,000                   1
           2016                      10                  $71,000                   2
           2016                      10                  $82,000                   1
           2016                      10                  $84,000                   1
           2016                      10                  $88,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      10                  $92,000                   1
           2016                      10                 $110,000                   1
           2016                      10                 $115,000                   1
           2016                      10                 $146,000                   1
           2016                      10                 $170,000                   2
           2016                      10                 $193,000                   1
           2016                      10                 $195,000                   1
           2016                      10                 $200,000                   1
           2016                      10                 $220,000                   1
           2016                      10                 $355,000                   1
           2016                      10                 $430,000                   1
           2016                      10                $1,092,736                  1
           2016                      10                $6,812,374                  1
           2016                      11                  $20,000                   1
           2016                      11                  $24,000                   1
           2016                      11                  $26,000                   1
           2016                      11                  $29,000                   1
           2016                      11                  $33,000                   1
           2016                      11                  $53,000                   1
           2016                      11                  $58,000                   2
           2016                      11                  $64,000                   1
           2016                      11                  $68,000                   2
           2016                      11                  $70,000                   2
           2016                      11                  $84,000                   1
           2016                      11                 $118,000                   1
           2016                      11                 $125,000                   1
           2016                      11                 $134,000                   1
           2016                      11                 $135,000                   1
           2016                      11                 $170,000                   1
           2016                      11                 $190,000                   1
           2016                      11                 $240,000                   1
           2016                      11                 $303,000                   1
           2016                      11                 $370,000                   1
           2016                      11                 $800,000                   1
           2016                      12                  $21,000                   1
           2016                      12                  $23,000                   1
           2016                      12                  $26,000                   1
           2016                      12                  $37,000                   1
           2016                      12                  $43,000                   1
           2016                      12                  $58,000                   1
           2016                      12                  $64,000                   1
           2016                      12                  $72,000                   2



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      12                  $78,000                   1
           2016                      12                 $104,000                   1
           2016                      12                 $125,000                   1
           2016                      12                 $154,000                   1
           2016                      12                 $160,000                   1
           2016                      12                 $165,000                   1
           2016                      12                 $186,000                   1
           2016                      12                 $365,000                   1
           2016                      12                 $375,000                   1
           2016                      12                 $500,000                   1
           2016                      12                 $692,736                   1
           2016                      13                  $23,000                   2
           2016                      13                  $38,000                   1
           2016                      13                  $41,000                   1
           2016                      13                  $42,000                   1
           2016                      13                  $45,000                   1
           2016                      13                  $46,000                   1
           2016                      13                  $48,000                   1
           2016                      13                  $56,000                   1
           2016                      13                  $84,000                   1
           2016                      13                 $110,000                   1
           2016                      13                 $118,000                   1
           2016                      13                 $122,000                   1
           2016                      13                 $140,000                   1
           2016                      13                 $175,000                   1
           2016                      13                 $195,000                   1
           2016                      13                 $204,000                   1
           2016                      13                 $224,000                   1
           2016                      13                 $700,000                   1
           2016                      14                  $35,000                   1
           2016                      14                  $41,000                   1
           2016                      14                  $42,000                   1
           2016                      14                  $52,000                   1
           2016                      14                  $71,000                   1
           2016                      14                  $78,000                   1
           2016                      14                  $81,000                   1
           2016                      14                  $90,000                   1
           2016                      14                  $92,000                   1
           2016                      14                 $123,000                   1
           2016                      14                 $128,000                   1
           2016                      14                 $144,000                   1
           2016                      14                 $230,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      14                 $245,000                   1
           2016                      15                  $36,000                   1
           2016                      15                  $38,000                   1
           2016                      15                  $44,000                   1
           2016                      15                  $50,000                   1
           2016                      15                  $51,000                   1
           2016                      15                  $83,000                   1
           2016                      15                  $93,000                   1
           2016                      15                 $110,000                   1
           2016                      15                 $114,000                   1
           2016                      15                 $115,000                   1
           2016                      15                 $120,000                   1
           2016                      15                 $154,000                   1
           2016                      15                 $160,000                   1
           2016                      15                 $163,000                   1
           2016                      15                 $350,000                   2
           2016                      15                 $850,000                   1
           2016                      16                  $46,000                   1
           2016                      16                  $50,000                   1
           2016                      16                  $54,000                   1
           2016                      16                  $57,000                   1
           2016                      16                  $73,000                   1
           2016                      16                  $75,000                   1
           2016                      16                  $81,000                   1
           2016                      16                  $85,000                   1
           2016                      16                 $104,000                   1
           2016                      16                 $118,000                   1
           2016                      16                 $125,000                   1
           2016                      16                 $156,000                   1
           2016                      16                 $225,000                   1
           2016                      16                 $330,000                   1
           2016                      16                 $360,000                   1
           2016                      16                 $563,380                   1
           2016                      16                 $610,000                   1
           2016                      16                 $650,000                   1
           2016                      16                 $825,000                   1
           2016                      17                  $35,000                   1
           2016                      17                  $41,000                   1
           2016                      17                  $46,000                   1
           2016                      17                  $58,000                   1
           2016                      17                  $79,000                   1
           2016                      17                  $83,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      17                 $100,000                   1
           2016                      17                 $124,000                   1
           2016                      17                 $137,000                   1
           2016                      17                 $184,000                   1
           2016                      17                 $196,000                   1
           2016                      17                 $200,000                   1
           2016                      17                 $325,000                   1
           2016                      17                 $750,000                   1
           2016                      17                 $825,000                   1
           2016                      17                $2,677,530                  1
           2016                      18                  $40,000                   1
           2016                      18                  $42,000                   1
           2016                      18                  $51,000                   1
           2016                      18                  $53,000                   1
           2016                      18                  $55,000                   1
           2016                      18                  $58,000                   1
           2016                      18                  $80,000                   1
           2016                      18                  $81,000                   1
           2016                      18                  $83,000                   1
           2016                      18                 $110,000                   1
           2016                      18                 $144,000                   1
           2016                      18                 $149,000                   1
           2016                      18                 $250,000                   1
           2016                      18                 $260,000                   1
           2016                      18                 $320,000                   1
           2016                      19                  $36,000                   1
           2016                      19                  $46,000                   1
           2016                      19                  $54,000                   1
           2016                      19                  $91,000                   1
           2016                      19                 $106,000                   1
           2016                      19                 $115,000                   1
           2016                      19                 $220,000                   1
           2016                      19                 $275,000                   1
           2016                      20                  $36,000                   1
           2016                      20                  $49,000                   1
           2016                      20                  $57,000                   1
           2016                      20                 $121,000                   1
           2016                      20                 $205,000                   1
           2016                      20                 $233,000                   1
           2016                      20                 $325,000                   1
           2016                      20                 $335,000                   1
           2016                      20                 $350,000                   1



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  Zuffa Athlete Pay by Bout Number, Bout Compensation, 2011-2016
  Note: Non Events, Cancelled fights omitted
  Source: Internal Zuffa Bout Compensation (ZFL-2764800). See Backup to Table 4.
           Year                Bout Number         Bout Compensation               N
           2016                      20                $3,250,000                  1
           2016                      21                  $57,000                   1
           2016                      21                  $59,000                   1
           2016                      21                  $60,000                   1
           2016                      21                  $66,000                   1
           2016                      21                 $145,000                   1
           2016                      21                 $158,000                   1
           2016                      21                 $193,000                   1
           2016                      21                 $214,000                   1
           2016                      21                $4,208,675                  1
           2016                      22                  $44,000                   1
           2016                      22                  $60,000                   1
           2016                      22                  $64,000                   1
           2016                      22                  $82,500                   1
           2016                      22                 $108,000                   1
           2016                      22                 $162,000                   1
           2016                      22                 $220,000                   1
           2016                      22                 $384,000                   1
           2016                      22                $2,838,158                  1
           2016                      23                  $58,000                   1
           2016                      23                  $80,000                   1
           2016                      23                 $123,000                   1
           2016                      23                 $155,000                   1
           2016                      23                 $167,000                   1
           2016                      23                 $175,000                   1
           2016                      23                 $310,000                   1
           2016                      23                $4,315,490                  1
           2016                      24                  $57,000                   1
           2016                      24                  $83,000                   1
           2016                      24                 $174,000                   1
           2016                      24                 $275,000                   1
           2016                      25                 $140,000                   1
           2016                      25                 $164,000                   1
           2016                      25                 $475,000                   1
           2016                      26                 $620,000                   1
           2016                      27                 $400,000                   1
           2016                      27                 $750,000                   1




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